   Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 1 of 181




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                              )
JOHN ARDEN AHNEFELDT, ROBERT                  )
BROWER, JR., ROBERT BROWER, SR.,              )
KHANH L. BUI, JIGNESH                         )
CHANDARANA, KRUITIKA                          )
CHANDARANA, AMIRA YOUSUF                      )
CHOWDHURY, CHRISTOPHER                        )
COLIGADO, DANIEL GAD, EDWIN                   )
HOWELL, SIOE LIE HOWELL, DARREN               )   CIVIL ACTION NO. 4:20-cv-02539 (ASH)
HUNTING, ANNE INGLEDEW, SHITAL                )
MEHTA, THOMAS CARL RABIN, ADAM                )
SHULTZ, AMIT SOMANI,                          )
JAYAPRAKASH SRINIVASAN, AARTHI                )
SRINIVASAN, CHRISTOPHER                       )
SWEDLOW, and ALEXANDRE TAZI, on               )
Behalf of Themselves and All Others           )
Similarly Situated,                           )
                                              )
                            Plaintiffs,       )
                                              )
                 v.                           )
                                              )
DAVID DICKSON, STUART A. SPENCE,              )
and CHRISTOPHER A. KRUMMEL                    )
                                              )
                              Defendants.     )
                                              )
                                              )

          DECLARATION OF MALCOLM T. BROWN IN SUPPORT OF
   MOTION OF THE COLIGADO SHAREHOLDER GROUP FOR APPOINTMENT
    AS LEAD PLAINTIFF AND APPROVAL OF LEAD AND LIAISON COUNSEL

       I, Malcolm T. Brown, hereby declare as follows:

       1.     I am a member of the law firm of Wolf Haldenstein Adler Freeman & Herz LLP

counsel for Plaintiffs John Arden Ahnefeldt, Robert Brower, Jr., Robert Brower, Sr., Khanh L.

Bui, Jignesh Chandarana, Krutika Chandarana, Amira Yousuf Chowdhury, Christopher

Coligado, Daniel Gad, Edwin Howell, Sioe Lie Howell, Darren Hunting, Anne Ingledew, Shital
   Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 2 of 181




Mehta, Thomas Carl Rabin, Adam Shultz, Amit Somani, Jayaprakash Srinivasan, Aarthi

Srinivasan, Christopher Swedlow, and Alexandre Tazi, the members of the Coligado Shareholder

Group. I respectfully submit this declaration, together with the attached exhibits, in support of

the Motion of the Coligado Shareholder Group for Appointment as Lead Plaintiff and for

Approval of Lead and Liaison Counsel (“Motion”).

       2.      Attached hereto are true and correct copies of the following:

       Exhibit A:      The PSLRA notice published on July 18, 2020 on Globe Newswire,
                       announcing the pendency of the action against Defendants

       Exhibit B:      Certifications of Plaintiffs

       Exhibit C:      Tables of the calculated losses incurred by Plaintiffs as a result of
                       transactions in McDermott International, Inc. securities

       Exhibit D:      Joint Declaration of Christopher Coligado and Jay Srinivasan in Support
                       of the Motion

       Exhibit E:      Joint Declaration of the Coligado Shareholder Group in Support of the
                       Motion

       Exhibit F:      Firm resume of Wolf Haldenstein Adler Freeman & Herz LLP

       Exhibit G:      Resumes for Jean C. Frizzell and Michael K. Oldham of Reynolds Frizzell
                       LLP


       I declare under penalty of perjury, under the laws of the United States of America that the

foregoing is true and correct.

       Executed this 16th day of September, 2020.


                                           /s/ Malcolm T. Brown
                                       MALCOLM T. BROWN




                                                  2
   Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 3 of 181




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served via

ECF and/or electronic mail on all counsel of record on September 16, 2020.

                                                   /s/ Malcolm T. Brown
                                                   Malcolm T. Brown




                                              3
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 4 of 181




                            EXHIBIT A
            Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 5 of 181
  Wolf
  Haldenstein
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MCDERMOTT INTERNATIONAL, INC. INVESTOR ALERT: Wolf Haldenstein Adler
Freeman & Herz LLP announces that it filed a securities class action lawsuit in the
United States District Court for the Southern District of Texas against McDermott
International, Inc. President, Chief Executive Officer and Board Member David
Dickson, Former Executive Vice President and Chief Financial Officer Stuart A.
Spence, and Executive Vice President and Chief Financial Officer Christopher A.
Krummel
Lead Plaintiff Deadline is September 16, 2020

NEW YORK and SAN DIEGO, July 18, 2020 (GLOBE NEWSWIRE) -- Wolf Haldenstein Adler Freeman & Herz LLP announces that it has
filed the initial federal securities class action lawsuit in the United States District Court for the Southern District of Texas, Houston Division
on behalf of investors that purchased or otherwise acquired McDermott International, Inc. (Other OTC: MDRIQ) securities between
September 20, 2019 and January 23, 2020, both days inclusive (the ‘Class Period”).

This action is styled John Arden Ahnefeldt, Robert Brower, Jr., Robert Brower, Sr., Khanh L. Bul, Jignesh Chandarana, Krutika
Chandarana, Amira Yousuf Chowdhury, Christopher Coligado, Daniel Gad, Edwin Howell, Sloe Lie Howell, Darren Hunting, Anne Ingledew,
Shital Mehta, Thomas Carl Rabin, Adam Shultz, Amit Somani, Jayaprakash Srinivasan, Aarthi Srinivasan, Christopher Swedlow, and
Alexandre Tazi v. David Dickson, Stuart A. Spence, and ChristopherA. Krummel; 4:20-cv-02539 (S.D. TX).

Investors who purchased McDermott International, Inc. securities during the Class Period and suffered losses are urged to
contact the firm immediately at classmember~whafh.com or (800) 575-0735 or (212) 545-4774. You may obtain a copy of the filed
complaint and additional information concerning the action on our website, www.whafh.com.

If you have incurred losses in McDermott International, Inc. securities purchased during the Class Period, you may, no later than
Septem ber 16, 2020, request that the Court appoint you lead plaintiff of the proposed class. Please contact Wolf Haldenstein to learn more
about your rights as an investor in McDermott International, Inc.

                                ## Follow the firm and learn about newly filed cases on Twitter and Facebook. ##

McDermott International, Inc. (“McDermott” or the “Company”) provides engineering, project management, and facility management
services to a variety of customers in the energy and power industries.

On September 20, 2019, McDermott announced in a press release its recent receipt of unsolicited approaches to acquire Lummus
Technology, McDermott’s industry leading technology business with a valuation exceeding $2.5 billion. McDermott told investors that it was
“exploring strategic alternatives to unlock the value of Lummus Technology,” that the “process of exploring strategic alternatives is part of
our ongoing efforts intended to improve McDermott’s capital structure,” and “we plan to use the proceeds from any transaction involving
Lummus Technology to strengthen our balance sheet.” These disclosures received widespread attention and the price for McDermott
common stock increased 50% in premarket trading to close on that day at $2.01 per share, up 27.22%.

The disclosures were materially misleading. There was not any plan for a near-term sale of Lummus Technology to strengthen
McDermott’s balance sheet. The disclosures were made as part of a scheme to artificially inflate the market price of McDermott’s common
stock, calm the market and allow the Company to negotiate a prepackaged Chapter 11 bankruptcy restructuring plan.

On January 21, 2020, the truth emerged when McDermott announced its entry of a Restructuring Support Agreement in connection with a
Joint Prepackaged Chapter 11 Plan of Reorganization. After the announcement, trading of McDermott common stock was halted. When it
resumed, the price for McDermott common stock plummeted to close at $0.12 per share.

Plaintiffs seek to recover damages on behalf of all purchasers of McDermott publicly traded securities during the Class Period. Plaintiffs
are represented by Wolf Haldenstein Adler Freeman & Herz LLP

Wolf Haldenstein, with offices in New York, Chicago and San Diego, is a nationally recognized firm specializing in the prosecution of
securities, antitrust, and consumer fraud actions. Wolf Haldenstein’s reputation and expertise in class action litigation has been repeatedly
recognized by courts across the country, and the firm has achieved over $7 billion in recoveries for shareholders.

If you wish to discuss this action or have any questions regarding your rights and interests in this case, please immediately contact W.gfl
Haldenstein by telephone at (800) 575-0735, via email at cIassmemberc~whafh corn, or visit our website at www.whafh.com

Contact:

Wolf Haldenstein Adler Freeman & Herz LLP
Gregory Stone, Director of Case and Financial Analysis
Malcolm T. Brown, Esq., Thomas H. Burt, Esq.
Email: gstone~whafh.com, brown@whafh.com, burt@whafh corn, or classmember@whafh.com
        Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 6 of 181
Tel: (800) 575-0735 or (212) 545-4774
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 7 of 181




                            EXHIBIT B
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 8 of 181




                                   PLAINTIFF’S CERTIFICATION

                John Arden Ahnefeldt (“Plaintiff”) declares under penalty of perjury, as to the

claims asserted under the federal securities laws, that:

                1.         Plaintiff has reviewed the complaint and authorized the commencement of

a federal securities class action on Plaintiffs behalf.

                2.         Plaintiff did not purchase the security that is the subject of this action at

the direction of plaintiffs counsel or in order to participate in this private action.

                3.      Plaintiff is willing to serve as a representative party on behalf of the class,

including providing testimony at deposition and trial, if necessary.

                4.      Plaintiffs transactions in McDermott International, Inc. during the Class

Period specified in the Complaint are as follows:



                                           SEE ATTACHED SCHEDULE A



                5.     During the three years prior to the date of this Certificate, Plaintiff has

not sought to serve or served as a representative party for a class in an action filed under the

federal securities laws.

               6.      Plaintiff will not accept any payment for serving as a representative party

on behalf of the class beyond the Plaintiff’s pro rata share of any recovery, except such

reasonable costs and expenses (including lost wages) directly relating to the representation of the

class as ordered or approved by the court.

               I declare under penalty of perjury that the foregoing is true and correct. Executed

this   _________     day of July 2020.



                                                                                                      /
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 9 of 181




     SCHEDULE A TO CERTIFICATION OF JOHN ARDEN AHNEFELDT

                          Purchases

     Date          NumberofShares          Pricepershare

   09/20/19            10,000                  $1.93
   09/20/19            10,000                  $2.44
   09/20/19            10,000                  $2.60
   09/20/19            10,000                  $2.70
   12/13/19            10,000                  $0.79
   12/13/19            20,000                  $0.79
   12/13/19             6,000                  $0.78
   12/13/19            10,000                  $0.78
   12/13/19            3,200                   $0.78
   12/13/19              800                   $0.78
   01/17/20            10,000                  $0.72
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 10 of 181




                                   PLAINTIFFS CERTIFICATION

                 Robert Brower, Jr.        (“Plaintiff’) declares under penalty of perjury, as to the

 claims asserted under the federal securities laws, that:

                 1.        Plaintiff has reviewed the complaint and authorized the commencement of

 a federal securities class action on Plaintiffs behalf.

                 2.        Plaintiff did not purchase the security that is the subject of this action at

 the direction of plaintiffs counsel or in order to participate in this private action.

                3.       Plaintiff is willing to serve as a representative party on behalf of the class,

 including providing testimony at deposition and trial, if necessary.

                4.       Plaintiffs transactions in McDermott International, Inc. during the Class

 Period specified in the Complaint are as follows:



                                           SEE ATTACHED SCHEDULE A



                5.      During the three years prior to the date of this Certificate, Plaintiff has
not sought to serve or served as a representative party for a class in an action filed under the

federal securities laws.

                6.      Plaintiff will not accept any payment for serving as a representative party

on behalf of the class beyond the Plaintiffs pro rata share of any recovery, except such
reasonable costs and expenses (including lost wages) directly relating to the representation of the

class as ordered or approved by the court.

                I declare under penalty of perjury that the foregoing is true and correct. Executed

this      6th         day of July 2020.


                                                                                ~4~W€4~,     Q4~.
                                                                                             6’
                                                                     Robert Brower, Jr.
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 11 of 181




       SCHEDULE A TO CERTIFICATION OF ROBERT BROWER, JR.

                           Purchases

      Date          NumberofShares           Pricepershare

    10/18/19             2,500                   $2.41
    10/18/19             2,500                   $2.22
    10/21/19             2,500                   $2.74
    10/21/19             2,000                   $2.38
    10/21/19             5,000                   $2.14
    10/21/19              500                   $2.07
    10/22/19             1,750                  $1.84
    10/22/19             5,000                  $1.68
    10/23/19             2,000                  $1.68
    10/23/19              250                   $1.70
    10/25/19             5,000                  $1.68
    10/25/19             2,500                  $1.66
    10/31/19              500                   $1.63
   11/04/19              2,000                  $1.73
   11/07/19             3,825                   $1.37
   11/08/19               24                    $1.03
   11/11/19             6,150                   $0.89
   11/12/19             10,000                  $0.76
   12/16/19             5,000                   $0.75
   12/24/19             2,500                   $1.11
   12/30/19             5,000                   $1.08
   12/30/19             5,000                   $1.05
   12/30/19             5,000                   $1.04
   12/30/19             3,250                   $0.79
   12/30/19             1,000                   $0.70
   12/30/19             6,000                   $0.59
   12/30/19               50                    $0.68
   12/30/19             5,000                   $0.61
   12/30/19             5,610                   $0.63
   12/30/19               75                    $0.64
   12/31/19               39                    $0.67
   01/02/20             3,400                   $0.61
   01/02/20                6                    $0.65
   01/02/20               15                    $0.64
   01/02/20                3                    $0.63
   01/03/20                2                    $0.67
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 12 of 181




                          Sales

      Date       NumberofShares       Pricepershare

    10/18/19          2,500              $2.34
    10/21/19          1,499              $2.55
    12/27/19          7,500              $1.41
    12/27/19         10,000              $1.45
    12/30/19          5,000              $1.66
   01/23/20          29,450              $0.20
   01/23/20          45,000              $0.19
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 13 of 181




                                      PLAINTIFF’S CERTIFICATION

                     Robert Brower, Sr. (“Plaintiff’) declares under penalty of peijury, as to the
     claims asserted under the federal securities laws, that:
                     1.     Plaintiff has reviewed the complaint and authorized the commencement of
     a federal securities class action on Plaintiffs behalf.
                     2.     Plaintiff did not purchase the security that is the subject of this action at
     the direction of plaintiffs counsel or in order to participate in this private action.
                     3.     Plaintiff is willing to serve as a representative party on behalf of the class,
     including providing testimony at deposition and trial, if necessary.
                    4.      Plaintiffs transactions in McDermott International, Inc. during the Class
     Period specified in the Complaint are as follows:


                                             SEE ATTACHED SCHEDULE A


                     5.     During the three years prior to the date of this Certificate, Plaintiff has
     not sought to serve or served as a representative party for a class in an action filed under the
     federal securities laws.
                    6.      Plaintiff will not accept any payment for serving as a representative party
     on   behalf of the class beyond the Plaintiff’s pro rata share of any recovery, except such
     reasonable costs and expenses (including lost wages) directly relating to the representation of the
     class as ordered or approved by the court.
                    I declare under penalty of perjury that the foregoing is true and correct. Executed
     this 6th day of July 2020.                                     --




                                                                         Robert Brower, Sr.
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 14 of 181




            SCHEDULE A TO CERTIFICATION OF ROBERT BROWER, SR.


                                Purchases


          Date          Number of Shares          Price pershare


        09/27/19              1,000                   $2.01
        10/18/19             2,000                    $2.45
        10/21/19             1,000                   $2.80
        10/21/19             2,000                   $2.12
       10/22/19              2,000                   $1.85
       10/24/19              5,000                   $1.70
       10/31/19              10,000                  $1.62
       10/31/19              1,961                   $1.61
       10/31/19              3,039                   $1.61
       11/07/19              5,000                   $1.40
       11/11/19              2,000                   $0.94
       11/11/19              2,000                   $0.89
       11/f2/19              2,000                   $0.88
       11/15/19              1,000                   $0.60
       11/15/19              2,000                   $0.60
       11/15/19              1,000                   $0.60
       12/30/19             8,500                    $0.64
       12/30/19             11,500                  $0.64
       12/30/19             6,000                   $1.11
      01/10/20              1,000                   $0.74
      01/16/20               750                    $0.80
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 15 of 181




                              Sales

          Date      Number of Shares   Price per share

        10/18/19         3,000             $2.25
        01/23/20        45,000             $0.18
        01/23/20         1,750             $0.19
        01/23/20         6,000             $0.19
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 16 of 181




                                  PLAINTIFF’S CERTIFICATION

                Khanh L. Bui (“Plaintiff”) declares under penalty of perjury, as to the claims

 asserted under the federal securities laws, that:
                 1.        Plaintiff has reviewed the complaint and authorized the commencement of

a federal securities class action on Plaintiffs behalf.

                2.       Plaintiff did not purchase the security that is the subject of this action at

the direction of plaintiffs counsel or in order to participate in this private action.

                3.       Plaintiff is willing to serve as a representative party on behalf of the class,

including providing testimony at deposition and trial, if necessary.
                4.       Plaintiffs transactions in McDermott International, Inc. during the Class

Period specified in the Complaint are as follows:



                                          SEE ATTACHED SCHEDULE A



                5.      During the three years prior to the date of this Certificate, Plaintiff has

not sought to serve or served as a representative party for a class in an action filed under the

federal securities laws.

                6.      Plaintiff will not accept any payment for serving as a representative party

on behalf of the class beyond the Plaintiff’s pro rata share of any recovery, except such

reasonable costs and expenses (including lost wages) directly relating to the representation of the

class as ordered or approved by the court.

                I declare under penalty of perjury that the foregoing is true and correct. Executed

this   _4   ____      day of July 2020.




                                                                     Khanh L. Bui
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 17 of 181




               SCHEDULE ATO CERTIFICATION OF KHANH BUI

                              Purchases

      Date             Number of Shares        Price per share

    10/04/19               20,000                  $1.59
    11/06/19                 110                   $1.54
    11/06/19               19,890                  $1.54
    11/18/19                 200                   $0.66
    11/18/19                2,100                  $0.66
    11/18/19               47,700                  $0.66



                                Sales

     Date              NumberofShares          Pricepershare

   11/11/19                 1,500                  $0.90
   11/11/19                 1,040                  $0.91
   11/11/19                 1,000                  $0.90
   11/11/19                  900                   $0.91
   11/11/19                  600                   $0.91
   11/11/19                  500                   $0.91
   11/11/19                  200                   $0.91
   11/11/19                  200                   $0.91
   11/11/19                  200                   $0.91
   11/11/19                  100                   $0.91
   11/11/19                  100                   $0.91
   11/11/19                  100                   $0.91
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 18 of 181




                                    PLAINTIFF’S CERTIFICATION

                 Jignesh Chandarana and Krutika Chandarana (“Plaintiffs”) declare under
 penalty of perjury, as to the claims asserted under the federal securities laws, that:
                 1.        Plaintiffs have reviewed the complaint and authorized the commencement
 of a federal securities class action on Plaintiffs’ behalf.
                 2.        Plaintiffs did not purchase the security that is the subject of this action at
 the direction of plaintiffs’ counsel or in order to participate in this private action.
                 3.        Plaintiffs are willing to serve as a representative party on behalf of the
 class, including providing testimony at deposition and triai, if necessary.
                4.      Plaintiffs’ transactions in McDermott International, Inc. during the Class
 Period specified in the Complaint are as follows:
                                          SEE ATTACHED SCHEDULE A
                5.      During the three years prior to the date of this Certificate, Plaintiffs have
not sought to serve or served as a representative party for a class in an action filed under the
federal securities laws.
                6.      Plaintiffs will not accept any payment for serving as a representative party
on behalf of the class beyond the Plaintiffs’ pro rata share of any recovery, except such
reasonable costs and expenses (including lost wages) directly relating to the representation of the
class as ordered or approved by the court.
                We declare under penalty of peijury that the foregoing is true and correct.
Executed this         0~         day of July 2020.



                                                                        Jignesh Chandarana


                                                                        Ruc~ ~j ct 1<. Cf’.
                                                                          Krutika Chandarana
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 19 of 181




      SCHEDULE A TO CERTIFICATION OF JIGNESH AND KRUTIKA
                        CHANDARANA

                           Purchases

    Date           Number of Shares          Price per share

  09/24/19               725                     $2.54
  10/21/19               300                     $2.10
  10/22/19               550                     $1.88
  10/24/19              1,450                    $1.85
  11/07/19               400                     $1.39
  11/18/19              1,000                    $0.69


                             CALL OPTIONS PURCHASE

   Date                Description             4 contracts     Price per share

 11/08/19        MDRIQ May 15 2020 $2                50            $0.20
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 20 of 181




                                      PLAINTIFFS CERTIFICATION

                   Amira Vousuf Cbowdhury (“Plaintiff’) declares under penalty of perjury, as to
   the claims asserted under the federal securities laws, that:
                   1.        Plaintiff has reviewed the complaint and authorized the commencement of
   a federal securities class action on Plaintiffs behalf.
                   2.        Plaintiff did not purchase the security that is the subject of this action at
   the direction of plaintiffs counsel or in order to participate in this private action.
                   3.        Plaintiff is willing to serve as a representative party on behalf of the class,
   including providing testimony at deposition and trial, if necessary.
                  4.         Plaintiffs transactions in McDermott International, Inc. during the Class
   Period specified in the Complaint are as follows:


                                             SEE ATTACHED SCHEDULE A


                  5.       During the three years prior to the date of this Certificate, Plaintiff has
  not sought to serve or served as a representative party for a class man action filed under the
  federal securities laws.
                  6.       Plaintiff will not accept any payment for serving as a representative party
  on behalf of the class beyond the Plaintiffs pro rata share of any recovery, except such
  reasonable costs and expenses (including lost wages) directly relating to the representation of the
  class as ordered or approved by the court.
                 I declare under penalty of perjury that the foregoing is true and correct. Executed
  this     8~           day of July 2020.




                                                                       Amira Yousuf Chowdhury
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 21 of 181




      SCHEDULE A TO CERTIFICATION OF AMIRA YOUSEF CHOWDHURY

                            Purchases

        Date         Number of Shares        Price per share

      09/27/19            1,000                  $2.00
      09/26/19            2,450                  $2.04
      10/04/19             600                   $1.55
      10/21/19            2,200                  $2.04
      11/08/19            1,000                  $1.01
      11/27/19            1,000                  $0.82
      12/11/19            3,550                  $0.77
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 22 of 181




                                     PLAINTIFF’S CERTIFICATION

                     Christopher Coligado (“Plaintiff”) declares under penalty of perjury, as to the
 claims asserted under the federal securities laws, that:

                    1.      Plaintiff has reviewed the complaint arid authorized the commencement of

 a federal securities class action on Plaintifrs behalf.
                    2.      Plaintiff did not purchase the security that is the subject of this action at

 the direction of plaintiff’s counsel or in order to participate in this private action.

                    3.      Plaintiff is willing to serve as a representative party on behalf of the class,
 including providing testimony at deposition and trial., if necessary.
                    4.      Plaintiffs transactions in, McDermott InternationaL, Inc. during the Class
 Period specified in the Complaint are as follows:


                                              SEE ATTACHED SCHEDULE A


                    5.      During the three years prior to the date of this. Certificate, Plaintiff has not

 sought ‘to serve or served as a representative party for a class in an action filed under the federal
 securities laws.

                 6.        Plaintiff will not accept any payment for serving as a representative party
on behalf of the class beyond the Plaintiff’s pro rata share of any recovery, except such
reasonable costs and expenses (including lost wages) directly relatin.g to the representation ol’ the

class as ordered or approved by the court,

                 I declare under penalty of perjury that the foregoing is true and correct. Executed

this    ~41~’I           day’ of July 2020.
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 23 of 181




     SCHEDULE A TO CERTIFICATION OF CHRISTOPHER COLIGADO

                          Purchases

      Date          Number of Shares        Price per share

    09/20/19             7,692                  $1.95
    09/20/19             7,731                  $1.92
    09/20/19            10,000                  $2.02
    09/20/19             3,717                  $2.70
    10/01/19            5,154                   $1.92
    10/03/19             5,917                  $1.70
    10/15/19               1                    $2.14
    10/16/19            21,225                  $2.37
    10/16/19             2,127                  $2.37
    10/17/19            4,080                   $2.51
    10/17/19            4,080                   $2.50
    10/17/19            4,080                   $2.49
    10/18/19             2,252                  $2.22
    10/18/19             2,272                  $2.29
    10/18/19            2,222                   $2.25
    10/21/19             2,440                  $2.10
    10/21/19            4,651                   $2.15
    10/21/19            4,761                   $2.10
    10/21/19             2,475                  $2.05
    10/22/19             5,882                  $1.70
    10/22/19            22,222                  $1.80
    10/22/19             5,555                  $1.80
    10/22/19            5,714                   $1.80
    10/22/19             2,777                  $1.80
    10/22/19             2,702                  $1.85
    10/23/19             6,250                  $1.66
    10/23/19             6,060                  $1.66
    10/23/19             6,250                  $1.70
    10/23/19             5,882                  $1.70
    10/23/19            6,250                   $1.70
    10/23/19            6,060                   $1.66
    10/23/19            4,911                   $1.60
    10/24/19            15,900                  $1.66
    10/24/19               18                   $1.65
    10/24/19             2,154                  $1.66
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 24 of 181




    10/24/19          12,048              $1.65
    10/24/19          12,121              $1.66
    11/05/19           6,250              $1.60
    11/05/19           6,250              $1.59
    11/05/19           6,250              $1.59
    11/05/19          37,500              $1.60
    11/07/19          12,413              $1.45
    11/07/19           7,092              $1.41
    11/19/19          17,857              $0.57
    12/23/19          35,000              $1.13
    12/23/19          44,495              $1.13


                           Sales

      Date        Number of Shares    Price per share

    01/23/20           7,692              $0.16
    01/23/20          212,594             $0.16
    01/23/20          171,319             $0.15
    01/23/20           2,135              $0.15
    01/23/20           5,000              $0.15
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 25 of 181




                                    PLAINTIFF’S CERTIFICATION

                  Daniel Gad (“Plaintiff”) declares under penalty of perjury, as to the claims
 asserted under the federal securities laws, that:
                 1.        Plaintiff has reviewed the complaint and authorized the commencement of

 a federal securities class action on Plaintiffs behalf.

                 2.        Plaintiff did not purchase the security that is the subject of this action at

 the direction of plaintiffs counsel or in order to participate in this private action.

                 3.        Plaintiff is willing to serve as a representative party on behalf of the class,
 including providing testimony at deposition and trial, if necessary.

                4.       Plaintiffs transactions in McDermott International, Inc. during the Class
 Period specified in the Complaint are as follows:



                                           SEE ATTACHED SCHEDULE A



                5.       During the three years prior to the date of this Certificate, Plaintiff has
not sought to serve or served as a representative party for a class in an action filed under the

federal securities laws.

                6.      Plaintiff will not accept any payment for serving as a representative party
on behalf of the class beyond the Plaintiff’s pro rata share of any recovery, except such

reasonable costs and expenses (including lost wages) directly relating to the representation of the

class as ordered or approved by the court.

                I declare under penalty of perjury that the foregoing is true and correct. Executed

this      8           day of July 2020.




                                                                       Daniel Gad
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 26 of 181




             SCHEDULE A TO CERTIFICATION OF DANIEL GAD

                             Purchases

      Date            Number of Shares         Price per share

    10/24/19               2,665                   $1.67
    10/24/19                400                    $1.68
    10/30/19                935                    $1.66
    11/15/19               4,000                   $0.70
    12/31/19               4,000                   $0.70
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 27 of 181




                                    PLAINTIFFS CERTIFICATION

                 Edwin Howell and Sloe Lie Howell (“Plaintiffs”) declare under penalty of
 perjury, as to the claims asserted under the federal securities laws, that;
                 1.        Plaintiffs have reviewed the complaint and authorized the commencement
 of a federal securities class action on Plaintiffs’ behalL
                 2.        Plaintiffs did not purchase the security that is the subject of this action at
 the direction of plaintiffs’ counsel or in order to participate in this private action.
                 3.        Plaintiffs are willing to serve as a representative party on behalf of the
class, including providing testimony at deposition and trial, if necessary.
                4.       Plaintiffs’ transactions in McDermott International, Inc. during the Class
Period specified in the Complaint are as follows:
                                           SEE ATTACHED SCHEDULE A
                5.       During the three years prior to the date of this Certificate, Plaintiffs have
not sought to serve or served as a representative party for a class in an action filed under the
federal securities laws.
                6.       Plaintiffs will not accept any payment for serving as a representative party
on behalf of the class beyond the Plaintiffs’ pro rata share of any recovery, except such
reasonable costs and expenses (including lost wages) directly relating to the representation of the
class as ordered or approved by the court.
                We declare under penalty of perjury that the foregoing is true and correct.
Executed this        ~/ ~‘       day of July 2020.


                                                                       ~~~j~owell




                                                                       Sloe Lee Howell
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 28 of 181




            SCHEDULE A TO CERTIFICATION OF EDWIN HOWELL

                            PURCHASES

     Date            Number of Shares         Price per share

   09/20/19               2,000                   $2.53         Regular Account
   09/25/19               1,000                   $1.97         Regular Account
   09/25/19               1,500                   $2.00         Regular Account
   09/30/19               1,500                   $2.07         Regular Account
   10/01/19                850                    $1.83            IRA Account
   10/03/19                 20                    $1.71            IRA Account
   10/04/19                10                     $1.60            IRA Account
   10/25/19                30                     $1.63            IRA Account
   10/25/19                140                    $1.61            IRA Account
   10/27/19                650                    $0.82            IRA Account
   10/30/19                800                   $1.66            IRA Account
   11/08/19                600                   $1.03            IRA Account
  11/20/19                 600                   $0.62            IRA Account
  11/22/19                 850                   $0.91            IRA Account
  11/22/19                 350                   $0.86            IRA Account
  12/12/19                1,000                  $0.76            IRA Account
  12/19/19                 800                   $0.94            IRA Account
  12/23/19                1~000                  $1.15            IRA Account
  12/24/19                 280                   $1.10           IRA Account
  12/24/19                1,000                  $1.08           IRA Account
  12/30/19                 500                   $1.59           IRA Account
  12/30/19                1,000                  $1.57           IRA Account
  01/09/20                 500                   $0.75           IRA Account
  01/09/20                 500                   $0.75           IRA Account
  01/12/20                1,000                  $0.79           IRA Account




                              SALES

   Date             Number of Shares         Price per share~

 12/13/19                1,000                   $0.80          IRA Account
 12/16/19                1,000                   $0.84          IRA Account
 12/24/19                1,000                   $1.20          IRA Account
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 29 of 181




           SCHEDULE A TO CERTIFICATION OF SlOE UE HOWELL

                            PURCHASES

    Date             Number of Shares         Price per share

   09/18/19                600                    $5.08
  09/18/19                1,000                   $1.82
   10/30/19                500                    $2.07
  10/30/19                 100                    $1.68
  11/08/19                 300                    $0.98
  11/08/19                400                     $0.98
  11/08/19                 100                    $0.98
  11/08/19                500                     $1.02
  11/27/19                250                     $0.82
  12/02/19                500                     $0.87
  12/23/19                500                     $1.09
  12/23/19                250                     $1.13
  12/30/19                500                     $1.60
  01/09/20                500                     $0.75

                                SALES

    Date            Number of Shares          Price per share

  01/09/20                500                     $0.79
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 30 of 181




                                      PLAINTIFF’S CERTIFICATION

                    Darren Hunting (“Plaintiff’) declares under penalty of perjury, as to the claims
    asserted under the federal securities laws, that:
                    1.        Plaintiff has reviewed the complaint and authorized the commencement of
    a federal securities class action on Plaintiffs behalf.

                    2.        Plaintiff did not purchase the security that is the subject of this action at
    the direction of plaintiffs counsel or in order to participate in this private action..
                    3.      Plaintiff is willing to serve as a representative party on behalf of the class,
    including providing testimony at deposition and trial, if necessary..
                    4.      Plaintiffs transactions in McDermott International, Inc. during the Class
    Period specified in the Complaint are as follows:


                                             SEE ATTACHED SCHEDULE A


                   5.       Duritig the three years prior to the date of this Certificate,, Plaintiff has
   not sought to serve or served as a representative party for a class in an action filed under the
   federal securities laws.
                   6.      Plaintiff will not accept any payment for serving as a representative party
   on behalf of the class beyond the Plaintiffs pro rata share of any recovery, except such
   reasonable costs and expenses (including lost wages) directly relating to the representation ofthe
   class as ordered or approved by the court.
                   I declare under penalty of perjury that the foregoing is true and correct. Executed
   this   __________     day of July 2020.




                                                                       ~‘≤arren Hunting
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 31 of 181




            SCHEDULE ATO CERTIFICATION OF DARREN HUNTING

                              Purchases

         Date          Number of Shares        Price per share

      09/20/19              1,500                  $2.66
      09/25/19               500                   $1.92
      10/18/19               100                   $2.23
      10/18/19              1,800                  $2.23
      10/18/19               100                   $2.23
      11/15/19              1,000                  $0.68
      12/27/19              1,000                  $1.34
      12/27/19              1,500                  $1.36
      12/31/19              1,000                  $0.71



                                Sales

        Date          Number of Shares        Price per share

      01/23/20             7,000                   $0.20
      0 1/23/20            4,000                   $0.20
            Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 32 of 181
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                                                        PLAINTIFF’s CERTIFICATION

                                     Anne Ingledew (“Plaintiff”) declares tinder penalty of peijury. as to the ckiims
                     asserted under the federal securities laws, that:
                                     I.        Plaintiff has reviewed the complaint and authorized the commencement of
                     a federal securities class action on Plaintiffs behalf.
                                     2.        Plaintiff did not purchase tite security that is the subject of this action at
                     the direction of plaintiff’s counsel or in order to participate in this privale action.
                                     3.        Plaintiff is willing to serve as a representative party on behalf of the class.
                     including providing testimony at deposition and trial, if necessary.

                                    4.         Plaintiffs transactions in McDermott International. Inc. during the Class
                     Period specified in the Complaint are us follows:



                                                               SEE ATTACHED SCHEDULE A


                                    5.       During the three years prior to the date of this Certificate. Plaintiff has
                    not sought to serve or served as a representative pafly for a class in an action filed under the
                    federal securities laws.
                                    6.      Plaintiff will not accept any payment for serving as a representative party
                    on behalf of the class beyond the Plaintifis pro rata share of any recovery, except such
                    reasonable costs and expenses (including hosl wages) directly relating to the representation of the
                    class as ordered or approved by the court.
                                    I declare under penalty of perjury that the foregoing ~ true and correct. Executed
                    this   __________     day of July 2020.




                                                                                          Anne Iiigledew




I of5                                                                                                                            7/6/2020. 11:39 AM
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 33 of 181




         SCHEDULE A TO CERTIFICATION OF ANNE INGLEDEW

                           Purchases

      Date         Number of Shares         Price per share

    09/20/19             1,000                  $2.53
    09/20/19             1,000                  $2.13
    09/23/19             2,000                  $2.12
    09/24/19              500                   $2.45
    09/24/19              100                   $2.18
   09/24/19               900                   $2.18
   09/25/19               100                   $1.90
   09/25/19               100                  $1.89
   09/25/19               100                  $1.87
   09/25/19               100                  $1.87
   09/25/19               100                  $1.87
   09/25/19               500                  $1.87
   09/25/19               500                  $1.82
   09/27/19             1,000                  $2.00
   09/30/19              227                   $2.01
   09/30/19              200                   $2.01
   09/30/19               73                   $2.01
   09/30/19              100                   $2.03
   09/30/19              100                   $2.03
   09/30/19              300                   $2.03
   09/30/19             1,000                  $2.07
   09/30/19              900                   $2.04
   09/30/19              100                   $2.04
   10/01/19              500                   $1.96
   10/01/19              500                   $1.94
   10/01/19              500                   $1.86
   10/01/19             1,500                  $1.85
   10/01/19             1,000                  $1.84
   10/01/19             1,000                  $1.84
   10/02/19             1,000                  $1.75
   10/02/19             1,000                  $1.72
   10/02/19             1,000                  $1.65
   10/02/19             1,000                  $1.68
   10/03/19              100                   $1.71
   10/03/19              300                   $1.71
   10/03/19              100                   $1.71
   10/04/19             1,000                  $1.59
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 34 of 181




    10/04/19           500               $1.56
    10/09/19          1,000              $1.76
    10/16/19           500               $2.45
    10/16/19           500               $2.36
    10/17/19          1,000              $2.38
    10/17/19           500               $2.53
    10/18/19           100               $2.43
    10/18/19           900               $2.43
    10/18/19           100               $2.23
    10/18/19           900               $2.23
    10/21/19          1,500              $2.90
    10/21/19           200               $2.64
    10/21/19          1,300              $2.64
   10/21/19            100              $2.26
   10/21/19            400              $2.26
   10/21/19            100              $2.14
   10/21/19            100              $2.13
   10/21/19            100              $2.12
   10/21/19            100              $2.12
   10/21/19            100              $2.11
   10/21/19           500               $2.10
   10/21/19           500               $2.09
   10/22/19           300               $1.84
   10/22/19           100               $1.84
   10/22/19           100               $1.84
   10/22/19           200               $1.84
   10/22/19           100               $1.84
   10/22/19           100               $1.84
   10/22/19           100               $1.84
   10/22/19           500               $1.69
   10/25/19           400               $1.70
   10/25/19           100               $1.70
   11/07/19           500               $1.43
   11/07/19           500               $1.43
   11/11/19          2,000              $0.91
   11/12/19          1,000              $0.86
   11/12/19          1,000              $0.86
   11/13/19          2,000              $0.87
   11/14/19          2,000              $0.74
   11/14/19          2,000              $0.67
   11/18/19          4,000              $0.63
   11/19/19          2,000              $0.54
   11/21/19          1,000              $0.68
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 35 of 181




    11/22/19           1,000              $0.82
    11/22/19           1,000              $0.78
    11/25/19           1,000              $0.81
    11/25/19            200               $0.79
    11/25/19            200               $0.79
    11/25/19            100              $0.79
    11/25/19           1,900             $0.79
    11/25/19            100              $0.79
    11/26/19           1,000             $0.73
    12/09/19          1,000              $0.79
   12/09/19           1,000              $0.79
   12/10/19           2,000              $0.78
   12/18/19           1,000              $0.82
   12/18/19           1,000              $0.82
   12/19/19           1,000              $1.05
   12/19/19           1,000              $0.98
   12/24/19           1,000              $1.08
   12/30/19           1,000              $1.61
   12/30/19             100              $1.58
   12/30/19             100              $1.58
   12/30/19            100               $1.58
   12/30/19            100               $1.58
   12/30/19            600               $1.58
   12/30/19            400               $1.58
   12/31/19            100               $0.70
   12/31/19           1,000              $0.70
   12/31/19            600               $0.70
   12/31/19           2,300              $0.70
   12/31/19           1,000              $0.69
   01/23/20           6,000              $0.19




                          Sales

     Date        Number of Shares    Price per share

   01/23/20           9,985              $0.20
   01/23/20             15               $0.20
   01/23/20          10,000              $0.19
   01/23/20          10,000              $0.19
   01/23/20          10,000              $0.20
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 36 of 181




    01/23/20         10,000              $0.20
    01/23/20         10,000              $0.20
    01/23/20         10,000              $0.20
    01/23/20         10,000              $0.20
    01/23/20         10,000              $0.19
    01/23/20         4,900               $0.19
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 37 of 181




 OPTION TRANSACTIONS


 MDRJQ Purchased 5 contracts (500 shares) on 11/21/19: Dec 2019 Call 1.00 @ $1.15/share
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 38 of 181


                                   PLSINTIFF’S CFRTIfl( ATION

                   Thomas Cart Rabiii C’PlainuilT’) declares under penalty of perjury., as to the
claims asrerted under th.e federal securities laws. that:
                 1.      Pbirai Ii hw~ reviewed the complaint and aiithonzed. the       ~L~IThmCOOCWCUt    of

a federal sceurilics vlaxx ~ciinn on flaintiffs behalf,
                 2.       P1 ainti IT did. IROt purchase the sccuthy that is the stthjcct of’ th~s ~ei.ion at
tile direction c)fplamtiWs cvt~n~eI or in order to p~rkIpak iii this pdv~de aCIIn1L
                 3.      Phiintift is willing to serve as a representative pafly cffi Eehalf of the elass~
including prvviding teslinony at deposition and trial. ifncss~rry.
                 4.      Pbintiffl transactions in McDermott Inteniutional, [nc. during the Cia~s
Period specified in the Complaint are as fbi Lows:


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                 5..     !briri~ the three years pdor to the thue of iii ~ Certifieatc~ Plaintiff has
not sought to sene or sen’ed as a represent~tive party Ihr a class in an action filed under the
federal secun lies laws.
                 6.      l’in~iffwifl ns~t accept any paytncn.1. for serving as a representative party
oi’.   behalf of the class heyønd the Plaintiffs pro rata share or any recovery.. c~eept such
iwtlc costs und wcpcnses (hiciudiitg. lost wages) dllrvctly rebating tr’ the representatIon of the
class as ordered qr approved by the court.
                 I decii~re unde,’ penalty of perjury tht the foregoing is true and correct, Bxeoute4[
this        ~7.        day of July 2020.
                                                                                                   7%~


                                                                                           ~~Us
                                                                        Thomas Cad knbb
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 39 of 181




       SCHEDULE A TO CERTIFICATION OF THOMAS CARL RABIN

                           Purchases

      Date         Number of Shares         Price per share

    12/24/19              500                   $1.10
    12/30/19              700                   $1.60
    12/30/19              800                   $1.47
    12/30/19             500                    $0.95
    12/30/19             500                    $0.70
    01/02/20             1500                   $0.66
    0 1/08/20            400                    $0.75
    01/09/20             400                    $0.75



                            Sales

      Date         Number of Shares        Price per share

   11/12/19             2526                   $0.83
   11/19/19             1000                   $0.60
   01/02/20             3000                   $0.62
   01/03/20               24                   $0.65
   01/13/20              776                   $0.60
   01/23/20             4000                   $0.19
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 40 of 181




                                   PLAINTIFF’S CERTIFICATION

                  Adam Shultz (“Plaintiff’) declares under penalty of perjury, as to the claims
  asserted under the federal securities laws, that:
                  1.      Plaintiff has reviewed the complaint and authorized the commencement of
  a federal securities class action on Plaintiffs behalf.
                  2.      Plaintiff did not purchase the security that is the subject of this action at
  the direction of plaintiffs counsel or in order to participate in this private action.
                  3.     Plaintiff is willing to serve as a representative party on behalf of the class,
  including providing testimony at deposition and trial, if necessary.
                 4.      Plaintiffs transactions in McDermott International, Inc. during the Class
  Period specified in the Complaint are as follows:


                                           SEE ATTACHED SCHEDULE A


                 5.      During the three years prior to the date of this Certificate, Plaintiff has
  not sought to sei~’e or served as a representative party for a class in an action filed under the
  federal securities laws.
                 6.      Plaintiff will not accept any payment for serving as a representative party
  on behalf of the class beyond the Plaintiff’s pro rata share of any recovery, except such
  reasonable costs and expenses (including lost wages) directly relating to the representation of the
  class as ordered or approved by the court.
                 I declare under penalty of perjury that the foregoing is true and correct. Executed
  this   ________      day of July 2020.




                                                                     Adam Shultz
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 41 of 181




              SCHEDULE A TO CERTIFICATION OF ADAM SHULTZ

                               Purchases

       Date            Number of Shares         Price per share


     11/01/19                  5                    $1.66
     11/01/19                 363                   $1.65
     11/01/19                2,136                  $1.66
     11/01/19                3,000                  $1.66
     11/01/19                7,000                  $1.66
     11/01/19                8,721                  $1.62
     11/01/19                9,637                  $1.66
     11/01/19               10,000                  $1.66
     11/01/19               10,000                  $1.66
     11/01/19               10,000                  $1.66
     11/05/19               10,000                  $1.65
     11/05/19               10,000                  $1.65
     11/05/19               10,000                  $1.61
     11/06/19                  11                   $1.55
     11/11/19                 700                   $0.94
     11/11/19                1,051                  $0.94
     11/11/19                9,282                  $0.94
     11/11/19               9,903                   $0.94
     11/11/19               9,950                   $0.95
     11/11/19               10,000                  $0.94
     11/13/19                  29                   $0.85
     11/14/19               9,059                   $0.64
     11/18/19                  10                   $0.66
     11/19/19                 300                   $0.57
     11/19/19                 528                   $0.57
     11/19/19               5,152                   $0.57
     11/19/19               5,808                   $0.55
     11/20/19                   1                   $0.57
     11/21/19               2,286                   $0.85
     11/22/19                  14                   $0.89
     11/22/19                 500                   $0.77
     11/22/19                 500                   $0.76
     11/22/19                 500                   $0.76
     11/22/19                 500                   $0.76
     11/22/19               1,000                   $0.77
     11/22/19               5,000                   $0.76
     11/22/19               7,679                   $0.76
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 42 of 181




     12/19/19           100              $0.95
     12/19/19           295              $0.96
     12/19/19           379              $0.95
     12/19/19           400              $0.95
     12/19/ 19          500              $0.95
     12/19/19           590              $0.95
     12/19/19           600              $0.95
     12/19/19           706              $0.95
     12/19/19          1,700             $0.94
     12/19/19          3,200             $0.95
     12/19/19          3,904             $0.95
     12/19/19          8,300             $0.94
     12/19/19         10,000             $0.95
     12/19/19         10,000             $0.95
     12/30/19            54              $1.01
     12/30/19           100              $1.02
     12/30/19          1,161             $1.03
     12/30/19         1,683              $1.00
     12/30/19         2,990              $0.75
     12/30/19         8,685              $1.00
     12/30/19         10,000             $0.77
     12/31/19          511               $0.67
     01/02/20           10               $0.69
     01/14/20           24               $0.67
     01/14/20          500               $0.66
     01/14/20         8,789              $0.66
     01/15/20            1               $0.73
     01/15/20           30               $0.74
     01/15/20         1,082              $0.71
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 43 of 181




                            SaJes


       Date       Number of Shares    Price per share


     11/08/19          5,000              $1.00
     12/30/19         10,000              $0.70
     12/30/19         10,000              $0.70
     12/30/19          8,250              $0.80
     12/30/19          1,750              $0.80
     01/13/20         10,000              $0.61
     01/23/20         75,000              $0.19
     01/23/20         57,867              $0.20
     01/23/20         25,000              $0.20
     01/23/20         25,000              $0.12
     01/23/20         18,052              $0.20
     01/23/20          1,000              $020
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 44 of 181




                                      PLAINTIFF’S CERTIFICATION

                 Amit Somani and Shital Mehta (‘Plaintiffs”) declare under penalty of perjury,
 as to the claims asserted under the federal securities laws, that:

                 1.          Plaintiffs have reviewed the complaint and authorized the commencement

 of a federal securities class action on Plaintiffs’ behalf.

                 2.          Plaintiffs did not purchase the security that is the subject of this action at
 the direction of plaintiffs’ counsel or in order to participate in this private action.

                 3.          Plaintiffs are willing to serve as a representative party on behalf of the
 class, including providing testimony at deposition and trial, if necessary.

                4.           Plaintiffs’ transactions in McDermott International, Inc. during the Class

Period specified in the Complaint are as follows:

                                             SEE ATTACHED SCHEDULE A
                5.           During the three years prior to the date of this Certificate, Plaintiffs have
not sought to serve or served as a representative party for a class in an action filed under the

federal securities laws.

                6.           Plaintiffs will not accept any payment for serving as a representative party

on behalf of the class beyond the Plaintiffs’ pro rata share of any recovery, except such

reasonable costs and expenses (including lost wages) directly relating to the representation of the

class as ordered or approved by the court.

                We declare under penalty of pei~ury that the foregoing is true and correct.
                      1•~~

Executed this         ~‘1           day of July 2020.
                                                                        >0~~

                                                                            Amit Somani




                                                                             Shital Mehta
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 45 of 181




                     SCHEDULE A TO CERTIFICATION OF AMIT SOMANI

                               Purchases Common Stock

            Date                    Number of Shares          Price per share

          09/20/19                         52                     $2.31
          09/20/19                        100                     $2.30
          09/20/19                       11,000                   $2.52
          09/20/19                        925                     $2.62
          09/20/19                       2,015                    $2.62
          09/20/19                       2,600                    $2.62
          09/20/19                        975                     $2.62
          09/20/19                       2,000                    $2.04
          10/21/19                        758                     $2.97
          10/21/19                       2,242                    $2.95
          10/25/19                       1,000                    $1.65




                                Sales Common Stock

            Date                    Number of Shares         Price per share

          10/16/19                       1,060                    $2.44
          10/16/19                        300                     $2.43
          10/16/19                       1,640                    $2.43
          12/06/19                       2,000                    $0.75
          12/09/19                       4,993                    $0.75
          12/09/19                         7                      $0.75
          01/15/20                        851                     $0.84
          01/15/20                       9,149                    $0.84
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 46 of 181




                           Options Trades

             Date              # of Contracts          Description          Price per share

           10/16/19                  400         MDR Nov 15 2019 5.0 Call       $0.15
           10/23/19                  500         MDR Feb 21 2020 5.0 Call       $0.25
           11/05/19                  500         MDR Feb 21 2020 3.5 Call       $0.25
           11/05/19                    1         MDR Nov 15 2019 2.5 Call       $0.03
           11/07/19                  400         MDRFeb212O2O5.OCall            $0.10
           11/12/19                  100         MDR Feb 21 2020 5.0 Call       $0.05
           11/14/19                  500        MDR May 15 2020 4.5 Call       $0.05
           11/19/19                  200        MDRMay152O2O4.5CaJI            $0.05
           11/21/19                 300          MDR Feb 21 2020 5.0 Call      $0.05
           11/27/19                 300         MDR Dec 20 2019 2.0 Call       $0.05
           12/06/19                 400         MDR Feb 21 2020 4,0 Call       $0.05
           12/09/19                 300         MDR Feb 21 2020 4.0 Call       $0.05
          12/09/19                  300         MDR Feb 21 2020 4.0 Call       $0.05
          12/09/19                  200         MDR May 15 2020 4.5 Call       $0.07
          12/24/19                 (300)        MDR May 15 2020 2.5 Call       $0.10
          12/24/19                  100         MDR May 15 2020 2.5 Call       $0.20
          12/27/19                  200         MDR May 15 2020 2.5 Call       $0.35
          01/02/20                  700         MDR May 15 2020 2.0 Call       $0.10
          01/15/20                  447         MDRFeb212O2O4.OCall            $0.02
          01/15/20                  253         MDR Feb 21 2020 4.0 Call       $0.03
          01/15/20                  300         MDR Feb 21 2020 4.0 Call       $0.03
          01/16/20                  100         MDR Jan 17 2020 1.0 Call       $0.03
          01/16/20                  101         MDR Feb 21 2020 3.0 Call       $0.03
          01/16/20                   99         MDR Feb 21 2020 2.0 Call       $0.07
          01/16/20                    1         MDR Feb 21 2020 2.0 Call       $0.08
          01/17/20                  133         MDR Feb 21 2020 3.0 Call       $0.05
          01/17/20                  266         MDR Feb 21 2020 3.0 Call       $0.05
          01/17/20                   70         MDR May 15 2020 2.0 Call       $0.10
          01/17/20                 500          MDR Feb 21 2020 3.5 Call       $0.04
          01/17/20                  100         MDR Feb 21 2020 4.0 Call       $0.03
          01/17/20                  100         MDR Feb 21 2020 1.5 Call       $0.08
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 47 of 181




                    SCHEDULE A TO CERTIFICATION OF SHITAL MEHTA

                                     Purchases

             Date                  Numberof Shares            Price pershare

           11115/19                      2,000                    $0.65
          11/21/19                       3,000                    $0.90
          11/29/19                       2,000                    $0.78
          12/06/19                       1,900                    $0.81



                                       Sales

            Date                   Number of Shares          Price per share

          09/25/19                       5,000                    $1.97
          09/25/19                        777                     $1.97
          09/25/19                        333                     $1.97
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 48 of 181




                                     PLAINTIFF’S CERTIFICATION

                  Jayaprakash Srinivasan and Aarthi Srinivasan (“Plaintiffs”) declare under
  penalty of perjury, as to the claims asserted under the federal securities laws, that:
                  1.        Plaintiffs have reviewed the complaint and authorized the commencement
  of a federal securities class action on Plaintiffs’ behalf.
                  2.        Plaintiffs did not purchase the security that is the subject of this action at
  the direction of plaintiffs’ counsel or in order to participate in this private action.
                  3.     Plaintiffs are willing to serve as a representative party on behalf of the
  class, including providing testimony at deposition and trial, if necessary.
                 4.      Plaintiffs’ transactions in McDennott International, Inc. during the Class
 Period specified in the Complaint are as follows:

                                            SEE ATTACHED SCHEDULE A
                 5.      During the three years prior to the date of this Certificate, Plaintiffs have
 not sought to serve or served as a representative party for a class in an action filed under the
 federal securities laws.
                 6.      Plaintiffs will not accept any payment for serving as a representative party
 on behalf of the class beyond the Plaintiffs’ pro rata share of any recovery, except such
 reasonable costs and expenses (including lost wages) directly relating to the representation of the
 class as ordered or approved by the court.
                 We declare under penalty of peijury that the foregoing is true and correct.
 Executed this          3~        day of July 2020.



                                                                      Jayaprakash Sruuva an




                                                                         Aarthi Srinivasan
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 49 of 181



 SCHEDULE A TO CERTIFICATION OF JAYAPRAKSAH SRINIVASAN

                        Purchases

    Date             Numberof Shares        Price pershare

  11/07/2019               4,000                $1.47
  11/08/2019                985                 $1.00
  11/21/2019              23,199                $0.79
  11/22/2019             132,154                $0.79

                          Sales

    Date            Number of Shares        Price per share

  1/23/2020              137,139                $0.13
  1/23/2020              23,199                 $0.13


    SCHEDULE A TO CERTIFICATION OF AARTHI SRINIVASAN

                       Purchases

    Date            NumberofShares         Price pershare

 11/07/2019              10,000                 $1.47
 11/08/2019               380                   $1.00
 11/21/2019             355,434                 $0.79
 11/21/2019             25,827                  $0.80

                          Sales

    Date            N umber of Shares      Price per share

 1/23/2020              365,814                 $0.13
 1/23/2020               25,827                 $0.13
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 50 of 181




                                          PLAINTIFF’S CERTIFICATION

                           Christopher Swedlow (“Plaintiff’) declares under penalty of perjury, as to the
     claims asserted under the federal securities laws, that:

                        1.       Plaintiff has reviewed the complaint and authorized the commencement of
     a federal securities class action on Plaintiffs behalf.

                       2.        Plaintiff did not purchase the security that is the subject of this action at
    the direction of plaintiffs counsel or in order to participate in this private action.

                      3.         Plaintiff is willing to serve as a representative party on behalf of the class,
    including providing testimony at deposition and trial, if necessary.

                      4.        Plaintiffs transactions in McDermott International, Inc. during the Class
    Period specified in the Complaint are as follows:



                                                 SEE ATTACKED SCHEDULE A


                      5.        During the three years prior to the date of this Certificate, Plaintiff has not
   sought to serve or served as a representative party for a class in an action filed under the federal
   securities laws.

                   6.           Plaintiff will not accept any payrn~1t for serving as a representative party
   on behalf of the class beyond the Plaintiff’s pro rata share of any recovery, except such

   reasonable costs and expenses (including lost wages) directly relating to the representation of the
   class as ordered or approved by the court.

                   I declare under penalty of peijuiy that the foregoing is true and correct. Executed
   this   _________          day of July 2020.




                                                                             Christopher Swedlow
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 51 of 181




          SCHEDULE A TO CERTIFICATION OF CHRISTOPHER SWEDLOW

                               Purchases

          Date          Number of Shares        Price per share

        09/27/19             2,500                  $2.00
        11/06/19             3,514                  $1.50
        12/12/19             6,900                  $0.76

                                 Sales

          Date         Number of Shares        Price per share

        01/23/20            15,000                  $0.17
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 52 of 181




                                           PLAINTIFF’S CERTIFICATION

                          Alexandre Tazi (“Plaintiff’) declares under penalty of peijury, as to the claims
          asserted under the federal securities laws, that:
                          1.      Plaintiff has reviewed the complaint and authorized the commencement of
          a federal securities class action on Plaintiff’s behalf.
                          2.      Plaintiff did not purchase the security that is the subject of this action at
          the direction of plaintiffs counsel or in order to participate in this private action.
                          3.      Plaintiff is willing to serve as a representative party on behalf of the class,
          including providing testimony at deposition and trial, if necessary.
                          4.      Plaintiffs transactions in McDermott International, Inc. during the Class
          Period specified in the Complaint are as follows:


                                                   SEE ATTACHED SCHEDULE A


                          5.     During the three years prior to the date of this Certificate, Plaintiff has
          not sought to serve or served as a representative party for a class in an action filed under the
          federal securities laws.
                          6.     Plaintiff will not accept any payment for serving as a representative party
          on behalf of the class beyond the Plaintiff’s pro rata share of any recovery, except such
          reasonable costs and expenses (including lost wages) directly relating to the representation of the
          class as ordered or approved by the court.
                         I declare under penalty of peijury that the foregoing is true and correct. Executed
          this    o            day of July 2020.




                                                                              Alexandre Tm
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 53 of 181




            SCHEDULE A TO CERTIFICATION OF ALEXANDRE TAZI

                               Purchases

      Date             Number of Shares         Price per share

    09/20/19                1,000                   $1.95
    09/24/19                 500                    $2.18
    10/01/19                 500                    $1.96
    10/01/19                1,000                   $1.82
    10/02/19                1,000                   $1.71
    10/11/19                1,000                   $2.05
    10/21/19                5,000                   $2.21
    10/28/19                2,000                   $1.62
    11/07/19                3,000                   $1.44
    11/21/19                1,000                   $0.72
    11/26/19                1,000                   $0.74
    12/02/19               2,000                    $0.86
    12/06/19                1,000                   $0.73
    12/09/19               10,000                   $0.78
    12/09/19               1,100                    $0.76
    12/30/19               5,000                    $0.84



                                Sales

     Date             Number of Shares         Price per share

   12/31/19                 5,000                     $0.67
   01/14/20                5,000                      $0.68
   01/23/20                42,500                     $0.18
   01/23/20                  1,100                    $0.19
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 54 of 181




                            EXHIBIT C
      Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 55 of 181


Summary of Coligado Shareholder Group Member Losses

McDermott International, Inc.
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                    -


90 day Lookback Price for Retained Shares:              $0.0478

                                        Common Stock     Stock Options

Christopher Coligado                     $586,833.30
Jayaprakash and Aarthi Srinivasan        $376,318.80
Adam Shultz                              $211,460.74
John Arden Ahnefeldt                     $138,393.96
Anne Ingledew                            $90,525.72
Khahn Bui                                $85,676.91
Robert Brower, Sr.                       $68,959.40
Robert Brower, Jr.                       $65,966.68
Amit Soltani                              $38,612.97      $71,055.00
Alexandre Tazi                           $35,775.89
Edwin and Soo Lie Howell                 $30,335.41
Amira Chowdhury                          $16,409.62
Christopher Swedlow                      $13,319.62
Darren Hunting                           $12,454.55
Daniel Gad                               $11,701.05
Jignesh and Krutika Chandarana            $7,222.49       $1,000.00
Shital Mehta                              $6,673.58
Thomas Rabin                              $2,634.80

TOTAL GROUP LOSSES                      $1,799,275.48     $72,055.00
      Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 56 of 181


McDermott International, Inc.
Loss Chart for Christopher Coligado
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                  $0.0478



                                     Purchases

    Date         Number of Shares         Price per share             Basis

 09/20/19             7,692                   $1.95              $14,999.40
 09/20/19             7,731                   $1.92              $14,845.70
 09/20/19            10,000                   $2.02              $20,202.95
 09/20/19             3,717                   $2.70              $10,038.85
 10/01/19             5,154                   $1.92               $9,898.63
 10/03/19             5,917                   $1.70              $10,032.27
 10/15/19                1                    $2.14                 $2.14
 10/16/19            21,225                   $2.37              $50,303.25
 10/16/19             2,127                   $2.37               $5,043.94
 10/17/19             4,080                   $2.51              $10,240.80
 10/17/19             4,080                   $2.50              $10,200.00
 10/17/19             4,080                   $2.49              $10,159.20
 10/18/19             2,252                   $2.22               $4,999.44
 10/18/19             2,272                   $2.29               $5,202.88
 10/18/19             2,222                   $2.25               $4,999.50
 10/21/19             2,440                   $2.10               $5,124.00
 10/21/19             4,651                   $2.15               $9,999.65
 10/21/19             4,761                   $2.10               $9,998.10
 10/21/19             2,475                   $2.05               $5,076.70
 10/22/19             5,882                   $1.70               $9,999.40
 10/22/19            22,222                   $1.80              $39,999.60
 10/22/19             5,555                   $1.80               $9,999.00
 10/22/19             5,714                   $1.80              $10,285.20
 10/22/19             2,777                   $1.80               $5,001.55
 10/22/19             2,702                   $1.85               $5,001.65
 10/23/19            6,250                    $1.66              $10,375.00
 10/23/19            6,060                    $1.66              $10,059.60
 10/23/19            6,250                    $1.70              $10,625.00
 10/23/19            5,882                    $1.70               $9,999.40
 10/23/19            6,250                    $1.70              $10,625.00
 10/23/19            6,060                    $1.66              $10,059.60
 10/23/19            4,911                    $1.60               $7,857.60
 10/24/19            15,900                   $1.66              $26,396.60
 10/24/19               18                    $1.65                $29.70
 10/24/19            2,154                    $1.66               $3,565.22
          Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 57 of 181


  10/24/19             12,048                $1.65         $19,882.15
  10/24/19             12,121                $1.66         $20,100.78
  11/05/19              6,250                $1.60         $10,002.95
  11/05/19              6,250                $1.59          $9,940.45
  11/05/19              6,250                $1.59          $9,940.45
  11/05/19             37,500                $1.60         $60,002.95
  11/07/19             12,413                $1.45         $18,001.80
  11/07/19              7,092                $1.41         $10,002.67
  11/19/19             17,857                $0.57         $10,178.49
  12/23/19             35,000                $1.13         $39,550.00
  12/23/19             44,495                $1.13         $50,279.35

Purchases             398,740                              $649,128.56




                                     Sales

        Date      Number of Shares     Price per share      Proceeds

  01/23/20             7,692                 $0.16          $1,230.72
  01/23/20            212,594                $0.16         $34,015.04
  01/23/20            171,319                $0.15         $25,955.13
  01/23/20             2,135                 $0.15           $329.63
  01/23/20             5,000                 $0.15           $764.74

Sales                 398,740                              $62,295.26

LOSS                                                      $586,833.30
        Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 58 of 181


McDermott International, Inc.
Loss Chart for iayaprakash Srinivasan
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:               $0.0478

                                          Purchases

                    Date              Number of Shares       Price per share      Basis

                 11/07/2019                 4,000                  $1.47         $5,880.00
                 11/08/2019                  985                   $1.00          $985.00
                 11/21/2019                23,199                  $0.79        $18,404.54
                 11/22/2019                132,154                 $0.79       $104,401.66

Purchases                                  160,338                             $129,671.20

                                            Sales

                    Date              Number of Shares       Price per share      Sales

                 1/23/2020                137,139                  $0.13       $17,690.93
                 1/23/2020                23,199                   $0.13       $2,992.67

Sales                                     160,338                              $20,683.60

Loss                                                                           $108,987.60
        Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 59 of 181



McDermott International, Inc.
Loss Chart for Aarthi Srinivasan
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day L.ookback Price for Retained Shares:              $0.0478

                                          Purchases

                    Date              Number of Shares       Price per share      Basis

                 11/07/2019                 10,000                 $1.47        $14,700.00
                 11/08/2019                  380                   $1.00         $380.00
                 11/21/2019                355,434                 $0.79       $282,214.60
                 11/21/2019                25,827                  $0.80        $20,558.29

Purchases                                  391,641                             $317,852.89

                                            Sales

                    Date              Number of Shares       Price per share      Sales

                  1/23/2020                365,814                 $0.13       $47,190.01
                  1/23/2020                25,827                  $0.13       $3,331.68

Sales                                      391,641                             $50,521.69

LOSS                                                                           $267,331.20
      Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 60 of 181


McDermott International, Inc.
Loss Chart for Adam Shultz
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                $0.0478

Common Stock

                                     Purchases

    Date        Number of Shares        Price per share             Basis

  11/01/19               5                  $1.66                  $8.30
  11/01/19             363                  $1.65                $598.95
  11/01/19            2,136                 $1.66               $3,536.58
  11/01/19            3,000                 $1.66               $4,980.00
  11/01/19            7,000                 $1.66              $11,617.20
  11/01/19            8,721                 $1.62              $14,128.02
  11/01/19            9,637                 $1.66              $15,997.42
  11/01/19           10,000                 $1.66              $16,600.00
  11/01/19           10,000                 $1.66              $16,585.00
  11/01/19           10,000                 $1.66              $16,584.00
  11/05/19           10,000                 $1.65              $16,500.00
  11/05/19           10,000                 $1.65              $16,500.00
  11/05/19           10,000                 $1.61              $16,100.00
  11/06/19              11                  $1.55                 $17.05
  11/11/19             700                  $0.94                $661.01
  11/11/19            1,051                 $0.94                $990.99
  11/11/19           9,282                  $0.94               $8,769.63
  11/11/19           9,903                  $0.94              $9,324.66
  11/11/19           9,950                  $0.95              $9,427.63
  11/11/19           10,000                 $0.94              $9,430.00
  11/13/19              29                  $0.85                 $24.76
  11/14/19           9,059                  $0.64              $5,791.42
  11/18/19              10                  $0.66                  $6.60
  11/19/19             300                  $0.57                $170.97
  11/19/19             528                  $0.57                $303.34
  11/19/19           5,152                  $0.57              $2,936.12
  11/19/19           5,808                  $0.55              $3,192.66
  11/20/19               1                  $0.57                  $0.57
  11/21/19           2,286                  $0.85              $1,953.16
  11/22/19              14                  $0.89                 $12.50
  11/22/19             500                  $0.77                $382.50
  11/22/19             500                  $0.76                $382.30
  11/22/19             500                  $0.76                $381.90
  11/22/19             500                  $0.76                $380.15
       Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 61 of 181


   11/22/19         1,000               $0.77           $765.00
   11/22/19         5,000               $0.76          $3,800.00
  11/22/19          7,679               $0.76          $5,836.04
  12/19/19           100                $0.95            $94.96
  12/19/19           295                $0.96           $283.14
  12/19/19           379                $0.95           $359.75
  12/19/19           400                $0.95           $379.88
  12/19/19           500                $0.95           $474.80
  12/19/19           590                $0.95           $560.15
  12/19/19           600                $0.95           $569.70
  12/19/19           706                $0.95           $670.56
  12/19/19          1,700               $0.94          $1,606.16
  12/19/19          3,200               $0.95          $3,038.08
  12/19/19          3,904               $0.95          $3,708.80
  12/19/19          8,300               $0.94          $7,842.67
  12/19/19         10,000               $0.95          $9,497.00
  12/19/19         10,000               $0.95          $9,495.00
  12/30/19            54                $1.01            $54.54
  12/30/19           100                $1.02           $102.00
  12/30/19          1,161               $1.03          $1,195.83
  12/30/19          1,683               $1.00          $1,683.00
  12/30/19         2,990                $0.75          $2,242.50
  12/30/19         8,685                $1.00          $8,685.00
  12/30/19         10,000               $0.77          $7,700.00
  12/31/19           511                $0.67           $340.79
  01/02/20            10                $0.69             $6.89
  01/14/20            24                $0.67            $16.08
  01/14/20           500                $0.66           $329.55
  01/14/20         8,789                $0.66          $5,784.92
  01/15/20             1                $0.73             $0.73
  01/15/20           30                 $0.74            $22.14
  01/15/20         1,082                $0.71           $767.14

Purchases         246,919                             $282,188.16


                                Sales

    Date      Numberof Shares     Price pershare       Proceeds

  11/08/19         5,000                $1.00          $5,000.00
  12/30/19        10,000                $0.70          $7,000.00
  12/30/19        10,000                $0.70          $7,000.00
  12/30/19         8,250                $0.80          $6,600.00
  12/30/19         1,750                $0.80          $1,401.75
  01/13/20        10,000                $0.61          $6,131.00
  01/23/20        75,000                $0.19         $14,325.00
        Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 62 of 181


  01/23/20          57,867             $0.20            $11,631.27
  01/23/20          25,000             $0.20            $4,875.00
  01/23/20          25,000             $0.12            $2,950.00
  01/23/20          18,052             $0.20            $3,610.40
  01/23/20           1,000             $0.20             $203.00

       Sales        246,919                             $70,727.42

LOSS                                                   $211,460.74
       Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 63 of 181


Loss Chart for John Arden Ahnefeldt
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                             $0.0478

                                         Purchases

            Date           Number of Shares          Price per share         Basis

       09/20/19                 10,000                   $1.93            $19,300.00
       09/20/19                 10,000                   $2.44            $24,399.00
       09/20/19                 10,000                   $2.60            $25,994.00
       09/20/19                 10,000                   $2.70            $27,000.00
       12/13/19                 10,000                   $0.79             $7,898.00
       12/13/19                 20,000                   $0.79            $15,798.00
       12/13/19                  6,000                   $0.78            $4,676.40
       12/13/19                 10,000                   $0.78            $7,794.00
       12/13/19                 3,200                    $0.78            $2,494.40
       12/13/19                   800                    $0.78              $622.16
       01/17/20                 10,000                   $0.72            $7,198.00

Purchases                      100,000                                   $143,173.96

Retained Shares                100,000                  $0.0478           $4,780.00

Loss                                                                     $138,393.96
      Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 64 of 181


Loss Chart for Anne Ingeldew
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                              $0.0478

                                              Purchases

         Date              Number of Shares           Price per share               Basis

      09/20/19                      1,000                 $2.53                   $2,530.00
      09/20/19                      1,000                 $2.13                   $2,130.00
      09/23/19                      2,000                 $2.12                   $4,240.00
      09/24/19                       500                  $2.45                   $1,225.00
      09/24/19                       100                  $2.18                    $218.00
      09/24/19                       900                  $2.18                   $1,962.00
      09/25/19                       100                  $1.90                    $190.00
      09/25/19                       100                  $1.89                    $189.00
      09/25/19                       100                  $1.87                    $186.50
      09/25/19                       100                  $1.87                    $186.50
      09/25/19                       100                  $1.87                    $186.50
      09/25/19                       500                  $1.87                    $932.50
      09/25/19                       500                  $1.82                    $907.50
      09/27/19                      1,000                 $2.00                   $2,000.00
      09/30/19                       227                  $2.01                    $455.14
      09/30/19                       200                  $2.01                    $401.00
      09/30/19                        73                  $2.01                    $146.73
      09/30/19                       100                  $2.03                    $203.00
      09/30/19                       100                  $2.03                    $203.00
      09/30/19                       300                  $2.03                    $609.00
      09/30/19                      1,000                 $2.07                   $2,070.00
      09/30/19                       900                  $2.04                   $1,836.00
      09/30/19                       100                  $2.04                    $204.00
      10/01/19                       500                  $1.96                    $980.00
      10/01/19                       500                  $1.94                    $970.00
      10/01/19                       500                  $1.86                    $930.00
      10/01/19                      1,500                 $1.85                   $2,775.00
      10/01/19                      1,000                 $1.84                   $1,840.00
      10/01/19                      1,000                 $1.84                   $1,840.00
      10/02/19                      1,000                 $1.75                   $1,750.00
      10/02/19                      1,000                 $1.72                   $1,720.00
      10/02/19                      1,000                 $1.65                   $1,650.00
      10/02/19                      1,000                 $1.68                   $1,680.00
      10/03/19                       100                  $1.71                    $171.00
      10/03/19                       300                  $1.71                    $513.00
      10/03/19                       100                  $1.71                    $171.00
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 65 of 181


 10/04/19            1,000               $1.59             $1,585.00
 10/04/19             500               $1.56               $777.50
 10/09/19            1,000              $1.76              $1,760.00
 10/16/19             500               $2.45              $1,225.00
 10/16/19             500               $2.36              $1,180.00
10/17/19             1,000              $2.38              $2,380.00
10/17/19              500               $2.53              $1,265.00
10/18/19              100               $2.43               $243.00
10/18/19              900               $2.43              $2,187.00
10/18/19              100               $2.23               $223.00
10/18/19              900               $2.23              $2,007.00
10/21/19             1,500              $2.90              $4,350.00
10/21/19              200               $2.64               $528.00
10/21/19            1,300               $2.64              $3,432.00
10/21/19              100               $2.26               $226.00
10/21/19              400               $2.26               $904.00
10/21/19              100               $2.14               $214.00
10/21/19              100               $2.13               $213.00
10/21/19              100               $2.12               $212.00
10/21/19              100               $2.12               $212.00
10/21/19              100               $2.11               $211.00
10/21/19              500               $2.10              $1,050.00
10/21/19              500               $2.09              $1,045.00
10/22/19              300               $1.84               $552.00
10/22/19              100               $1.84               $184.00
10/22/19              100               $1.84               $184.00
10/22/19              200               $1.84               $368.00
10/22/19              100               $1.84               $184.00
10/22/19              100               $1.84               $184.00
10/22/19              100               $1.84               $184.00
10/22/19             500                $1.69               $845.00
10/25/19             400                $1.70               $680.00
10/25/19             100                $1.70               $170.00
11/07/19             500                $1.43               $715.00
11/07/19             500                $1.43               $715.00
11/11/19            2,000               $0.91              $1,820.00
11/12/19            1,000               $0.86               $860.00
11/12/19            1,000               $0.86               $860.00
11/13/19            2,000               $0.87              $1,740.00
11/14/19            2,000               $0.74              $1,480.00
11/14/19            2,000               $0.67              $1,340.20
11/18/19            4,000               $0.63              $2,519.60
11/19/19            2,000               $0.54              $1,080.00
11/21/19            1,000               $0.68               $680.00
11/22/19            1,000               $0.82               $820.00
      Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 66 of 181


       11/22/19             1,000                    $0.78           $780.00
       11/25/19            1,000                     $0.81           $810.00
       11/25/19              200                     $0.79           $158.88
       11/25/19              200                     $0.79           $158.88
       11/25/19              100                     $0.79            $79.44
       11/25/19            1,900                     $0.79          $1,496.63
       11/25/19              100                     $0.79            $78.77
       11/26/19            1,000                     $0.73           $730.00
       12/09/19            1,000                     $0.79           $790.00
       12/09/19            1,000                     $0.79           $790.00
       12/10/19            2,000                     $0.78          $1,560.00
       12/18/19            1,000                     $0.82           $820.00
       12/18/19            1,000                     $0.82           $820.00
       12/19/19            1,000                     $1.05          $1,050.00
       12/19/19            1,000                     $0.98           $980.00
       12/24/19            1,000                     $1.08          $1,080.00
       12/30/19            1,000                     $1.61          $1,610.00
       12/30/19             100                      $1.58           $157.50
       12/30/19             100                      $1.58           $157.50
       12/30/19             100                      $1.58           $157.50
       12/30/19             100                      $1.58           $157.50
       12/30/19             600                      $1.58           $948.00
       12/30/19             400                      $1.58           $632.00
       12/31/19             100                      $0.70            $69.77
       12/31/19            1,000                     $0.70           $697.70
       12/31/19             600                      $0.70           $418.62
       12/31/19            2,300                     $0.70          $1,603.56
       12/31/19            1,000                     $0.69           $690.80
       01/23/20            6,000                     $0.19          $1,157.40

Purchases                 81,400                                   $106,436.12

                                         Sales

            Date      Number of Shares           Price per share      Basis

       01/23/20           9,985                      $0.20          $2,016.97
       01/23/20             15                       $0.20            $3.03
       01/23/20           10,000                     $0.19          $1,949.00
       01/23/20           10,000                     $0.19          $1,920.00
       01/23/20           10,000                     $0.20          $1,951.00
       01/23/20           10,000                     $0.20          $1,951.00
       01/23/20           10,000                     $0.20          $1,951.00
       01/23/20           10,000                     $0.20          $1,951.00
       01/23/20           10,000                     $0.20          $1,950.00
        Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 67 of 181



        01/23/20             1,400              $0.19               $267.40

Sales                       81,400                                 $15,910.40

Loss                                                              $90,525.72
        Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 68 of 181


Loss Chart for Khahn Bui
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day I.ookback Price for Retained Shares:                               $0.0478

                                            Purchases

            Date           Number of Shares             Price per share             Basis

        10/04/19                20,000                      $1.59              $31,700.00
        11/06/19                  110                       $1.54                $169.40
        11/06/19                19,890                      $1.54              $30,630.60
        11/18/19                  200                       $0.66                $131.80
        11/18/19                 2,100                      $0.66               $1,383.90
        11/18/19                47,700                      $0.66              $31,482.00

Purchases                       90,000                                         $95,497.70


                                              Sales

            Date           Number of Shares             Price per share             Basis

        11/11/19                    1,500                   $0.90               $1,353.00
        11/11/19                    1,040                   $0.91                $944.32
        11/11/19                    1,000                   $0.90                $903.00
        11/11/19                     900                    $0.91                $814.50
        11/11/19                     600                    $0.91                $543.00
        11/11/19                     500                    $0.91                $452.50
        11/11/19                     200                    $0.91                $181.40
        11/11/19                     200                    $0.91                $181.40
        11/11/19                     200                    $0.91                $181.40
        11/11/19                     100                    $0.91                $90.70
        11/11/19                     100                    $0.91                $90.70
        11/11/19                     100                    $0.91                $90.70

Sales                               6,440                                       $5,826.62

Retained Shares                 83,560                     $0.0478              $3,994.17

LOSS                                                                           $85,676.91
        Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 69 of 181


Loss Chart for Robert Brower Sr.
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                               $0.0478

                                           Purchases

            Date           Number of Shares            Price per share             Basis

        09/27/19                 1,000                     $2.01               $2,010.00
        10/18/19                 2,000                     $2.45               $4,900.00
        10/21/19                 1,000                     $2.80               $2,800.00
        10/21/19                 2,000                     $2.12               $4,240.00
        10/22/19                 2,000                     $1.85               $3,700.00
        10/24/19                 5,000                     $1.70               $8,500.00
        10/31/19                10,000                     $1.62              $16,200.00
        10/31/19                 1,961                     $1.61              $3,157.21
        10/31/19                 3,039                     $1.61              $4,892.79
        11/07/19                 5,000                     $1.40              $7,000.00
        11/11/19                 2,000                     $0.94              $1,880.00
        11/11/19                 2,000                     $0.89              $1,780.00
        11/12/19                 2,000                     $0.88              $1,760.00
        11/15/19                 1,000                     $0.60                $600.00
        11/15/19                 2,000                     $0.60              $1,200.00
        11/15/19                 1,000                     $0.60                $600.00
        12/30/19                8,500                      $0.64              $5,440.00
        12/30/19                11,500                     $0.64              $7,360.00
        12/30/19                6,000                      $1.11              $6,660.00
        01/10/20                 1,000                     $0.74                $740.00
        01/16/20                  750                      $0.80                $600.00

Purchases                       70,750                                        $86,020.00

                                              Sales

            Date           Number of Shares            Price per share         Proceeds

        10/18/19                 3,000                     $2.25               $6,750.00
        01/23/20                45,000                     $0.18               $8,100.00
        01/23/20                 1,750                     $0.19                $332.50
        01/23/20                 6,000                     $0.19               $1,140.00
        01/24/20                  500                      $0.09                $45.00

Sales                           56,250                                        $16,367.50

Retained Shares                 14,500                    $0.0478              $693.10

LOSS                                                                          $68,959.40
      Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 70 of 181


Loss Chart for Robert Brower, Jr.
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                              $0.0478

                                          Purchases

         Date              Number of Shares           Price per share             Basis

      10/18/19                   2,500                    $2.41               $6,025.00
      10/18/19                   2,500                    $2.22               $5,550.00
      10/21/19                   2,500                    $2.74               $6,850.00
      10/21/19                   2,000                    $2.38              $4,760.00
      10/21/19                   5,000                    $2.14              $10,700.00
      10/21/19                    500                     $2.07              $1,035.00
      10/22/19                   1,750                    $1.84              $3,220.00
      10/22/19                   5,000                    $1.68              $8,400.00
      10/23/19                   2,000                    $1.68              $3,360.00
      10/23/19                    250                     $1.70                $425.00
      10/25/19                   5,000                    $1.68              $8,400.00
      10/25/19                   2,500                    $1.66              $4,150.00
      10/31/19                    500                     $1.63                $815.00
      11/04/19                   2,000                    $1.73              $3,460.00
      11/07/19                   3,825                    $1.37              $5,240.25
      11/08/19                     24                     $1.03                $24.72
      11/11/19                   6,150                    $0.89              $5,473.50
      11/12/19                  10,000                    $0.76              $7,600.00
      12/16/19                  5,000                     $0.75              $3,750.00
      12/24/19                  2,500                     $1.11              $2,775.00
      12/30/19                  5,000                     $1.08              $5,400.00
      12/30/19                  5,000                     $1.05              $5,250.00
      12/30/19                  5,000                     $1.04              $5,200.00
      12/30/19                  3,250                     $0.79              $2,567.50
      12/30/19                  1,000                     $0.70               $700.00
      12/30/19                  6,000                     $0.59              $3,540.00
      12/30/19                    50                      $0.68                $34.00
      12/30/19                  5,000                     $0.61              $3,050.00
      12/30/19                  5,610                     $0.63              $3,534.30
      12/30/19                    75                      $0.64                $48.00
      12/31/19                    39                      $0.67                $26.13
      01/02/20                  3,400                     $0.61              $2,074.00
      01/02/20                     6                      $0.65                 $3.90
      01/02/20                    15                      $0.64                 $9.60
      01/02/20                     3                      $0.63                 $1.89
      01/03/20                     2                      $0.67                 $1.34
        Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 71 of 181


Purchases                   100,949                                  $123,454.13

                                           Sales

            Date        Number of Shares           Price per share    Proceeds

        10/18/19             2,500                     $2.34          $5,850.00
        10/21/19             1,499                     $2.55          $3,822.45
        12/27/19             7,500                     $1.41         $10,575.00
        12/27/19            10,000                     $1.45         $14,500.00
        12/30/19             5,000                     $1.66         $8,300.00
        01/23/20            29,450                     $0.20         $5,890.00
        01/23/20            45,000                     $0.19         $8,550.00

Sales                       100,949                                  $57,487.45

Loss                                                                 $65,966.68
            Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 72 of 181


McDermott International, Inc.
Loss Chart for Amit Somani
Cusip: 580037703
Class Period: September 20, 2019- January 23, 2020
90 day Lookback Price for Retained Shares:                                         $00478

Common Stock

                                                     Purchases

            Date                  Number of Shares               Price per share             Basis


        09/20/19                          52                          $2.31                 $119.86
        09/20/19                         100                         $2.30                $230.35
        09/20/19                        11,000                       $2.52              $27,720.00
        09/20/19                         925                         $2.62               $2,423.41
        09/20/19                        2,015                        $2.62              $5,278.90
        09/20/19                        2,600                        $2.62              $6,809.40
        09/20/19                         975                         $2.62              $2,549.63
        09/20/19                        2,000                        $2.04              $4,080.00
        10/21/19                         758                         $2.97              $2,251.26
        10/21/19                        2,242                        $2.95              $6,613.90
        10/25/19                        1,000                        $1.65              $1,652.00

Purchases                               23,667                                          $59,728.70



                                                      Sales

            Date                  Number of Shares               Price per share             Basis

        10/16/19                        1,060                        $2.44              $2,581.10
        10/16/19                         300                         $2.43               $729.06
        10/16/19                        1,640                        $2.43              $3,985.36
        12/06/19                        2,000                        $0.75              $1,500.60
        12/09/19                        4,993                        $0.75              $3,744.75
        12/09/19                          7                          $0.75                $5.25
        01/15/20                         851                         $0.84               $714.84
        01/15/20                        9,149                        $0.84              $7,684.25
        03/18/20                        3,667                        $0.05               $170.52

Sales                                  23,667                                           $21,115.72

LOSS                                                                                   $38,612.97
           Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 73 of 181



Call Options

           Date             # of Contracts          Description          Price per share   Basis/(Proceeds)

         10/16/19                400         MDR Nov15 2019 5.0 Call         $0.15            $6,000.00
        10/23/19                 500          MDR Feb 21 2020 5.0 Call       $0.25           $12,500.00
        11/05/19                 500          MDR Feb 21 2020 3.5 Call       $0.25           $12,500.00
        11/05/19                  1          MDR Nov15 2019 2.5 Call         $0.03              $3.00
        11/07/19                 400          MDR Feb21 2020 5.0 Call        $0.10            $4,000.00
        11/12/19                 100         MDR Feb 21 2020 5.0 Call        $0.05             $500.00
        11/14/19                 500         MDR May15 2020 4.5 Call         $0.05            $2,500.00
        11/19/19                 200         MDR May15 2020 4.5 Call         $0.05            $1,000.00
        11/21/19                 300         MDR Feb21 2020 5.0 Call         $0.05            $1,500.00
        11/27/19                 300         MDR Dec 202019 2.0 Call         $0.05            $1,500.00
        12/06/19                400          MDR Feb 21 2020 4.0 Call        $0.05            $2,000.00
        12/09/19                300          MDR Feb 21 2020 4.0 Call        $0.05            $1,500.00
        12/09/19                300          MDR Feb21 2020 4.0 Call         $0.05            $1,500.00
        12/09/19                200          MDR May15 2020 4.5 Call         $0.07            $1,400.00
        12/24/19                (300)        MDR May15 2020 2.5 Call         $0.10           ($3,000.00)
        12/24/19                100          MDR May15 2020 2.5 Call         $0.20            $2,000.00
        12/27/19                200          MDR May15 2020 2.5 Call         $0.35            $7,000.00
        01/02/20                700          MDR May 15 2020 2.0 Call        $0.10            $7,000.00
        01/15/20                447          MDR Feb 21 2020 4.0 Call        $0.02             $894.00
        01/15/20                253          MDR Feb 21 2020 4.0 Call        $0.03             $759.00
        01/15/20                300          MDR Feb21 2020 4.0 Call         $0.03             $900.00
        01/16/20                100          MDR Jan 17 2020 1.0 Call        $0.03             $300.00
        01/16/20                101          MDR Feb 21 2020 3.0 Call        $0.03             $303.00
        01/16/20                 99          MOR Feb 21 2020 2.0 Call        $0.07             $693.00
        01/16/20                  1          MDR Feb 21 2020 2.0 Call        $0.08              $8.00
        01/17/20                133          MDR Feb21 2020 3.0 Call         $0.05             $665.00
        01/17/20                266          MDR Feb 21 2020 3.0 Call        $0.05            $1,330.00
        01/17/20                 70          MDR May15 2020 2.0 Call         $0.10             $700.00
        01/17/20                500          MDR Feb 21 2020 3.5 Call        $0.04            $2,000.00
        01/17/20                100          MDR Feb 21 2020 4.0 Call        $0.03             $300.00
        01/17/20                100          MDR Feb21 2020 1.5 Call         $0.08             $800.00

Expired Call Options Loss                                                                   $71,055.00
       Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 74 of 181


McDermott International, Inc.
Loss Chart for Shital Mehta
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                                $0.0478

Common Stock

                                            Purchases

            Date           Number of Shares             Price per share             Basis

       11/15/19                     2,000                   $0.65               $1,300.00
       11/21/19                     3,000                   $0.90               $2,700.00
       11/29/19                     2,000                   $0.78               $1,560.00
       12/06/19                     1,900                   $0.81               $1,539.00

Purchases                           8,900                                       $7,099.00

Retained Shares                     8,900                  $O.0478              $425.42

Loss                                                                            $6,673.58
        Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 75 of 181


Loss Chart for Alexandre Tazi
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                               $0.0478

                                           Purchases

            Date           Number of Shares            Price per share             Basis

        09/20/19                 1,000                     $1.95               $1,950.00
        09/24/19                  500                      $2.18               $1,087.50
        10/01/19                  500                      $1.96                $977.50
        10/01/19                 1,000                     $1.82               $1,820.00
        10/02/19                 1,000                     $1.71               $1,710.00
        10/11/19                 1,000                     $2.05               $2,050.00
        10/21/19                 5,000                     $2.21              $11,035.30
        10/28/19                 2,000                     $1.62               $3,230.00
        11/07/19                 3,000                     $1.44               $4,305.00
        11/21/19                 1,000                     $0.72                $719.30
        11/26/19                 1,000                     $0.74                $741.60
        12/02/19                 2,000                     $0.86              $1,717.00
        12/06/19                 1,000                     $0.73                $730.00
        12/09/19                10,000                     $0.78              $7,757.10
        12/09/19                 1,100                     $0.76                $836.11
        12/30/19                5,000                      $0.84              $4,190.00

Purchases                       36,100                                        $44,856.41


                                              Sales

            Date           Number of Shares            Price per share         Proceeds

        12/31/19                 5,000                     $0.67               $3,353.12
        01/14/20                  500                      $0.68                $340.00
        01/23/20                30,600                     $0.18               $5,387.40

Sales                           36,100                                         $9,080.52

LOSS                                                                          $35,775.89
         Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 76 of 181



Loss Chart for Edwin Howell
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                                $0.0478

                                            Purchases

            Date           Number of Shares             Price per share             Basis

        09/20/19                    2,000                    $2.53              $5,063.95
        09/25/19                1,000                       $1.97               $1,970.00
        09/25/19                1,500                       $2.00               $3,003.95
        09/30/19                1,500                       $2.07               $3,101.45
        10/01/19                 850                        $1.83               $1,555.50
        10/03/19                  20                        $1.71                 $34.20
        10/04/19                  10                        $1.60                 $16.00
        10/25/19                  30                        $1.63                 $48.90
        10/25/19                 140                        $1.61                $225.40
        10/27/19                 650                        $0.82                $534.95
        10/30/19                 800                        $1.66               $1,328.00
        11/08/19                 600                        $1.03                $618.00
        11/20/19                 600                        $0.62                $371.31
        11/22/19                 850                        $0.91                $769.25
        11/22/19                 350                        $0.86                $299.25
        12/12/19                1,000                       $0.76                $760.00
        12/19/19                 800                        $0.94                $748.00
        12/23/19                1,000                       $1.15               $1,150.00
        12/24/19                 280                        $1.10                $308.00
        12/24/19                1,000                       $1.08               $1,080.00
        12/30/19                 500                        $1.59                $795.00
        12/30/19                1,000                       $1.57               $1,570.00
        01/09/20                 500                        $0.75                $375.50
        01/09/20                 500                        $0.75                $375.25
        01/12/20                1,000                       $0.79                $790.00

Purchases                      18,480                                          $26,891.86

                                              Sales

            Date          Number of Shares              Price per share         Proceeds

        12/13/19                1,000                       $0.80                $803.00
        12/16/19                1,000                       $0.84                $840.00
        12/24/19                1,000                       $1.20               $1,200.00
        01/24/20                4,500                       $0.08                $360.00
        01/24/20                3,580                       $0.09                $329.36
        01/24/20                2,500                       $0.09                $220.00
        01/24/20                4,900                       $0.10                $490.00

Sales                          18,480                      $0.0478              $883.34

LOSS                                                                           $26,008.52
        Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 77 of 181


Loss Chart for Sioe Lie Howell
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                               $0.0478

                                           Purchases

            Date           Number of Shares            Price per share              Basis

        10/30/19                    500                    $2.07               $1,035.00
        10/30/19                    100                    $1.68                $168.00
        11/08/19                    300                    $0.98                $293.58
        11/08/19                    400                    $0.98                $393.76
        11/08/19                    100                    $0.98                 $98.25
        11/08/19                    500                    $1.02                $510.00
        11/27/19                    250                    $0.82                $206.00
        12/02/19                    500                    $0.87                $433.50
        12/23/19                    500                    $1.09                $545.00
        12/23/19                    250                    $1.13                $282.50
        12/30/19                    500                    $1.60                $800.00
        01/09/20                    500                    $0.75                $376.00

Purchases                       4,400                                          $5,141.59

                                              Sales

            Date           Number of Shares            Price per share         Proceeds

        01/09/20                 500                       $0.79                   $393.50
        01/24/20                3,900                      $0.11                   $421.20

Sales                           4,400                                              $814.70

LOSS                                                                           $4,326.89
       Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 78 of 181


Loss Chart for Amira Yousef Chowdhury
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                                $0.0478

                                            Purchases

            Date           Number of Shares             Price per share             Basis

       09/27/19                     1,000                   $2.00             $2,000.00
       09/26/19                     2,450                   $2.04             $4,998.00
       10/04/19                      600                    $1.55              $930.06
       10/21/19                     2,200                   $2.04             $4,488.00
       11/08/19                     1,000                   $1.01             $1,005.00
       11/27/19                     1,000                   $0.82              $819.10
       12/11/19                     3,550                   $0.77             $2,733.50

Purchases                       11,800                                        $16,973.66

Retained shares                 11,800                     $0.0478             $564.04

Loss                                                                         $16,409.62
       Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 79 of 181


Loss Chart for Christopher Swedlow
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                                $0.0478

                                            Purchases

            Date           Number of Shares             Price per share        Basis

       09/27/19                     2,500                   $2.00            $5,000.00
       11/06/19                     3,514                   $1.50            $5,271.00
       12/12/19                     6,900                   $0.76            $5,244.00

Purchases                       12,914                                      $15,515.00

                                              Sales

            Date           Number of Shares             Price per share        Basis

       01/23/20                 12,914                      $0.17            $2,195.38

Loss                                                                        $13,319.62
        Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 80 of 181


Loss Chart for Darren Hunting
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                                $0.0478

                                            Purchases

            Date           Number of Shares             Price per share             Basis

        09/20/19                    1,500                   $2.66              $3,982.50
        09/25/19                     500                    $1.92               $959.75
        10/18/19                     100                    $2.23               $223.00
        10/18/19                    1,800                   $2.23              $4,014.00
        10/18/19                     100                    $2.23               $223.00
        11/15/19                    1,000                   $0.68               $678.50
        12/27/19                    1,000                   $1.34              $1,335.00
        12/27/19                    1,500                   $1.36              $2,032.50
        12/31/19                    1,000                   $0.71               $709.30

Purchases                           8,500                                      $14,157.55

                                              Sales

            Date           Number of Shares             Price per share         Proceeds

        01/23/20                    7,000                   $0.20              $1,400.00
        01/23/20                    1,500                   $0.20               $303.00

Sales                               8,500                                      $1,703.00

LOSS                                                                           $12,454.55
      Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 81 of 181


Loss Chart for Daniel Gad
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                                $0.0478

                                            Purchases

            Date           Number of Shares             Price per share         Basis

       10/24/19                     2,665                   $1.67             $4,450.55
       10/24/19                      400                    $1.68              $672.00
       10/30/19                      935                    $1.66             $1,552.10
       11/15/19                     4,000                   $0.70             $2,800.00
       12/31/19                     4,000                   $0.70             $2,800.00

Purchases                       12,000                                       $12,274.65

                                             Sales

            Date           Number of Shares             Price per share       Proceeds

    Retained Shares             12,000                     $0.0478             $573.60

            Loss                                                             $11,701.05
        Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 82 of 181


Loss Chart for Jignesh and Krutika Chandarana
Cusip: 580037703
Class Period: September 20, 2019 - January 23, 2020
90 day Lookback Price for Retained Shares:                                    $0.0478

                                                Purchases

         Date               Number of Shares                Price per share              Basis

       09/24/19                    725                          $2.54               $1,841.50
       10/21/19                    300                          $2.10                $630.00
       10/22/19                    550                          $1.88               $1,034.00
       10/24/19                   1,450                         $1.85               $2,682.50
       11/07/19                    400                          $1.39                $556.00
       11/18/19                   1,000                         $0.69                $690.00

                                  4,425                                             $7,434.00

                                                  Sales

         Date               Number of Shares                Price per share              Basis

Retained Shares                   4,425                        $0.0478                  $211.52

LOSS                                                                                $7,222.49



                                      CALL OPTIONS PURCHASE

         Date                  Description                   # contracts          Price per share     Basis

       11/08/19          MDRIQ May 15 2020 $2                     50                     $0.20      $1,000.00
         Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 83 of 181


McDermott International, Inc.
Loss Chart for Thomas Carl Rabin
Cusip: 580037703
Class Period: September 20, 2019 January 23, 2020
                                -


90 day Lookback Price for Retained Shares:                $0.0478

Common Stock

                                    Purchases

        Date     Number of Shares       Price per share             Basis

   12/24/19            500                    $1.10              $550.00
   12/30/19            700                    $1.60             $1,120.00
   12/30/19            800                    $1.47             $1,176.00
   12/30/19            500                    $0.95              $475.00
   12/30/19            500                    $0.70              $350.00
   01/02/20           1,500                   $0.66              $990.00
   01/08/20            400                    $0.75              $300.00
   01/09/20            400                    $0.75              $300.00

Purchases             5,300                                     $5,261.00




                                      Sales

        Date    Numberof Shares        Price pershare           Proceeds

  01/02/20            3,000                   $0.62            $1,860.00
  01/03/20              24                    $0.65              $15.60
  01/13/20             776                    $0.60             $465.60
  01/23/20            1,500                   $0.19             $285.00

Sales                 5,300                                    $2,626.20

LOSS                                                           $2,634.80
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 84 of 181




                            EXHIBIT D
     Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 85 of 181



                                           UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF TEXAS
                                                 HOUSTON DIVISION

                                                                          )
JOHN ARDEN AHNEFELDT, ROBERT                                              )
BROWER, JR., ROBERT BROWER, SR.,                                          )
KHANH L. BUI, JIGNESH                                                     )   CASE NO. 4:20-cv-02539 (ASH)
CHANDARANA, KRUITIKA
CHANDARANA, AMIRA YOUSUF                                                  )
CHOWDHURY, CHRISTOPHER                                                    )
COLIGADO, DANIEL GAD, EDWIN                                               )
HOWELL, SlOE LIE HOWELL, DARREN                                           )
HUNTING, ANNE INGLEDEW, SHITAL                                            )
MEHTA, THOMAS CARL RABIN, ADAM                                            )
SHULTZ, AMIT SOMANI,                                                      )
JAYAPRAKASH SRINIVASAN, AARTHI                                            )
SRINIVASAN, CHRISTOPHER                                                   )
SWEDLOW, and ALEXANDRE TAZI, on                                           )
Behalf of Themselves and All Others                                       )
Similarly Situated,                                                       )
                                                                          )
                                               Plaintiffs,                )
                                                                          )
                              v.                                          )
                                                                          )
 DAVID DICKSON, STUART A. SPENCE, )
 and CHRISTOPHER A. KRUMMEL                                               )
                                                                          )
                                                  Defendants.             )
                                                                          )
_________________________________________________________________________ )
    JOINT DECLARATION OF CHRISTOPHER COLIGADO AND JAY SRINIVASAN
       IN SUPPORT OF MOTION OF THE COLIGADO SHAREHOLDER GROUP
                   FOR APPOINTMENT AS LEAD PLAINTIFF
               AND APPROVAL OF LEAD AND LIAISON COUNSEL

            We, Christopher Coligado and Jayaprakash (Jay) Srinivasan, as members of and

representatives for the Coligado Shareholder Group, declare as follows:

            1.         We are two of the Plaintiffs in the above-captioned action, members of the

Coligado Shareholder Group, and submit this joint declaration in support of the Motion of the
  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 86 of 181



Coligado Shareholder Group for Appointment as Lead Plaintiff and Approval of Lead and

Liaison Counsel. We have personal knowledge of the facts stated herein and, if called as a

witness, could and would testify competently as to such matters that we possess personal

knowledge.

Background

       2.     The Coligado Shareholder Group is comprised of2l members each of whom have

suffered significant financial loss as result of their investment in the securities of McDermott

International, Inc. (“McDermott” or the “Company”). The members of the Coligado Shareholder

Group initially met though online investment forums following the Company’s January 21, 2020

disclosure of a prepackaged Chapter 11 filing and initiation of the bankruptcy court proceeding

captioned In re McDermott International, Inc., Case No. 20-30336 (DRJ) (Bankr. S.D. Tex.,

Houston Div.) (the “Bankruptcy Proceeding”). The Coligado Shareholder Group was organized

to fight the plan at McDermott to eliminate shareholder equity through the Bankruptcy

Proceeding and to protect and preserve shareholder claims that would otherwise be extinguished.

       3.     In late January 2020, members of the Coligado Shareholder Group started having

regular conference calls regarding how to address the looming deadlines in the Bankruptcy

Proceeding.   After much discussion, the Coligado Shareholder Group decided to organize

member efforts in two phases   —   first, to protect our rights and the rights of similarly situated

shareholders in the Bankruptcy Proceeding, and second, to secure counsel to represent our claims

against McDermott and its management.

       4.     In keeping with that plan, the Coligado Shareholder Group began the tasks of

identifying securities and bankruptcy counsel. Members of the Coligado Shareholder Group




                                                 2
  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 87 of 181



made contact with various law firms, maintained an updated spreadsheet of those contacts, and

reported back to the members via conference calls.

        5.      After interviewing a number of bankruptcy law firms, the Coligado Shareholder

Group elected to retain Baker & Associates. At that point, I, Christopher Coligado, began to

conduct regular conference calls for the members of the Coligado Shareholder Group and sent

email updates to keep the members apprised of developments. I also served as the Coligado

Shareholder Group member responsible for working directly with Baker & Associates, and

providing direction on behalf of the Coligado Shareholder Group. Legal services performed by

Baker & Associates for the Coligado Shareholder Group was paid by the members.              Each

member’s share of the costs was based on their percentage of the total losses suffered by all

members of the Coligado Shareholder Group in connection with their purchases of McDermott

common stock.

       6.     We,    Christopher Coligado      and Jayaprakash     Srinivasan,   were primarily

responsible for the search for securities litigation counsel. We maintained a spreadsheet of all

law firm contacts, and scheduled calls with those that responded to our communications. After

conducting numerous interview calls with counsel, we presented the results of those calls to the

members of the Coligado Shareholder Group via email and conference call, and the members

voted to retain Wolf Haldenstein Adler Freeman & Herz LLP (“Wolf Haldenstein”) to represent

our claims.

       7.     Given the size of our losses, we, Christopher Coligado and Jayaprakash

Srinivasan, have taken the lead role in the second phase of the process on behalf of the Coligado

Shareholder Group.    All communications from the Coligado Shareholder Group with Wolf

Haldenstein come primarily through us. We anticipate maintaining the same organization and



                                                3
     Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 88 of 181



communications process as we move forward in this action, including if the Court appoints the

Coligado Shareholder Group as Lead Plaintiff.

Actions Undertaken by the Coligado Shareholder Group in the Bankruptcy Proceeding

           8.     As set forth above, the Coligado Shareholder Group organized following the

Company’s Chapter 11 filing in the Bankruptcy Proceeding.

          9.      The Coligado Shareholder Group;

                  a.      Retained Reese Baker, Esq. of Baker & Associates as bankruptcy counsel

                          for the purpose of protecting our rights and the rights of all other similarly

                          situated owners of McDermott common stock whose equity would be

                          wiped out under Debtors’ Disclosure Statement for the Joint Chapter 11

                          Plan of Reorganization (“Disclosure Statement”) and Amended Joint

                          Chapter 11 Plan of Reorganization of McDermott and its Affiliates

                          (“Chapter 11 Plan”);

                  b.      Filed an objection in the Bankruptcy Proceeding to the Disclosure

                          Statement and the Chapter 11 Plan (B-ECF No.’ 528) (“Objection”) to

                          protect their rights and the rights of other shareholders;

                  c.      Appeared, through its banlcruptcy counsel, at the March 12, 2020

                          Confirmation Hearing and participated in the cross-examination of witness

                          and closing arguments, see Mar. 12, 2020 Hearing Tr. (B-ECF No. 690),

                          at 12:18-20, 18:19-19:5, 39:16-40:11, 62:12-66:15, 98:7-18, 114:17-

                          115:19, 144:7-14, 169:24-171:23; and




1   “B-ECF” refers to the docket in the Bankruptcy Proceeding.

                                                     4
  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 89 of 181



               d.       Secured protection in the Confirmation Order that preserved the right to

                        bring the claims in this action. See Confirmation Orders (B-ECF Nos. 665

                        & 684),    ¶   79 (“The Coligado Shareholder Group shall not release any

                        Claims or Causes of Action against any Person or Entity pursuant to any

                        provision of Article VIII of the Plan other than the Debtors (as defined in

                        the Plan) and the Reorganized Debtors (as defined in the Plan).”).

Filing of this Action

        10.    After successfully preserving our rights in the Bankruptcy Proceeding to assert

claims against defendants, the members of the Coligado Shareholder Group returned to the

search of securities law firms to prosecute our claims.        Following a thorough search, the

members of the Coligado Shareholder Group selected Wolf Haldenstein as best situated to

represent our securities claims.

        11.    Plaintiffs commenced this action on July 17, 2020. Wolf Haldenstein published a

notice of the action in Globe Newswire on July 18, 2020, announcing the pendency of the action

against defendants herein.

        12.    This action seeks class-wide relief on behalf of investors that purchased or

acquired McDermott securities from September 20, 2019 through January 23, 2020 (the “Class

Period”) following the Company’s September 20, 2019 publication of a materially misleading

press release stating that, among other things, McDermott “recently received unsolicited

approaches to acquire all or part of Lummus Technology        ...   with a valuation exceeding $2.5

billion,” “[biased on the receipt of these approaches, McDermott is exploring strategic

alternatives to unlock the value of Lummus Technology,” “[t]he process of exploring strategic

alternatives is part of our ongoing efforts intended to improve McDermott’ s capital structure, and



                                                   5
  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 90 of 181



we plan to use the proceeds from any transaction involving Lummus Technology to strengthen

our balance sheet,” and “[w]hile Lummus is an important business           ...   we have decided to

undertake a process to fully realize its strategic and financial value.”

        13.    The Complaint alleges that the September 20 press release was materially false

and misleading because there was not any plan for a near-term sale of Lummus Technology to

strengthen McDermott’s balance sheet. Rather, the disclosure was part of a scheme to artificially

inflate the price of McDermott’s common stock and provide the Company time to develop and

execute on a prepackaged Chapter 11 deal, while countering negative news that previously

caused the stock price to drop 60% and would have resulted in a freefall Chapter 11 filing.

Investors who purchased McDermott securities at artificially inflated prices based on the

September 20 press release, and/or subsequent disclosures that McDermott continued to pursue

the previously announced strategic alternatives process for Lummus Technology, were injured as

a result of defendants’ wrongdoing.

The Coligado Shareholder Group Member Representatives

        14.    As set forth in the Joint Declaration of the Coligado Shareholder Group in

Support of Motion for Its Appointment as Lead Plaintiff and Approval of Lead and Liaison

Counsel (“CSG Joint Declaration”) filed herewith, we, Christopher Coligado and Jayaprakash

Srinivasan, have been authorized by the members of the Coligado Shareholder Group:

               a.      To serve as the member representatives for the Coligado Shareholder

                       Group in connection with its proposal as lead plaintiff for this action; and

               b.      Have full power and authority to act in all matters, make any and all

                       decisions, and provide direction and instructions to counsel in this case for

                       the Coligado Shareholder Group.



                                                  6
  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 91 of 181



        15.     As reflected in my certification submitted herewith, I, Christopher Coligado,

purchased over 398,000 shares McDermott common stock during the Class Period and suffered a

substantial loss of over $586,000 as a result of defendants’ alleged violations of the federal

securities laws in this action.

        16.     As reflected in our certification submitted herewith, I, Jayaprakash Srinivasan,

together with my spouse, Aarthi Srinivasan, purchased over 551,000 shares of McDermott

common stock during the Class Period and suffered a substantial loss of over $376,000 as a

result of the alleged violations of the federal securities laws in this action.

        17.     With respect to our individual backgrounds, we are well-educated professionals

managing our investments.

        18.     I, Christopher Coligado, am an Information Technology Executive and have been

a Managing Principal and Senior Director at Booz Allen Hamilton since 1999. In that role I have

significant experience leading and managing teams. I have a B.S. degree in Computer Science

from the State University of New York at Sony Brook, a Certificate in eBusiness from the

Massachusetts Institute of Technology, a Certificate in CMMI from the Software Engineering

Institute at Carnegie Mellon University, and a Certificate in Leading Through Digital Disruption

from Harvard University.

        19.     I have been actively investing since 1999, and manage my own investments. In

2019 my investment portfolio value was approximately $1 .4M split across Voya (formerly State

Street), Merrill Edge Self-Directed Account and IRA, and Wells Fargo Advisors. I am an active

investor, subscribing to online investment portfolio newsletters, monitoring stock chatter in on

line forums and SEC filings and public disclosures and announcements, including by monitoring

price range changes on my mobile phone, and subscribing to alerts for new filings or press



                                                   7
  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 92 of 181



releases of companies whose stocks I own.        I also routinely read analyst stock reviews and

ratings from sites such as Seeking Alpha, Bloomberg, the Wall Street Journal, and Momingstar.

          20.   I, Jayaprakash Srinivasan, am an accomplished technical professional with dual

Master of Science degrees in Analytical Chemistry and Materials Science, with multiple

scientific publications, and have worked for the last 19 years of my career in Semiconductors and

Electronics Manufacturing. In doing so, I have managed several projects that saved millions of

dollars through innovative processes including high cost and volume projects that routinely

involve gathering inputs from various stake holders and keeping them informed of execution

status.    I have a B. Tech. in Chemical and Electrochemical Engineering from the Central

Electrochemical Research Institute in India, an M.S. in Chemistry and a Certificate in

Microelectronics Packaging from the Georgia Institute of Technology, and a M.S. in Materials

Science and Engineering from the University of Virginia.

          21.   I have managed the stock portfolio in a joint account for myself and my spouse

Aarthi Srinivasan (also a member of the Coligado Shareholder Group) since 2017.

          22.   We, Christopher Coligado and Jayaprakash Srinivasan, understand that each

member of the Coligado Shareholder Group could have pursued legal action against defendants

or sought lead plaintiff status individually, or taken no action and remained an absent class

member. However, the members of the Coligado Shareholder Group decided to work together to

prosecute this action and believe that our collective resources will ensure best representation of

the class and otherwise benefit the class in prosecuting this case against defendants.

The Coligado Shareholder Group’s Duties and Plan to Serve as Lead Plaintiff

          23.   We, Christopher Coligado and Jayaprakash Srinivasan, have discussed the

requirements and responsibilities of being a lead plaintiff in a securities class action governed by



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  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 93 of 181



the PSLRA with our counsel and all of the members of the Coligado Shareholder Group, and

understand that it is our responsibility to keep informed regarding the status and progress of this

action, the strengths and weaknesses of the case, and any prospects for resolution of this matter.

The Coligado Shareholder Group will continue to function as a cohesive group, and will use all

of our strengths and talents in representing the Coligado Shareholder Group and the putative

Class.

         24.    The members of the Coligado Shareholder Group agree that seeking appointment

as lead plaintiff is in the best interest of the Class in this case based on the fact that the individual

members provide diverse perspectives that are reflective of the membership of the putative Class,

and can pool resources to ensure an optimal outcome on behalf of the putative Class.

         25.    The Coligado Shareholder Group understands that it is a lead plaintiff’s

responsibility to monitor and remain fully informed regarding the status and progress of this

litigation and the prospects for any resolution of this matter. The Coligado Shareholder Group

further understands that as lead plaintiff, it will have responsibility for making important

litigation decisions and directing counsel with respect to this litigation, after receiving the benefit

of counsel’s advice.      Each member of the Coligado Shareholder Group has executed a

declaration submitted herewith demonstrating their commitment and understanding of the

obligations required as a lead plaintiff.

         26.    To discharge these duties, the members of the Coligado Shareholder Group will,

among other things, review pleadings and motion papers received from counsel, obtain periodic

status reports on the progress of the litigation and potentially produce documents, answer

interrogatories, and/or sit for depositions.




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  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 94 of 181



        27.    We, Christopher Coligado and Jayaprakash Srinivasan, will apprise the Coligado

Shareholder Group as a whole of any and all developments in the action.            As the member

representatives of the Coligado Shareholder Group, we will provide input into the litigation

decisions and strategies and be involved in the final approval of any major litigation decisions,

including whether to settle the litigation and if so, for what amount.

       28.     The members of the Coligado Shareholder Group are aware that a lead plaintiff

has a fiduciary duty to the entire class, and each member intends to represent fully and faithfully

to protect interests of the putative Class. The members of the Coligado Shareholder Group

understand that to fulfill the fiduciary duties and obligations as lead plaintiff, they must fairly

and adequately represent the putative Class by vigorously prosecuting this case on its behalf.

Each member of the Coligado Shareholder Group will do his or her best to maximize the

recovery for the putative Class.

       29.     As set forth in the CSG Joint Declaration, the members of the Coligado

Shareholder Group have agreed to work together in this case to “fairly and adequately” protect

the interests of the putative Class by monitoring the litigation, and by maintaining regular contact

and communication with our counsel, as well as with each other separately from our attorneys.

The members of the Coligado Shareholder Group have implemented procedures to provide for

efficient prosecution of this action.   Should any disagreement arise during the course of the

litigation, the members of the Coligado Shareholder Group have agreed upon a mechanism to

resolve such disagreements, whereby the Coligado Shareholder Group plans to use the most

equitable vote weighting process based on the prorated value of each individual member’s claim.




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  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 95 of 181




          30.    The members of the Coligado Shareholder Group have selected and retained the

law firm of Wolf Haldenstein to act as lead counsel in this action. The members of the Coligado

Shareholder Group selected Wolf Haldenstein because the firm has extensive securities litigation

experience and has achieved outstanding results on behalf of defrauded investors. The Coligado

Shareholder Group believes that given their proven track record, Wolf Haldenstein is more than

qualified to represent it and the putative Class here.

          31.    The members of the Coligado Shareholder Group have selected the law firm of

Reynolds LLP (“Reynolds Frizzell”) to act as liaison counsel in this action. The members of the

Coligado Shareholder Group selected Reynolds Frizzell because the firm has handled numerous

private and class action eases resulting in significant recoveries for defraudedinvestors.

          We declare under penalty of perjury, under the laws of the United States of America that

the foregoing is true and correct.

          Executed this 16th day of September, 2020.




                                       JAYAPRAKASH SRINIVASAN



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 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 96 of 181




          30.    The members of the Coligado Shareholder Group have selected and retained the

law firm of Wolf Haldenstein to act as lead counsel in this action. The members of the Coligado

Shareholder Group selected Wolf Haldenstein because the firm has extensive securities litigation

experience and has achieved outstanding results on behalf of defrauded investors. The Coligado

Shareholder Group believes that given their proven track record, Wolf Haldenstein is more than

qualified to represent it and the putative Class here.

          31.    The members of the Coligado Shareholder Group have selected the law firm of

Reynolds LLP (“Reynolds Frizzell”) to act as liaison counsel in this action. The members of the

Coligado Shareholder Group selected Reynolds Frizzell because the firm has handled numerous

private and class action cases resulting in significant recoveries for defrauded investors.

          We declare under penalty of perjury, under the laws of the United States of America that

the foregoing is true and correct.

          Executed this 16th day of September, 2020.



                                       CHRISTOPHER COLIGADO



                                       JAY~AK~I{ ~RII’~VASAN



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Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 97 of 181




                            EXHIBIT E
     Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 98 of 181



                                           UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF TEXAS
                                                 HOUSTON DIVISION

                                                                          )
 JOHN ARDEN AHNEFELDT, ROBERT                                             )
 BROWER, JR., ROBERT BROWER, SR.,                                         )
 KHANH L. BUT, JIGNESH                                                    )   CASE NO. 4:20-cv-02539 (ASH)
 CHANDARANA, KRUITIKA
 CHANDARANA, AMIRA YOUSUF                                                 )
 CHOWDHURY, CHRISTOPHER                                                   )
 COLIGADO, DANIEL GAD, EDWIN                                              )
 HOWELL, SlOE LIE HOWELL, DARREN                                          )
 HUNTING, ANNE INGLEDEW, SHITAL                                           )
 MEHTA, THOMAS CARL RABIN, ADAM                                           )
 SHULTZ, AMIT SOMANI,                                                     )
 JAYAPRAKASH SRINIVASAN, AARTHI                                           )
 SRINIVASAN, CHRISTOPHER                                                  )
 SWEDLOW, and ALEXANDRE TAZI, on                                          )
 Behalf of Themselves and All Others                                      )
 Similarly Situated,                                                      )
                                                                          )
                                                Plaintiffs,               )
                                                                          )
                              v.                                          )
                                                                          )
 DAVID DICKSON, STUART A. SPENCE,                                         )
 and CHRISTOPHER A. KRUMMEL                                               )
                                                                          )
                                                  Defendants.             )
                                                                          )
_________________________________________________________________________ )
                 JOINT DECLARATION OF COLIGADO SHAREHOLDER GROUP
                        IN SUPPORT OF MOTION FOR APPOINTMENT
                   AS LEAD PLAINTIFF AND APPROVAL OF LEAD COUNSEL

            We, John Arden Ahnefeldt, Robert Brower, Jr., Robert Brower, Sr., Khanh L. Bui,

Jignesh Chandarana, Knitika Chandarana, Amira Yousuf Chowdhury, Christopher Coligado,

Daniel Gad, Edwin Howell, Sioe Lie Howell, Darren Hunting, Anne Ingledew, Shital Mehta,

Thomas Carl Rabin, Adam Shultz, Amit Somani, Jayaprakash Srinivasan, Aarthi Srinivasan,

Christopher Swedlow, and Alexandre Tazi, the members of the Coligado Shareholder Group,
  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 99 of 181



declare as follows:

        1.     We are the Plaintiffs in the above-captioned action and submit this joint

declaration in support of the Motion of the Coligado Shareholder Group for Appointment as

Lead Plaintiff and Approval of Lead and Liaison Counsel. We have personal knowledge of the

facts stated herein and, if called as witnesses, could and would testify competently as to such

matters that we each possess personal knowledge.

       2.      I, John Arden Ahnefeldt, reside in Wisconsin and have been investing in the

securities markets for approximately 20 years.        I suffered losses from my purchases of

McDermott International, Inc. (“McDermott”) common stock. I have made the decision to serve

as lead plaintiff in this case and am committed to making sure this case is prosecuted to its

fullest. In response to our joint concerns about possible wrongdoing by McDermott and certain

of its officers, the members of the Coligado Shareholder Group decided to jointly move as lead

plaintiff in this action against Defendants David Dickson, Stuart A. Spence, and Christopher A.

Krummel (“Defendants”).

       3.      I, Robert Brower, Jr., reside in New York and have been investing in the

securities markets for approximately 8 years. I suffered losses from my purchases of McDermott

common stock. I have made the decision to serve as lead plaintiff in this case and am committed

to making sure this case is prosecuted to its fullest. In response to our joint concerns about

possible wrongdoing by McDermott and certain of its officers, the members of the Coligado

Shareholder Group decided to jointly move as lead plaintiff in this action against Defendants.

       4.      I, Robert Brower, Sr., reside in Delaware and have been investing in the securities

markets for approximately 40 years.      I suffered losses from my purchases of McDermott

common stock. I have made the decision to serve as lead plaintiff in this case and am committed



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  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 100 of 181



to making sure this case is prosecuted to its fullest. In response to our joint concerns about

possible wrongdoing by McDermott and certain of its officers, the members of the Coligado

Shareholder Group decided to jointly move as lead plaintiff in this action against Defendants.

        5.      I, Khanh L. Bui, reside in Texas and have been investing in the securities markets

for approximately 8 years. I suffered losses from my purchases of McDermott common stock. I

have made the decision to serve as lead plaintiff in this case and am committed to making sure

this case is prosecuted to its fullest. In response to our joint concerns about possible wrongdoing

by McDermott and certain of its officers, the members of the Coligado Shareholder Group

decided to jointly move as lead plaintiff in this action against Defendants.

        6.     We, Jignesh Chandarana and Krutika Chandarana, reside in California and have

been investing in the securities markets for approximately 9 years and 7 years, respectively. We

suffered losses from our purchases of McDermott common stock and call options. We have

made the decision to serve as lead plaintiff in this case and are committed to making sure this

case is prosecuted to its fullest. In response to our joint concerns about possible wrongdoing by

McDermott and certain of its officers, the members of the Coligado Shareholder Group decided

to jointly move as lead plaintiff in this action against Defendants.

       7.      I, Amira Yousuf Chowdhury, reside in Texas and have been investing in the

securities markets for approximately 1 year. I suffered losses from my purchases of McDermott

common stock. I have made the decision to serve as lead plaintiff in this case and am committed

to making sure this case is prosecuted to its fullest. In response to our joint concerns about

possible wrongdoing by McDermott and certain of its officers, the members of the Coligado

Shareholder Group decided to jointly move as lead plaintiff in this action against Defendants.

       8.      I, Christopher Coligado, reside in Virginia and have been investing in the



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  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 101 of 181



securities markets for approximately 20 years.           I suffered losses from my purchases of

McDermott common stock. I have made the decision to serve as lead plaintiff in this case and

am committed to making sure this case is prosecuted to its fullest. In response to our joint

concerns about possible wrongdoing by McDermott and certain of its officers, the members of

the Coligado Shareholder Group decided to jointly move as lead plaintiff in this action against

Defendants.

        9.      I, Daniel Gad, reside in New York and have been investing in the securities

markets for approximately 10 years.            I suffered losses from my purchases of McDermott

common stock. I have made the decision to serve as lead plaintiff in this case and am committed

to making sure this case is prosecuted to its fullest. In response to our joint concerns about

possible wrongdoing by McDermott and certain of its officers, the members of the Coligado

Shareholder Group decided to jointly move as lead plaintiff in this action against Defendants.

        10.    We, Edwin Howell and Sioe Lie Howell, reside in Georgia and have been

investing in the securities markets for approximately 6 years collectively. We suffered losses

from our purchases of McDermott common stock. We have made the decision to serve as lead

plaintiff in this case and are committed to making sure this case is prosecuted to its fullest. In

response to our joint concerns about possible wrongdoing by McDermott and certain of its

officers, the members of the Coligado Shareholder Group decided to jointly move as lead

plaintiff in this action against Defendants.

        11.    I, Darren Hunting, reside in Edmonton, Alberta, Canada and have been investing

in the securities markets for approximately 2 years. I suffered losses from my purchases of

McDermott common stock. I have made the decision to serve as lead plaintiff in this case and

am committed to making sure this case is prosecuted to its fullest. In response to our joint



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  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 102 of 181



concerns about possible wrongdoing by McDermott and certain of its officers, the members of

the Coligado Shareholder Group decided to jointly move as lead plaintiff in this action against

Defendants.

        12.    I, Anne Ingledew, reside in Edmonton, Alberta, Canada and have been investing

in the securities markets for approximately 2 years. I suffered losses from my purchases of

McDermott common stock and call options. I have made the decision to serve as lead plaintiff in

this case and am committed to making sure this case is prosecuted to its fullest. In response to

our joint concerns about possible wrongdoing by McDermott and certain of its officers, the

members of the Coligado Shareholder Group decided to jointly move as lead plaintiff in this

action against Defendants.

        13.    I, Thomas Carl Rabin, reside in Florida and have been investing in the securities

markets for approximately 8 years. I suffered losses from my purchases of McDermott common

stock. I have made the decision to serve as lead plaintiff in this case and am committed to

making sure this case is prosecuted to its fullest. In response to our joint concerns about possible

wrongdoing by McDermott and certain of its officers, the members of the Coligado Shareholder

Group decided to jointly move as lead plaintiff in this action against Defendants.

        14.    I, Adam Shultz, reside in Wisconsin and have been investing in the securities

markets for approximately 7 years. I suffered losses from my purchases of McDermott common

stock. I have made the decision to serve as lead plaintiff in this case and am committed to

making sure this case is prosecuted to its fullest. In response to our joint concerns about possible

wrongdoing by McDermott and certain of its officers, the members of the Coligado Shareholder

Group decided to jointly move as lead plaintiff in this action against Defendants.

       15.     We, Amit Somani and Shital Mehta, reside in Texas and have been investing in



                                                 5
  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 103 of 181



the securities markets for approximately 17 years and 5 years, respectively. We suffered losses

from our purchases of McDermott common stock and call options. We have made the decision

to serve as lead plaintiff in this case and are committed to making sure this case is prosecuted to

its fullest. In response to our joint concerns about possible wrongdoing by McDermott and

certain of its officers, the members of the Coligado Shareholder Group decided to jointly move

as lead plaintiff in this action against Defendants.

        16.    We, Jayaprakash Srinivasan and Aarthi Srinivasan, reside in Virgina and have

been investing in the securities markets for approximately 3 years. We suffered losses from our

purchases of McDermott common stock. We have made the decision to serve as lead plaintiff in

this case and are committed to making sure this case is prosecuted to its fullest. In response to

our joint concerns about possible wrongdoing by McDermott and certain of its officers, the

members of the Coligado Shareholder Group decided to jointly move as lead plaintiff in this

action against Defendants.

       17.     I, Christopher Swedlow, reside in California and have been investing in the

securities markets for approximately 20 years.         I suffered losses from my purchases of

McDermott common stock. I have made the decision to serve as lead plaintiff in this case and

am committed to making sure this case is prosecuted to its fullest. In response to our joint

concerns about possible wrongdoing by McDermott and certain of its officers, the members of

the Coligado Shareholder Group decided to jointly move as lead plaintiff in this action against

Defendants.

       18.     I, Alexandre Tazi, reside in Lachine, Quebec, Canada and have been investing in

the securities markets for approximately 20 years.      I suffered losses from my purchases of

McDermott common stock. I have made the decision to serve as lead plaintiff in this case and



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  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 104 of 181



am committed to making sure this case is prosecuted to its fullest. In response to our joint

concerns about possible wrongdoing by McDermott and certain of its officers, the members of

the Coligado Shareholder Group decided to jointly move as lead plaintiff in this action against

Defendants.

        19.     After due consideration and conferring with the members of the Coligado

Shareholder Group, we have chosen and agreed to move for lead plaintiff as a group so that we

may work together to prosecute this action and to take advantage of our collective resources and

experiences to benefit the putative Class.        We are determined to provide fair and adequate

representation and obtain the largest recovery for the class consistent with good faith and sound

judgment. We are aware that a lead plaintiff has a fiduciary duty to the entire Class, and we each

intend to represent fully and faithfully to protect its interests.

        20.     The Coligado Shareholder Group has chosen to propose Wolf Haldenstein Adler

Freeman & Herz LLP (“Wolf Haldenstein”) as lead counsel based on its extensive experience

and expertise in prosecuting securities fraud class actions. It is our understanding that Defendants

have significant financial resources and are likely to vigorously litigate this action. For these

reasons, we believe that the combined efforts and resources of the Coligado Shareholder Group

as proposed lead plaintiff and Wolf Haldenstein as proposed lead counsel will facilitate efficient

and thorough litigation on behalf of the class.         Before filing our lead plaintiff motion, we

conferred with counsel to discuss, among other things, the claims and allegations against

Defendants, serving as lead plaintiff, and the protocols for managing the litigation.

       21.      Based on our prior communications, we know one another’s email addresses and

telephone numbers, and we are prepared to communicate, including via phone and email, to

ensure that we are able to independently communicate and make timely decisions.



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  Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 105 of 181



        22.    In addition, each members of the Coligado Shareholder Group has jointly

authorized Christopher Coligado and Jayaprakash Srinivasan to serve as the member

representatives for the Coligado Shareholder Group in connection with its proposal as lead

plaintiff for this action. Messrs. Coligado and Srinivasan have full power and authority to act in

all matters, make any and all decisions, and provide direction and instructions to counsel in this

case for the Coligado Shareholder Group.         Together, the losses of Messrs. Coligado and

Srinivasan (and his spouse) represent in excess of 50% of the total losses suffered by the

members of the Coligado Shareholder Group in connection with their purchases of McDermott

securities during the Class Period (September 20, 2019 through January 23, 2020, both days

inclusive).

        23.    We understand that a lead plaintiff’s duties include evaluating the strengths and

weaknesses of the case and the prospects for resolution of this matter. As a lead plaintiff, we

will communicate regularly with counsel and with each other regarding major litigation events,

such as pleadings, motions, discovery, settlement discussions, trial preparation, and trial. We

agree to confer with one another to arrive at joint decisions in our representation of the case. In

the event of a disagreement, a majority vote based on the prorated value of each individual

member’s claim will resolve the disagreement. We believe that our joint involvement in the

litigation will enhance the prosecution of this action. We have already actively worked together

by, among other things:

               a.     Retaining counsel to appear in the bankruptcy proceeding captioned In re

                      McDermott International, Inc., Case No. 20-30336 (DRJ) (Bankr. S.D.

                      Tex., Houston Div.) (the “Bankruptcy Proceeding”)

              b.       Filing an Objection to the Disclosure Statement and Chapter 11 Plan (B



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 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 106 of 181




                       Tex., Houston Div.) (the “Bankruptcy Proceeding”)

               b.       Filing an Objection to the Disclosure Statement and Chapter 11 Plan (B

                       ECF No. 528) (“Objection”) to protect our interests and the interests of

                       other commonly situated shareholders as to whom the Chapter 11 Plan

                       would eliminate their shares of McDermott common stock and release

                       their rights to assert claims against certain non-debtors;

               c.      Appearing, through our bankruptcy counsel, at the March 12, 2020

                       Confirmation Hearing and participating in the cross-examination of

                       witness and closing arguments; and

               d.      Conferring with our selected counsel about the litigation, our prosecution

                       of the litigation, and the protocols for managing the litigation.

       24.     Our counsel and Coligado Shareholder Group member representatives will

continue to advise us of all developments during the lead plaintiff process and during the

litigation going forward.



        We declare under penalty of perjury, under the laws of the United States of America that

the foregoing is true and correct.

       Executed this   15th   day of September, 2020.



                                       ~4christoprcoligado




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Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 107 of 181




                b.       Filing an Objection to the Disclosure Statement and Chapter 11 Plan (B

                        ECF No. 52~8) (“Objection”) to protect our interests and the interests of

                        other commonly situated shareholders as to whom the Chapter 11 Plan

                        would eliminate their shares of McDermott common stock and release

                        their rights to assert claims against certain non-debtors;

                c.      Appearing, through our bankruptcy counsel, at the March 12, 2020

                        Confirmation Hearing and participating in the cross-examination of

                        witness and closing arguments; and

                d.      Conferring with our selected counsel about the litigation, our prosecution

                        of the litigation, and the protocols for managing the litigation.

        24.    Our counsel and Coligado Shareholder Group member representatives will

continue to advise us of all developments during the lead plaintiff process and during the

litigation going forward.



       We declare under penalty of perjury, under the laws of the United States of America that

the foregoing is true and correct.

       Executed this   15th   day of September, 2020.



                                               Christopher C ligado


                                              Jaya~akas ~ ~v an


                                              John Arden Ahnefeldt




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                                 Robert Brower, Jr. 6”


                                 Robert Brower, Sr.


                                 Khanh L. Bui

                                 Jignesh Chandarana


                                 Krutika Chandarana


                                 Amira Yousuf Chowdhury


                                 Daniel Gad


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                                 Sioe Lie Howell


                                 Darren Hunting


                                 Anne Ingledew


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                                 Thomas Carl Rabin


                                 Adam Shultz


                                 Amit Somani


                                 Aarthi Srinivasan

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Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 109 of 181




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                                 Aarthi Srinivasan

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                                 Robert Brower, Jr.


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                                 Darren Hunting


                                 Anne Ingledew


                                 Shital Mehta


                                 Thomas Carl Rabin


                                 Adam Shultz


                                 Amit Somani


                                 Aarthi Srinivasan

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Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 111 of 181




                                  Robert Brower, Jr.


                                  Robert Brower, Sr.


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                                  Jignesh Chandarana


                                  Krutika Chandarana


                                  Ainira Yousuf Chowdhury


                                  Daniel Gad


                                  Edwin Howell


                                  Sioe Lie Howell


                                  Darren Hunting


                                  Anne Ingledew


                                  Shital Mehta


                                  Thomas Carl Rabin


                                  Adam Shultz


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                                  Aarthi Srinivasan

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Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 112 of 181




                                  Robert Brower, Jr.


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                                  Khanh L. Bui

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                                  Kruti a Chandarana


                                 Amira Yousuf Chowdhury


                                 Daniel Gad


                                 Edwin Howell


                                 Sioe Lie Howell


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                                 Shital Mehta


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Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 113 of 181




                                 Robert Brower, Jr.


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                                 Daniel Gad


                                 Edwin Howell


                                 Sioe Lie Howell


                                 Darren Hunting


                                 Anne Ingledew


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                                 Aarthi Srinivasan

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Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 114 of 181




                                  Robert Brower, Sr.


                                 Khanh L. Bui

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                                 Amira YousufChowdhury


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                                 Anne Ingledew


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Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 115 of 181




                                  Robert Brower, Jr.


                                  Robert Brower, Sr.


                                  Khanh L. Bui

                                  Jignesh Chandarana


                                  Krutika Chandarana


                                  Amira Yousuf Chowdhury


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                                  Anne Ingledew


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                                  Thomas Carl Rabin


                                  Adam Shultz


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                                  Aarthi Srinivasan

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                                  Jignesh Chandarana


                                  Krutika Chandarana


                                  Amira YousufChowdhury


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Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 118 of 181




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Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 121 of 181




                                     Christopher Swedlow


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Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 122 of 181




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Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 123 of 181




                             EXHIBIT F
   Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 124 of 181




                             Providing Exemplary Legal Services Since 1888

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                                                                      Page 2
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 125 of 181




Founded in 1888, Wolf Haldenstein Adler Freeman & Herz LLP is a full service law
firm specializing in complex litigation in federal and state courts nationwide. The
firm’s practice includes litigation, both hourly and contingent, in securities, antitrust,
wage & hour, consumer fraud, false marketing, ERISA, and general and commercial
matters, whistleblower, false claim, trust & estate, corporate investigation, and white
collar matters, and FINRA arbitration. The Firm has a particular specialty in complex
class action and other representative litigation – including investor, shareholder,
antitrust, ERISA, consumer, employee, and biotechnology matters – under both federal
and state law.

Wolf Haldenstein’s total practice approach distinguishes it from other firms. Our
longstanding tradition of a close attorney/client relationship ensures that each one of
our clients receives prompt, individual attention and does not become lost in an
institutional bureaucracy. Our team approach is at the very heart of Wolf Haldenstein’s
practice. All of our lawyers are readily available to all of our clients and to each other.
The result of this approach is that we provide our clients with an efficient legal team
having the broad perspective, expertise and experience required for any matter at hand.
We are thus able to provide our clients with cost effective and thorough counsel focused
on our clients’ overall goals.




                                270 MADISON AVENUE
                                 NEW YORK, NY 10016
                               Telephone: 212-545-4600
                               Telecopier: 212-686-0114
                                   www.whafh.com


         SYMPHONY TOWERS                                 111 West Jackson
       750 B STREET, SUITE 1820                             SUITE 1700
         SAN DIEGO, CA 92101                             CHICAGO, IL 60604




                                          Page 3
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 126 of 181


    Telephone: 619-239-4599                Telephone: 312-984-0000
    Telecopier: 619-234-4599               Telecopier: 312-214-3110




                                  Page 4
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 127 of 181


                                        THE FIRM
Wolf Haldenstein has been recognized by state and federal courts throughout the
country as being highly experienced in complex litigation, particularly with respect to
securities, consumer, ERISA, FLSA and state overtime and expense deductions, and
antitrust class actions and shareholder rights litigation.

Among its colleagues in the plaintiffs’ bar, as well as among its adversaries in the
defense bar, Wolf Haldenstein is known for the high ability of its attorneys, and the
exceptionally high quality of its written and oral advocacy.

The nature of the Firm’s activities in both individual and representative litigation is
extremely broad. In addition to a large case load of securities fraud and other investor
class actions, Wolf Haldenstein has represented classes of corn and rice farmers in
connection with the devaluation of their crops; canned tuna consumers for tuna
companies’ violations of antitrust laws; merchants compelled to accept certain types of
debit cards; insurance policyholders for insurance companies’ deceptive sales practices;
victims of unlawful strip searches under the civil rights laws; and various cases
involving violations of Internet users’ on-line privacy rights.

The Firm’s experience in class action securities litigation, in particular public
shareholder rights under state law and securities fraud claims arising under the federal
securities laws and regulations is particularly extensive. The Firm was one of the lead
or other primary counsel in securities class action cases that have recouped billions of
dollars on behalf of investor classes, in stockholder rights class actions that have
resulted in billions of dollars in increased merger consideration to shareholder classes,
and in derivative litigation that has recovered billions of dollars for corporations.

Its pioneering efforts in difficult or unusual areas of securities or investor protection
laws include: groundbreaking claims that have been successfully brought under the
Investment Company Act of 1940 regarding fiduciary responsibilities of investment
companies and their advisors toward their shareholders; claims under ERISA involving
fiduciary duties of ERISA trustees who are also insiders in possession of adverse
information regarding their fund’s primary stockholdings; the fiduciary duties of the
directors of Delaware corporations in connection with change of control transactions;
the early application of the fraud-on-the-market theory to claims against public
accounting firms in connection with their audits of publicly traded corporations; and
the application of federal securities class certification standards to state law claims often
thought to be beyond the reach of class action treatment.




                                           Page 5
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 128 of 181


                              Judicial Commendations

Wolf Haldenstein has repeatedly received favorable judicial recognition. The following
representative judicial comments over the past decade indicate the high regard in which
the Firm is held:

     •   In re Empire State Realty Trust, Inc. Investor Litig., No. 650607/2012 (Sup. Ct.
         N.Y. Co.) – On May 2, 2013, Justice O. Peter Sherwood praised the Firm in its
         role as chair of the committee of co-lead counsel as follows: "It is apparent to
         me, having presided over this case, that class counsel has performed in an
         excellent manner, and you have represented your clients quite well. You
         should be complimented for that."            In awarding attorneys' fees, the
         Court stated that the fee was "intended to reward class counsel handsomely
         for the very good result achieved for the Class, assumption of the high risk of
         Plaintiffs prevailing and the efficiency of effort that resulted in the settlement
         of the case at an early stage without protracted motion practice." May 17, 2013
         slip. op. at 5 (citations omitted).

     •   Roberts v. Tishman Speyer, 13 N.Y.3d 270 (N.Y. 2009) – On April 9, 2013, Justice
         Richard B. Lowe III praised the Firm’s efforts as follows: “[W]hen you have
         challenging cases, the one thing you like to ask for is that the legal
         representation on both sides rise to that level. Because when you have lawyers
         who are professionals, who are confident, who are experienced, each of you
         know that each side has a job to do [. . . .] I want to tell you that I am very
         satisfied with your performance and with your, quite frankly, tenacity on both
         sides. And it took six years, but look at the history of the litigation. There were
         two appeals all of the way to the Court of Appeals [. . . .] And then look at the
         results. I mean, there are dissents in the Court of Appeals, so that shows you
         the complexity of the issues that were presented in this litigation [. . . .] [I]t
         shows you effort that went into this and the professionalism that was
         exhibited [. . . .] So let me just again express my appreciation to both sides.”

     •   K.J. Egleston L.P. v. Heartland Industrial Partners, et al., 2:06-13555 (E.D. Mich.) –
         where the Firm was Lead Counsel, Judge Rosen, at the June 7, 2010 final
         approval hearing, praised the Firm for doing “an outstanding job of
         representing [its] clients,” and further commented that “the conduct of all
         counsel in this case and the result they have achieved for all of the parties
         confirms that they deserve the national recognition they enjoy.”




                                            Page 6
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 129 of 181


  •   Klein, et al. v. Ryan Beck Holdings, Inc., et al., 06-cv-3460 (DAB) (S.D.N.Y. 2010) –
      where the Firm was Lead Counsel, Judge Deborah A. Batts described the
      Firm’s successful establishment of a settlement fund as follows: “[a] miracle
      that there is a settlement fund at all.” Judge Batts continued: "As I said earlier,
      there is no question that the litigation is complex and of a large and, if you
      will, pioneering magnitude ..." (Emphasis added).

  •   Parker Friedland v. Iridium World Communications, Ltd., 99-1002 (D.D.C.) – where
      the Firm was co-lead counsel, Judge Laughrey said (on October 16, 2008), “[a]ll
      of the attorneys in this case have done an outstanding job, and I really
      appreciate the quality of work that we had in our chambers as a result of this
      case.”

  •   In re Dynamic Random Access Memory Antitrust Litigation, MDL-02-1486 (N.D.
      Cal.) – where the Firm was co-lead counsel, Judge Hamilton said (on August
      15, 2007), “I think I can conclude on the basis with my five years with you all,
      watching this litigation progress and seeing it wind to a conclusion, that the
      results are exceptional. The percentages, as you have outlined them, do put
      this [case] in one of the upper categories of results of this kind of [antitrust]
      class action. I am aware of the complexity . . . I thought that you all did an
      exceptionally good job of bringing to me only those matters that really
      required the Court’s attention. You did an exceptionally good job at
      organizing and managing the case, assisting me in management of the case.
      There was excellent coordination between all the various different plaintiffs’
      counsel with your group and the other groups that are part of this litigation. . .
      . So my conclusion is the case was well litigated by both sides, well managed
      as well by both sides.”

  •   In re Comdisco Sec. Litigation, 01 C 2110 (N.D. Ill. July 14, 2005) – Judge Milton
      Shadur observed: “It has to be said . . . that the efforts that have been extended
      [by Wolf Haldenstein] on behalf of the plaintiff class in the face of these
      obstacles have been exemplary. And in my view [Wolf Haldenstein] reflected
      the kind of professionalism that the critics of class actions . . . are never willing
      to recognize. . . . I really cannot speak too highly of the services rendered by
      class counsel in an extraordinary difficult situation.”

  •   Good Morning to You Productions Corp. v. Warner/Chappell Music, Inc., No. CV
      13-04460-GHK (MRWx) (C.D. Cal., Aug. 16, 2016) – Judge George H. King




                                        Page 7
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 130 of 181


         stated: "Not all, or perhaps even most, plaintiffs' class counsel could have
         litigated this case as successfully as did class counsel against such a fierce and
         exceptionally accomplished opponent."

     •   Bokelman et al. v. FCH Enterprises, Inc., (Case No. 1:18-cv-209, D. Haw., May 3,
         2019): Judge Robert J. Bryan said, “I’ve been impressed by the quality of the
         work you’ve done throughout here, and that is reflected, I think, in the fact
         that no one has objected to the settlement.”


                             Recent Noteworthy Results

Wolf Haldenstein’s performance in representative litigation has repeatedly resulted in
favorable results for its clients. The Firm has helped recover billions of dollars on
behalf of its clients in the cases listed below. Recent examples include the following:

     •   On May 13, 2019, in Apple Inc. v. Pepper, No. 17-204, the Supreme Court
         affirmed a decision by the Ninth Circuit Court of Appeals holding that iPhone
         purchasers have standing to sue Apple for monopolizing the market for iPhone
         apps in this longstanding antitrust class action. Wolf Haldenstein has been
         Lead Counsel for the plaintiffs since 2007. The case was commenced in federal
         district court in Oakland. The Supreme Court’s decision clears the way for the
         plaintiffs to proceed on the merits of their claim.

     •   On June 11, 2018, the United States Supreme Court issued a highly anticipated
         decision in China Agritech, Inc. v. Michael H. Resh, et al. Wolf Haldenstein
         represented the plaintiffs/respondents, having commenced the action on behalf
         of aggrieved shareholders of China Agritech after two prior cases had failed at
         the class certification stage.

     •   In re Genetically Modified Rice Litigation, MDL 1811 (E.D. Mo.) - Wolf
         Haldenstein represented U.S. rice farmers in this landmark action against Bayer
         A.G. and its global affiliates, achieving a global recovery of $750 million. The
         case arose from the contamination of the nation's long grain rice crop by
         Bayer's experimental and unapproved genetically modified Liberty Link rice.

     •   Roberts v. Tishman Speyer, 13 N.Y.3d 270 (N.Y. 2009) - a class action brought on
         behalf of over 27,500 current and former tenants of New York City's iconic
         Stuyvesant Town and Peter Cooper Village housing complexes. On April 9,




                                          Page 8
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 131 of 181


      2013, Justice Richard B. Lowe III of the New York Supreme Court finally
      approved settlement of the action, which totals over $173 million, sets aside
      $68.75 million in damages, re-regulates the apartments at issue, and sets
      preferential rents for the units that will save tenants significant monies in the
      future. The settlement also enables the tenants to retain an estimated $105
      million in rent savings they enjoyed between 2009 and 2012. The settlement is
      by many magnitudes the largest tenant settlement in United States history.

  •   In re Empire State Realty Trust, Inc. Investor Litig., Index No. 650607/2012 – The
      firm served as Chair of the Executive Committee of Co-Lead Counsel for the
      Plaintiffs in a class action settlement finally approved on May 2, 2013 that
      provides for the establishment of a $55 million settlement fund for investors, in
      addition to substantial tax deferral benefits estimated to be in excess of $100
      million.

  •   American International Group Consolidated Derivative Litigation, Civil Action No.
      769-VCS (Del. Ch.) The Firm acted as co-lead counsel and the settlement
      addressed claims alleging that the D&O Defendants breached their fiduciary
      duties to the Company and otherwise committed wrongdoing to the detriment
      of AIG in connection with various allegedly fraudulent schemes during the
      1999-2005 time period.

  •   In re Bank of America Corp. Securities, Derivative, and Employee Retirement Income
      Security Act (ERISA) Litigation, Master File No. 09 MD 2058 (S.D.N.Y.) (firm was
      co-lead counsel in parallel derivative action pending in Delaware (In Re Bank of
      America Stockholder Derivative Litigation, C.A. No. 4307-CS (Del. Ch.)) (increase
      of settlement cash recovery from $20 million to $62.5 million).

  •   The Investment Committee of the Manhattan and Bronx Service Transit Operating
      Authority Pension Plan v. JPMorgan Chase Bank, N.A., 1:09-cv-04408-SAS
      (S.D.N.Y.) (class recovered $150 million).

  •   In re Tremont Sec. Law, State Law and Insurance Litig., No. 08-civ-11117 (TPG)
      (SDNY) (class recovered $100 million). The firm was court-appointed co-lead
      counsel in the Insurance Action, 08 Civ. 557, and represented a class of persons
      who purchased or otherwise acquired Variable Universal Life (“VUL”)
      insurance policies or Deferred Variable Annuity (“DVA”) policies issued by
      Tremont International Insurance Limited or Argus International Life Bermuda
      Limited from May 10, 1994 - December 11, 2008 to the extent the investment




                                       Page 9
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 132 of 181


      accounts of those policies were exposed to the massive Ponzi scheme
      orchestrated by Bernard L. Madoff through one or more Rye funds.

  •   In re Initial Public Offering Securities Litigation, 21 MC 92 (SAS) (S.D.N.Y.) (class
      recovered $586 million). Wolf Haldenstein served as Co-Lead Counsel of one
      of the largest securities fraud cases in history. Despite the United States Court
      of Appeals for the Second Circuit’s decision to vacate the district court’s class
      certification decision, on remand, counsel for plaintiffs were able to press on to
      a settlement on April 1, 2009, ultimately recovering in excess of a half-billion
      dollars.




                                        Page 10
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 133 of 181


                               FIRM PRACTICE AREAS

                              Class Action Litigation

Wolf Haldenstein is a leader in class and derivative action litigation and is currently or
has been the court-appointed lead counsel, co-lead counsel, or executive committee
member in some of the largest and most significant class action and derivative action
lawsuits in the United States. For example, the class action Roberts v. Tishman Speyer, 13
N.Y.3d 270 (N.Y. 2009) was recently described by a sitting member of the U.S. House of
Representatives as the greatest legal victory for tenants in her lifetime. In Roberts, the
Firm obtained a victory in the New York Court of Appeals requiring the reregulation of
thousands of apartment units in the Stuyvesant Town complex in Manhattan, New
York. Many of the firm’s other successful results are summarized within.

                  Private Actions for Institutional Investors

In addition to its vast class action practice, the Firm also regularly represents
institutional clients such as public funds, investment funds, limited partnerships, and
qualified institutional buyers in private actions. The Firm has represented institutional
clients in non-class federal and state actions concerning a variety of matters, including
private placements, disputes with investment advisors, and disputes with corporate
management.

The Firm has also acted as special counsel to investors’ committees in efforts to assert
and advance the investors’ interests without resorting to litigation. For example, the
Firm served as Counsel to the Courtyard by Marriott Limited Partners Committee for
several years in its dealings with Host Marriott Corporation, and as Special Counsel to
the Windsor Park Properties 7 and 8 limited partners to insure the fairness of their
liquidation transactions.

                                 Antitrust Litigation

Wolf Haldenstein is a leader in antitrust and competition litigation. The Firm actively
seeks to enforce the federal and state antitrust laws to protect and strengthen the rights
and claims of businesses, organizations, Taft-Hartley funds, and consumers throughout
the United States. To that end, Wolf Haldenstein commences large, often complex,
antitrust and trade regulation class actions and other cases that target some of the most
powerful and well-funded corporate interests in the world. Many of these interests
exert strong influence over enforcement policy that is in the hands of elected officials, so
that private enforcement provides the only true assurance that unfair and




                                          Page 11
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 134 of 181


anticompetitive conduct will be duly scrutinized for compliance with the law. These
cases frequently bring to light concealed, unlawful behavior such as price fixing,
monopolization, market allocation, monopoly leveraging, essential facilities, tying
arrangements, vertical restraints, exclusive dealing, and refusals to deal. Wolf
Haldenstein’s Antitrust Practice Group has successfully prosecuted numerous antitrust
cases and aggressively advocates remedies and restitution for businesses and investors
wronged by violations of the antitrust laws. For example, in In re DRAM Antitrust
Litigation, No. 02-cv-1486 (PJH) (N.D. Cal.) the firm successfully prosecuted an antitrust
case resulting in a $315 million recovery. Many of the firm’s successful results are
summarized within.

Wolf Haldenstein attorneys currently serve as lead counsel, co-lead counsel, or as
executive committee members in some of the largest and most significant antitrust class
action lawsuits. The firm was most recently appointed lead counsel in the Salmon
Antitrust Indirect Litigation pending in the U.S. District Court for the Southern District
of Florida.

                  Overtime and Compensation Class Actions

Wolf Haldenstein is a leader class action litigation on behalf of employees who have not
been paid overtime or other compensation they are entitled to receive, or have had
improper deductions taken from their compensation. These claims under the federal
Fair Labor Standards Act and state labor laws allege improper failure to pay overtime
and other wages, and improper deductions from compensation for various company
expenses. Wolf Haldenstein has served as lead or co-lead counsel, or other similar lead
role, in some of the most significant overtime class actions pending in the United States,
and has recovered hundreds of millions of dollars in recovered wages for its clients. For
example, in LaVoice v. Citigroup Global Markets, Inc., Case No. C 07-801 (CW) (N.D. Cal.))
a $108 million settlement was secured for the class. Many of the firm’s other successful
wage and hour results are summarized within.

 Other Substantial Recoveries In Class Action And Derivative Cases in
     Which Wolf Haldenstein Was Lead Counsel or Had Another
                         Significant Role

     •   In re Beacon Associates Litigation, Master File No. 09 Civ. 0777 (LBS) (S.D.N.Y.)
         ($219 million settlement in this and related action).




                                         Page 12
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 135 of 181


  •   Roberts v. Tishman Speyer, No. 100956/2007 (Sup. Ct. N.Y. Cty.) ($173 Million
      settlement).

  •   In re Mutual Fund Investment Litigation, MDL No. 1586 (D. Md.) (derivative
      counsel in consolidated cases against numerous mutual fund companies
      involved in market timing resulting in class/derivative settlements totaling
      more than $300 million).

  •   Inland Western Securities Litigation, Case No. 07 C 6174 (N.D. Ill.) (settlement
      value of shares valued between $61.5 million and $90 million).

  •   In re Direxion Shares ETF Trust, No. 09-Civ-8011 (KBF) (S.D.N.Y.) (class
      recovered $8 million).

  •   In re BankAmerica Corp. Securities Litigation, MDL Docket No. 1264 (JFN) (E.D.
      Mo.) (class recovered $490 million).

  •   In re Dynamic Random Access Memory Antitrust Litigation, (MD-02 1486 (N.D.
      Cal.) (class recovered $325 million).

  •   In re MicroStrategy, Inc. Securities Litigation, Civ. No. 00-473-A (E.D. Va.) (class
      recovered $160 million in cash and securities).

  •   Kurzweil v. Philip Morris Cos., 94 Civ. 2373, 94 Civ. 2546 (S.D.N.Y.) (securities
      fraud) (class recovered $116.5 million in cash).

  •   In re Starlink Corn Products Liability Litigation, (N.D. Ill.) (class recovered $110
      million).

  •   In Computer Associates 2002 Class Action Sec. Litigation, 2:02-CV-1226 (E.D.N.Y.)
      ($130 million settlement in this and two related actions).

  •   In re Sepracor Inc. Securities Litigation, Civ. No. 02-12338 (MEL) (D. Mass.)
      (classes recovered $52.5 million).

  •   In re Transkaryotic Therapies, Inc., Securities Litigation, C.A. No. 03-10165-RWZ
      (D. Mass) (class recovered $50 million).

  •   In re Iridium Securities Litigation, C.A. No. 99-1002 (D.D.C.) (class recovered $43
      million).




                                       Page 13
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 136 of 181


  •   In re J.P. Morgan Chase Securities Litigation, MDL No. 1783 (N.D. Ill.) (settlement
      providing for adoption of corporate governance principles relating to potential
      corporate transactions requiring shareholder approval).

  •   LaVoice v. Citigroup Global Markets, Inc., Case No. C 07-801 (CW) (N.D. Cal.))
      ($108 million settlement).

  •   Steinberg v. Morgan Stanley & Co., Inc., Case No. 06-cv-2628 (BEN) (S.D. Cal.)
      ($50 million settlement).

  •   Poole v. Merrill Lynch, Pierce, Fenner & Smith Inc., Case No. CV-06-1657 (D. Or.)
      ($43.5 million settlement).

  •   In re Wachovia Securities, LLC Wage and Hour Litigation, MDL No. 07-1807 DOC
      (C.D. Cal.) ($39 million settlement).

  •   In re Wachovia Securities, LLC Wage and Hour Litigation (Prudential), MDL No.
      07-1807 DOC (C.D. Cal.) ($11 million settlement).

  •   Basile v. A.G. Edwards, Inc., 08-CV-00338-JAH-RBB (S.D. Cal.) ($12 million
      settlement).

  •   Miguel Garcia, et al. v. Lowe’s Home Center, Inc. et al. – Case No. GIC 841120
      (Barton) (Cal. Sup. Ct, San Diego) (co-lead, $1.65 million settlement w/
      average class member recovery of $5,500, attorney fees and cost awarded
      separately).

  •   Neil Weinstein, et al. v. MetLife, Inc., et al. – Case No. 3:06-cv-04444-SI (N.D.Cal)
      (co-lead, $7.4 million settlement).

  •   Creighton v. Oppenheimer, Index No. 1:06 - cv - 04607 - BSJ - DCF (S.D.N.Y.)
      ($2.3 million settlement).

  •   Klein v. Ryan Beck, 06-CV-3460 (DAB)(S.D.N.Y.) ($1.3 million settlement).

  •   In re American Pharmaceutical Partners, Inc. Shareholder Litigation, Consolidated
      C.A. No. 1823-N (Del. Ch. Ct.) ($14.3 million settlement).

  •   Egleston v. Collins and Aikman Corp., 06-cv-13555 (E.D. Mich.) (class recovered
      $12 million).




                                        Page 14
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 137 of 181


  •   In re Merrill Lynch & Co., Inc. Global Technology Fund Securities Litigation, 02 CV
      7854 (JFK) (SDNY); and In re Merrill Lynch & Co., Inc. Focus Twenty Fund
      Securities Litigation, 02 CV 10221 (JFK) (SDNY) (class recovered $39 million in
      combined cases).

  •   In re CNL Hotels & Resorts, Inc. Securities Litigation, No. 6:04-cv-1231 (Orl-31)
      (class recovered $35 million, and lawsuit also instrumental in $225 million
      benefit to corporation).

  •   In re Cablevision Systems Corp. Shareholder Derivative Litigation, Master File No.
      06-CV-4130-DGT-AKT ($34.4 million recovery).

  •   In re Monster Worldwide, Inc. Stock Option Derivative Litigation, Master File No.
      06cv4622 (S.D.N.Y.) ($32 million recovery and corporate governance reforms).

  •   Berger v. Compaq Computer Corp., Docket No. 98-1148 (S.D. Tex.) (class
      recovered $29 million).

  •   In re Arakis Energy Corporation Securities Litigation, 95 CV 3431 (E.D.N.Y.) (class
      recovered $24 million).

  •   In re E.W. Blanche Holdings, Inc. Securities Litigation, Civ. No. 01-258 (D. Minn.)
      (class recovered $20 million).

  •   In re Globalstar Securities Litigation, Case No. 01-CV-1748 (SHS) (S.D.N.Y.) (class
      recovered $20 million).

  •   In re Luxottica Group S.p.A. Securities Litigation, No. CV 01-3285 (E.D.N.Y) (class
      recovered $18.25 million).

  •   In re Musicmaker.com Securities Litigation, CV-00-2018 (C.D. Cal.) (class
      recovered $13.75 million).

  •   In re Comdisco Securities Litigation, No. 01 C 2110 (MIS) (N.D. Ill.) (class
      recovered $13.75 million).

  •   In re Acclaim Entertainment, Inc., Securities Litigation, C.A. No. 03-CV-1270
      (E.D.N.Y.) (class recovered $13.65 million).




                                       Page 15
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 138 of 181


  •   In re Concord EFS, Inc. Securities Litigation, No. 02-2097 (MA) (W.D. Tenn) (class
      recovered $13.25 million).

  •   In re Bausch & Lomb, Inc. Securities Litigation, 01 Civ. 6190 (CJS) (W.D.N.Y.)
      (class recovered $12.5 million).

  •   In re Allaire Corp. Securities Litigation, 00-11972 (D. Mass.) (class recovered $12
      million).

  •   Bamboo Partners LLC v. Robert Mondavi Corp., No. 26-27170 (Cal. Sup. Ct.) (class
      recovered $10.8 million).

  •   Curative Health Services Securities Litigation, 99-2074 (E.D.N.Y.) (class recovered
      $10.5 million).

  •   City Partnership Co. v. Jones Intercable, 99 WM-1051 (D. Colo.) (class recovered
      $10.5 million).

  •   In re Aquila, Inc., (ERISA Litigation), 04-865 (W.D. Mo.) ($10.5 million recovery
      for the class).

  •   In re Tenfold Corporation Securities Litigation, 2:00-CV-652 (D. Utah) (class
      recovered $5.9 million).

  •   In re Industrial Gas Antitrust Litigation, 80 C 3479 and related cases (N.D. Ill.)
      (class recovered $50 million).

  •   In re Chor-Alkalai and Caustic Soda Antitrust Litigation, 86-5428 and related cases
      (E.D. Pa.) (class recovered $55 million).

  •   In re Infant Formula Antitrust Litigation, MDL No. 878 (N.D. Fla.) (class
      recovered $126 million).

  •   In re Brand Name Prescription Drugs Antitrust Litigation, No. 1:94-cv-00897,
      M.D.L. 997 (N.D. Ill.) (class recovered $715 million).

  •   Landon v. Freel, M.D.L. No. 592 (S.D. Tex.) (class recovered $12 million).

  •   Holloway v. Peat, Marwick, Mitchell & Co., No. 84 C 814 EU (N.D. Okla.) (class
      recovered $38 million).




                                       Page 16
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 139 of 181


  •   In re The Chubb Corp. Drought Insurance Litigation, C-1-88-644 (S.D. Ohio)
      (class recovered $100 million).

  •   Wong v. Megafoods, Civ-94-1702 (D. Ariz.) (securities fraud) (class recovered
      $12.25 million).

  •   In re Del Val Financial Corp. Securities Litigation, 92 Civ 4854 (S.D.N.Y.) (class
      recovered $11.5 million).

  •   In re Home Shopping Network Shareholders Litigation, Consolidated Civil Action
      No. 12868, (Del. Ch. 1995) (class recovered $13 million).

  •   In re Paine Webber Limited Partnerships Litigation, 94 Civ 8547 (S.D.N.Y.) (class
      recovered $200 million).

  •   In re Bristol-Meyers Squibb Co. Securities Litigation, 92 Civ 4007 (S.D.N.Y.) (class
      recovered $19 million).

  •   In re Spectrum Information Technologies Securities Litigation, CV 93-2245
      (E.D.N.Y.) (class recovered $13 million).

  •   In re Chase Manhattan Securities Litigation, 90 Civ. 6092 (LJF) (S.D.N.Y.) (class
      recovered $17.5 million).

  •   Prostic v. Xerox Corp., No. B-90-113 (EBB) (D. Conn.) (class recovered $9
      million).

  •   Steiner v. Hercules, Civil Action No. 90-442-RRM (D. Del.) (class recovered $18
      million).

  •   In re Ambase Securities Litigation, 90 Civ 2011 (S.D.N.Y.) (class recovered $14.6
      million).

  •   In re Southmark Securities Litigation, CA No. 3-89-1402-D (N.D. Tex.) (class
      recovered $70 million).

  •   Steiner v. Ideal Basic Industries, Inc., No. 86-M 456 (D. Colo. 1989) (securities
      fraud) (class recovered $18 million).

  •   Tucson Electric Power Derivative Litigation, 2:89 Civ. 01274 TUC. ACM
      (corporation recovered $30 million).




                                       Page 17
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 140 of 181


  •   Alleco Stockholders Litigation, (Md. Cir. Ct. Pr. Georges County) (class recovered
      $16 million).

  •   In re Revlon Group, Inc. Shareholders Litigation, No. 8362 (Del. Ch.) (class
      recovered $30 million).

  •   In re Taft Broadcasting Company Shareholders Litigation, No. 8897 (Del. Ch.) (class
      recovered $20 million).

  •   In re Southland Corp. Securities Litigation, No. 87-8834-K (N.D.Tex.) (class
      recovered $20 million).

  •   In re Crocker Bank Securities Litigation, CA No. 7405 (Del. Ch.) (class recovered
      $30 million).

  •   In re Warner Communications Securities Litigation, No. 82 Civ. 8288 (JFK)
      (S.D.N.Y.) (class recovered $17.5 million).

  •   Joseph v. Shell Oil, CA No. 7450 (Del. Ch.) (securities fraud) (class recovered
      $200 million).

  •   In re Flight Transportation Corp. Securities Litigation, Master Docket No. 4-82-874,
      MDL No. 517 (D. Minn.) (recovery of over $50 million).

  •   In re Whittaker Corporation Securities Litigation, CA000817 (Cal. Super. Ct., Los
      Angeles County) (class recovered $18 million).

  •   Naevus International, Inc. v. AT&T Corp., C.A. No. 602191/99 (N.Y. Sup. Ct.)
      (consumer fraud) (class recovered $40 million).

  •   Sewell v. Sprint PCS Limited Partnership, C.A. No. 97-188027/CC 3879 (Cir. Ct.
      for Baltimore City) (consumer fraud) (class recovered $45.2 million).

  •   In re Vytorin/Zetia Marketing, Sales Practices and Products Liability Litigation, 2:08-
      cv-285 (D.N.J.) (class recovered $41.5 million).

  •   Egleston v. Verizon, No. 104784/2011 (N.Y. Sup. Ct.) – Wolf Haldenstein
      represented a class of New York Verizon Centrex customers in an action
      against Verizon stemming from overbilling of certain charges. The Firm
      secured a settlement with a total value to the Class of over $5 million, which




                                        Page 18
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 141 of 181


      provided, among other things, each class member with full refunds of certain
      disputed charges, plus interest.

  •   Zelouf Int’l Corp. v. Nahal Zelouf, Index No. 653652/2014 (Sup. Ct. N.Y. Co.
      2015). In an important trial decision following an appraisal proceeding
      triggered by the freeze-out merger of a closely-held corporation, which also
      included shareholder derivative claims, Justice Kornreich of the New York
      Supreme Court refused to apply a discount for lack of marketability to the
      minority interest in the former corporation and found that the insiders stole
      more than $14 million dollars; the minority shareholder recovered over $9
      million.

  •   Zelouf Int’l Corp. v. Zelouf, 45 Misc.3d 1205(A) (Sup. Ct. N.Y. Co., 2014). The
      Court rejected application of a discount for lack of marketability and awarded
      a $10,031,438.28 judgment following an eleven day bench trial in the
      Commercial Division of the Supreme Court of the State of New York (New
      York County) on the value of a minority interest in a closely held corporation.

  •   Thompson et al. v. Bethpage Federal Credit Union et al., No. 2:17-cv-00921-GRB
      (E.D.N.Y.) ($3.6 million settlement)




                                     Page 19
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 142 of 181


   Representative Reported Opinions Since 1990 in Which Wolf
  Haldenstein Was Lead Counsel or Had Another Significant Role

            Federal Appellate and District Court Opinions

  •   Apple Inc. v. Pepper, 139 S. Ct. 1514 (2019)

  •   China Agritech, Inc. v. Resh, 138 S. Ct. 1800 (2018)

  •   In re Packaged Seafood Prods. Antitrust Litig., 242 F. Supp. 3d 1033 (S.D. Cal.
      2017)

  •   In re Packaged Seafood Prods. Antitrust Litig., 332 F.R.D. 308 (S.D. Cal. 2019)

  •   DeFrees v. Kirkland, 2012 U.S. Dist. LEXIS 52780 (C.D. Cal. Apr. 11, 2012).

  •   In re Beacon Associates Litig., 745 F. Supp. 2d 386 (S.D.N.Y. 2010); In re Beacon
      Associates Litig., 282 F.R.D. 315 (S.D.N.Y. 2012).

  •   Messner v. Northshore University HealthSystem, 669 F.3d 802, No. 10-2514 (7th
      Cir. Jan. 13, 2012).

  •   In re Text Message Antitrust Litigation, 630 F.3d, 622 (7th Cir. 2010).

  •   In re Apple & ATTM Antitrust Litig., 2010 U.S. Dist. LEXIS 98270 (N.D. Cal. July
      8, 2010).

  •   Freeland v. Iridium World Communications Ltd., 545 F.Supp.2d 59 (D.D.C. 2008).

  •   In re Apple & AT&TM Antitrust Litig., 596 F. Supp. 2d 1288 (N.D. Cal. 2008).

  •   Harzewski v. Guidant Corp., 489 F.3d 799 (7th Cir. 2007).

  •   In re JP Morgan Chase & Co. Securities Litigation, No. 06 C 4674, 2007 U.S. Dist.
      LEXIS 93877 (N.D. Ill. Dec. 18, 2007).

  •   Schoenbaum v. E.I. Dupont De Nemours and Co., 2007 WL 2768383 (E.D. Mo.
      Sept. 20, 2007).

  •   Jeffries v. Pension Trust Fund, 99 Civ. 4174 (LMM), 2007 U.S. Dist. LEXIS 61454
      (S.D.N.Y. Aug. 20, 2007).




                                        Page 20
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 143 of 181


  •   Klein v. Ryan Beck, 06-Civ. 3460 (WCC), 2007 U.S. Dist. LEXIS 51465 (S.D.N.Y.
      July 13, 2007).

  •   Cannon v. MBNA Corp. No. 05-429 GMS, 2007 U.S. Dist. LEXIS 48901 (D. Del.
      2007).

  •   In re Aquila ERISA Litig., 237 F.R.D. 202 (W.D. Mo. 2006).

  •   Smith v. Aon Corp., 238 F.R.D. 609 (N.D. Ill. 2006).

  •   In re Sepracor Inc. Securities Litigation, 233 F.R.D. 52 (D. Mass. 2005).

  •   In re Transkaryotic Therapies, Inc. Securities Litigation, No. 03-10165, 2005 U.S.
      Dist. LEXIS 29656 (D. Mass. Nov. 28, 2005).

  •   In re Luxottica Group, S.p.A. Securities Litigation, 2005 U.S. Dist. LEXIS 9071
      (E.D.N.Y. May 12, 2005).

  •   In re CNL Hotels & Resorts, Inc. Securities Litigation, 2005 U.S. Dist. LEXIS 38876,
      No. 6:04-cv-1231-Orl-31KRS (M.D. Fla. May 9, 2005).

  •   Johnson v. Aegon USA, Inc., 1:01-CV-2617 (N.D. Ga. Sept. 20, 2004).

  •   Freeland v. Iridium World Communications, Ltd., 99-1002 (D.D.C. Aug. 31, 2004).

  •   In re Acclaim Entertainment, Inc. Securities Litigation, 03-CV-1270 (E.D.N.Y. June
      22, 2004).

  •   In re Sepracor Inc. Securities Litigation, 308 F. Supp. 2d 20 (D. Mass. 2004).

  •   In re Concord EFS, Inc. Securities Litigation, No. 02-2697 (W.D. Tenn. Jan. 7,
      2004).

  •   In re Pharmatrak, Inc. Privacy Litig., 2003 U.S. App. LEXIS 8758 (1st Cir. May 9,
      2003).

  •   In re Enterprise Mortgage Acceptance Co., LLC, Sec. Litig., 02-Civ. 10288 (SWK)
      (S.D.N.Y. Nov. 5, 2003).

  •   In re PerkinElmer, Inc. Securities Litigation, 286 F. Supp. 2d 46 (D. Mass. 2003).




                                        Page 21
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 144 of 181


  •   In re Initial Public Offering Securities Litigation, 241 F. Supp. 2d 281 (S.D.N.Y.
      2003).

  •   In re Comdisco Securities Litigation, No. 01 C 2110, 2003 U.S. Dist. LEXIS 5047
      (N.D. Ill. Mar. 31, 2003).

  •   Berger v. Compaq Computer Corp., 257 F.3d 475 (2001), clarified, 279 F.3d 313 (5th
      Cir. 2002).

  •   City Partnership Co. v. Cable TV Fund 14-B, 213 F.R.D. 576 (D. Colo. 2002).

  •   In re Allaire Corporation Securities Litigation, Docket No. 00-11972 - WGY, 2002
      U.S. Dist. LEXIS 18143 (D. Mass., Sept. 27, 2002).

  •   In re StarLink Corn Products Liability Litigation, 212 F.Supp.2d 828 (N.D. Ill.
      2002).

  •   In re Bankamerica Corp. Securities Litigation, 263 F.3d 795 (8th Cir. 2001).

  •   In re Comdisco Securities Litigation, 166 F.Supp.2d 1260 (N.D. Ill. 2001).

  •   In re Crossroads Systems, Inc. Securities Litigation, Master File No. A-00-CA-457
      JN, 2001 U.S. Dist. LEXIS 14780 (W.D. Tx. Aug. 15, 2001).

  •   In re MicroStrategy, Inc. Securities Litigation, 150 F. Supp. 2d 896 (E.D. Va. 2001).

  •   Lindelow v. Hill, No. 00 C 3727, 2001 U.S. Dist. LEXIS 10301 (N.D. Ill. July 19,
      2001).

  •   In re MicroStrategy, Inc. Securities Litigation, 148 F. Supp. 2d 654 (E.D. Va. 2001).

  •   Jeffries v. Pension Trust Fund of the Pension, Hospitalization & Benefit Plan of the
      Electrical Industry, 172 F. Supp. 2d 389 (S.D.N.Y. 2001).

  •   Carney v. Cambridge Technology Partners, Inc., 135 F. Supp. 2d 235 (D. Mass.
      2001).

  •   Weltz v. Lee, 199 F.R.D. 129 (S.D.N.Y. 2001).

  •   Schoers v. Pfizer, Inc., 00 Civ. 6121, 2001 U.S. Dist. LEXIS 511 (S.D.N.Y. Jan. 23,
      2001).




                                        Page 22
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 145 of 181


  •   Kurzweil v. Philip Morris Cos., 94 Civ. 2373 (MBM), 2001 U.S. Dist. LEXIS 83
      (S.D.N.Y. Jan. 9, 2001).

  •   Goldberger v. Bear, Stearns & Co., 98 Civ. 8677 (JSM), 2000 U.S. Dist. LEXIS 18714
      (S.D.N.Y. Dec. 28, 2000).

  •   In re Newell Rubbermaid, Inc., Securities Litigation, Case No. 99 C 6853, 2000 U.S.
      Dist. LEXIS 15190 (N.D. Ill. Oct. 2, 2000).

  •   Stanley v. Safeskin Corp., Case No. 99 CV 454 BTM (LSP), 2000 U.S. Dist. LEXIS
      14100, Fed. Sec. L. Rep. (CCH) P91, 221 (S.D. Cal. Sept. 18, 2000).

  •   In re MicroStrategy, Inc. Securities Litigation, 115 F. Supp. 2d 620 (E.D. Va. 2000).

  •   In re USA Talks.com, Inc. Securities Litigation, 2000 U.S. Dist. LEXIS 14823, Fed.
      Sec. L. Rep. (CCH) P91, 231 (S.D. Cal. Sept. 14, 2000).

  •   In re Sotheby’s Holdings, Inc. Securities Litigation, 00 CIV. 1041 (DLC), 2000 U.S.
      Dist. LEXIS 12504, Fed. Sec. L. Rep. (CCH) P91, 059 (S.D.N.Y. Aug. 31, 2000).

  •   Dumont v. Charles Schwab & Co., Inc., Civil Action No. 99-2840 2000 U.S. Dist.
      LEXIS 10906 (E.D. La. July 21, 2000).

  •   Berger v. Compaq Computer Corp., Civil Action No. H-98-1148, 2000 U.S. Dist.
      LEXIS 21424 (S.D. Tex. July 17, 2000).

  •   In re BankAmerica Corp. Securities Litigation, 95 F. Supp. 2d 1044 (E.D. Mo. 2000).

  •   In re Carnegie International Corp. Securities Litigation, 107 F. Supp. 2d 676 (D.
      Md. 2000).

  •   Berger v. Compaq Computer Corp., Civil Action No. H-98-1148, 2000 U.S. Dist.
      LEXIS 21423 (S.D. Tex. Mar. 13, 2000).

  •   In re Imperial Credit Industries Securities Litigation, CV 98-8842 SVW, 2000 U.S.
      Dist. LEXIS 2340 (C.D. Cal. Feb. 23, 2000).

  •   Sturm v. Marriott Marquis Corp., 85 F. Supp. 2d 1356 (N.D. Ga. 2000).

  •   In re Health Management Systems Securities Litigation, 82 F. Supp. 2d 227
      (S.D.N.Y. 2000).




                                        Page 23
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 146 of 181


  •   Dumont v. Charles Schwab & Co., Inc., Civil Action No. 99-2840, 2000 U.S. Dist.
      LEXIS 619 (E.D. La. Jan. 19, 2000).

  •   In re MicroStrategy, Inc. Securities Litigation, 110 F. Supp. 2d 427 (E.D. Va. 2000).

  •   In re BankAmerica Corp. Securities Litigation, 78 F. Supp. 2d 976 (E.D. Mo. 1999).

  •   Kurzweil v. Philip Morris Cos., 94 Civ. 2373 (MBM), 1999 U.S. Dist. LEXIS 18378
      (S.D.N.Y. Nov. 24, 1999).

  •   In re Nanophase Technologies Corp. Litigation, 98 C 3450, 1999 U.S. Dist. LEXIS
      16171 (N.D. Ill. Sept. 27, 1999).

  •   In re Clearly Canadian Securities Litigation, File No. C-93-1037-VRW, 1999 U.S.
      Dist. LEXIS 14273 Cal. Sept. 7, 1999).

  •   Yuan v. Bayard Drilling Technologies, Inc., 96 F. Supp. 2d 1259 (W.D. Okla. 1999).

  •   In re Spyglass, Inc. Securities Litigation, No. 99 C 512, 1999 U.S. Dist. LEXIS 11382
      (N.D. Ill. July 20, 1999).

  •   Carley Capital Group v. Deloitte & Touche, L.L.P., 1:97-CV-3183-TWT, 1999 U.S.
      Dist. LEXIS 11595 (N.D. Ga. June 30, 1999).

  •   Blue Cross & Blue Shield of N.J., Inc. v. Philip Morris, Inc., 98 CV 3287, 1999 U.S.
      Dist. LEXIS 11363 (E.D.N.Y. June 1, 1999).

  •   Carley Capital Group v. Deloitte & Touche, L.L.P., 1:97-CV-3183-TWT, 1999 U.S.
      Dist. LEXIS 1368, Fed. Sec. L. Rep. (CCH) P90, 429 (N.D. Ga. Jan. 19, 1999).

  •   Longman v. Food Lion, Inc., 186 F.R.D. 331 (M.D.N.C. 1999).

  •   Wright v. Ernst & Young LLP, 152 F.3d 169 (2d Cir. 1998).

  •   Romine v. Compuserve Corp., 160 F.3d 337 (6th Cir. 1998).

  •   Felzen v. Andreas, 134 F.3d 873 (7th Cir. 1998).

  •   Walsingham v. Biocontrol Technology, Inc., 66 F. Supp. 2d 669 (W.D. Pa. 1998).

  •   Sturm v. Marriott Marquis Corp., 26 F. Supp. 2d 1358 (N.D. Ga. 1998).




                                        Page 24
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 147 of 181


  •   Carley Capital Group v. Deloitte & Touche, L.L.P., 27 F. Supp. 2d 1324 (N.D. Ga.
      1998).

  •   In re MobileMedia Securities Litigation, 28 F.Supp.2d 901 (D.N.J. 1998).

  •   Weikel v. Tower Semiconductor, Ltd., 183 F.R.D. 377 (D.N.J. 1998).

  •   In re Health Management Systems Securities Litigation, 97 Civ. 1865 (HB), 1998
      U.S. Dist. LEXIS 8061 (S.D.N.Y. May 27, 1998).

  •   In re Painewebber Ltd. Partnership Litigation, 999 F. Supp. 719 (S.D.N.Y. 1998).

  •   Carley Capital Group v. Deloitte & Touche, L.L.P., 1:97-cv-3183-TWT, 1998 U.S.
      Dist. LEXIS 23222 (N.D. Ga. Feb. 10, 1998).

  •   Brown v. Radica Games (In re Radica Games Securities Litigation), No. 96-17274,
      1997 U.S. App. LEXIS 32775 (9th Cir. Nov. 14, 1997).

  •   Robbins v. Koger Properties, 116 F.3d 1441 (11th Cir. 1997).

  •   In re TCW/DW North American Government Income Trust Securities Litigation, 95
      Civ. 0167 (PKL), 1997 U.S. Dist. LEXIS 18485 (S.D.N.Y. Nov. 20, 1997).

  •   Wright v. Ernst & Young, LLP, 97 Civ. 2189 (SAS), 1997 U.S. Dist. LEXIS 13630
      (S.D.N.Y. Sept. 9, 1997).

  •   Felzen v. Andreas, No. 95-2279, 1997 U.S. Dist. LEXIS 23646 (C.D. Ill. July 7,
      1997).

  •   Felzen v. Andreas, No. 95-2279, 1997 U.S. Dist. LEXIS 23647 (C.D. Ill. July 7,
      1997).

  •   A. Ronald Sirna, Jr., P.C. Profit Sharing Plan v. Prudential Securities, Inc., 964 F.
      Supp. 147 (S.D.N.Y. 1997).

  •   Kurzweil v. Philip Morris Companies, 94 Civ. 2373 (MBM), 1997 U.S. Dist. LEXIS
      4451 (S.D.N.Y. April 8, 1997).

  •   Bobrow v. Mobilmedia, Inc., Civil Action No. 96-4715, 1997 U.S. Dist. LEXIS
      23806 (D.N.J. March 31, 1997).




                                        Page 25
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 148 of 181


  •   Kalodner v. Michaels Stores, Inc., 172 F.R.D. 200 (N.D.Tex. 1997).

  •   In re Painewebber Ltd. Partnerships Litigation, 171 F.R.D. 104 (S.D.N.Y. 1997).

  •   A. Ronald Sirna, Jr., P.C. Profit Sharing Plan v. Prudential Securities, Inc., 95 Civ.
      8422 (LAK), 1997 U.S. Dist. LEXIS 1226 (S.D.N.Y. Feb. 7, 1997).

  •   In re Painewebber Inc. Limited Partnerships Litigation, 94 F.3d 49 (2d Cir. 1996).

  •   Glassman v. Computervision Corp., 90 F.3d 617 (1st Cir. 1996).

  •   Alpern v. Utilicorp United, Inc., 84 F.3d 1525 (8th Cir. 1996).

  •   Shaw v. Digital Equipment Corp., 82 F.3d 1194 (1st Cir. 1996).

  •   Dresner Co. Profit Sharing Plan v. First Fidelity Bank, N.A., 95 Civ. 1924 (MBM),
      1996 U.S. Dist. LEXIS 17913 (S.D.N.Y. Dec. 3, 1996).

  •   Simon v. American Power Conversion Corp., 945 F. Supp. 416 (D.R.I. 1996).

  •   TII Industries, Inc., 96 Civ. 4412 (SAS), 1996 U.S. Dist. LEXIS 14466 (S.D.N.Y.
      Oct. 1, 1996).

  •   In re TCW/DW North American Government Income Trust Securities Litigation, 941
      F. Supp. 326 (S.D.N.Y. Oct. 1, 1996).

  •   In re Painewebber Ltd. Partnership Litigation, 94 Civ. 8547 (SHS), 1996 U.S. Dist.
      LEXIS 9195 (S.D.N.Y. June 28, 1996).

  •   In re Tricord Systems, Inc., Securities Litigation, Civil No. 3-94-746, 1996 U.S. Dist.
      LEXIS 20943 (D. Minn. April 5, 1996).

  •   In re Painewebber Limited Partnership Litigation, 94 Civ. 8547 (SHS), 1996 U.S.
      Dist. LEXIS 1265 (S.D.N.Y. Feb. 6, 1996).

  •   Riley v. Simmons, 45 F.3d 764 (3d Cir. 1995).

  •   Stepak v. Addison, 20 F.3d 398 (11th Cir. 1994).

  •   Zitin v. Turley, [1991 Transfer Binder] Fed. Sec. L. Rep. (CCH) ¶ 96,123 (D.
      Ariz. June 20, 1994).




                                        Page 26
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 149 of 181


  •   In re Southeast Hotel Properties Limited Partnership Investor Litigation, 151 F.R.D.
      597 (W.D.N.C. 1993).

  •   County of Suffolk v. Long Island Lighting Co., 907 F.2d 1295 (2d Cir. 1990).




                                       Page 27
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 150 of 181


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  •   McWilliams v. City of Long Beach, 56 Cal. 4th 613 (2013).

  •   Roberts v. Tishman Speyer, 89 A.D.3d 444 (N.Y. App. Div. 1st Dep't 2011).

  •   Roberts v. Tishman Speyer, 13 N.Y.3d 270 (N.Y. 2009).

  •   Ardon v. City of Los Angeles, 52 Cal. 4th 241 (2011).

  •   In re Tyson Foods, Inc., Consolidated Shareholder Litigation, 919 A.2d 563 (Del. Ch.
      2007).

  •   Naevus Int’l v. AT&T Corp., 283 A.D.2d 171, 724 N.Y.S.2d 721 (2001).

  •   Paramount Communications, Inc. v. QVC Network, Inc., 637 A.2d 34 (Del. Super.
      Ct. 1994).

  •   In re Western National Corp. Shareholders Litigation, Consolidated C.A. No.
      15927, 2000 Del. Ch. LEXIS 82 (May 22, 2000).

  •   In re Cencom Cable Income Partners, L.P. Litigation, C.A. No. 14634, 2000 Del. Ch.
      LEXIS 90 (May 5, 2000).

  •   In re Cencom Cable Income Partners, L.P. Litigation, Consolidated C.A. No. 14634,
      2000 Del. Ch. LEXIS 10 (Jan. 27, 2000).

  •   In re Marriott Hotels Properties II Limited Partnership Unitholders Litigation,
      Consolidated C.A. No. 14961, 2000 Del. Ch. LEXIS 17 (Jan. 24, 2000).

  •   Romig v. Jefferson-Pilot Life Insurance Company, 132 N.C. App. 682, 513 S.E.2d
      598 (Ct. App. 1999), aff’d, 351 N.C. 349, 524 S.E.2d 804 (N.C. 2000).

  •   Wallace v. Wood, 752 A.2d 1175 (Del. Ch. 1999).

  •   Greenwald v. Batterson, C.A. No. 16475, 1999 Del. Ch. LEXIS 158 (July 26, 1999).

  •   Brown v. Perrette, Civil Action No. 13531, 1999 Del. Ch. LEXIS 92 (May 18,
      1999).

  •   In re Cencom Cable Income Partners, L.P. Litigation, C.A. No. 14634, 1997 Del. Ch.
      LEXIS 146 (Oct. 15, 1997).




                                        Page 28
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 151 of 181


  •   In re Marriott Hotel Properties II Limited Partnership Unitholders Litigation,
      Consolidated C.A. No. 14961, 1997 Del. Ch. LEXIS 128 (Sept. 17, 1997).

  •   In re Cheyenne Software Shareholders Litigation, Consolidated C.A. No. 14941,
      1996 Del. Ch. LEXIS 142 (Nov. 7, 1996).

  •   Seinfeld v. Robinson, 246 A.D.2d 291, 676 N.Y.S.2d 579 (N.Y. 1998).

  •   Werner v. Alexander, 130 N.C. App. 435, 502 S.E.2d 897 (N.C. Ct. App. 1998).




                                      Page 29
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 152 of 181


                             ATTORNEY BIOGRAPHIES

The qualifications of the attorneys in the Wolf Haldenstein Litigation Group are set
forth below and are followed by descriptions of some of the Firm’s attorneys who
normally practice outside the Litigation Group who contribute significantly to the class
action practice from time to time.
                                       Partners

MARK C. RIFKIN: admitted: New York; Pennsylvania; New Jersey; U.S. Supreme
Court; U.S. Courts of Appeals for the Second, Third, Fifth, and D.C. Circuits; U.S.
District Courts for the Southern and Eastern Districts of New York, the Eastern and
Western Districts of Pennsylvania, the District of New Jersey, the Eastern District of
Wisconsin and the Western District of Michigan. Education: Princeton University (A.B.
1982); Villanova University School of Law (J.D. 1985). Contributor, Packel & Poulin,
Pennsylvania Evidence (1987).

A highly experienced securities class action and shareholder rights litigator, Mr. Rifkin
has recovered hundreds of millions of dollars for victims of corporate fraud and abuse
in federal and state litigation across the country. Since 1990, Mr. Rifkin has served as
lead counsel, co-lead counsel, or trial counsel in many class and derivative actions in
securities, intellectual property, antitrust, insurance, consumer and mass tort litigation
throughout the country.

Unique among his peers in the class action practice, Mr. Rifkin has extensive trial
experience. Over the past thirty years, Mr. Rifkin has tried many complex commercial
actions in federal and state courts across the country in class and derivative actions,
including In re National Media Corp. Derivative Litig., C.A. 90-7574 (E.D. Pa.), Upp v.
Mellon Bank, N.A., C.A. No. 91-5229 (E.D. Pa.), where the verdict awarded more than
$60 million in damages to the Class (later reversed on appeal, 997 F.2d 1039 (3d Cir.
1993)), and In re AST Research Securities Litigation, No. 94-1370 SVW (C.D. Cal.), as well
as a number of commercial matters for individual clients, including Zelouf Int’l Corp. v.
Zelouf, Index No. 653652/2013 (N.Y. Sup. Ct. 2015), in which he obtained a $10 million
judgment for his client.

Mr. Rifkin also has extensive appellate experience. Over thirty years, Mr. Rifkin has
argued dozens of appeals on behalf of appellants and appellees in several federal
appellate courts, and in the highest appellate courts in New York, Pennsylvania, New
Jersey, and Delaware.




                                         Page 30
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 153 of 181




Mr. Rifkin has earned the AV®-Preeminent rating by Martindale-Hubbell® for more
than 20 years, and has been selected for inclusion in the New York Metro
SuperLawyers® listing since 2010. In 2014, Mr. Rifkin was named a “Titan of the
Plaintiff’s Bar” by Law360®.

In 2015, Mr. Rifkin received worldwide acclaim for his role as lead counsel for the class
in Good Morning To You Productions Corp. v. Warner/Chappell Music, Inc., No. CV 13-
04460-GHK (MRWx), in federal court in Los Angeles, successfully challenging the
copyright to “Happy Birthday to You,” the world’s most famous song. In recognition of
his historic victory, Mr. Rifkin was named a Trailblazer in Intellectual Property by the
National Law Journal in 2016. In 2018, Mr. Rifkin led a team of lawyers from Wolf
Haldenstein who represented the plaintiffs in We Shall Overcome Foundation, et al. v. The
Richmond Organization, Inc., et al., No. 16-cv-02725-DLC (S.D.N.Y.), which successfully
challenged the copyright to “We Shall Overcome,” called the “most powerful song of
the 20th century” by the Librarian of Congress.

Mr. Rifkin lectures frequently to business and professional organizations on a variety of
securities, shareholder, intellectual property, and corporate governance matters. Mr.
Rifkin is a guest lecturer to graduate and undergraduate economics and finance
students on corporate governance and financial disclosure topics. He also serves as a
moot court judge for the A.B.A. and New York University Law School. Mr. Rifkin
appears frequently in print and broadcast media on diverse law-related topics in
corporate, securities, intellectual property, antitrust, regulatory, and enforcement
matters.

BETSY C. MANIFOLD: admitted: Wisconsin; New York; California; U.S. District Courts
for the Western District of Wisconsin, Eastern and Southern Districts of New York, and
Northern, Central and Southern Districts of California. Education: Elmira College;
Middlebury College (B.A., cum laude, 1980); Marquette University (J.D., 1986); New
York University. Thomas More Scholar. Recipient, American Jurisprudence Award in
Agency. Member: The Association of the Bar of the City of New York. Languages:
French.

Ms. Manifold served as co-lead counsel in the following cases to recovery on behalf of
employees: Miguel Garcia, et al. v. Lowe’s Home Center, Inc. et al. – Case No. GIC 841120
(Barton) (Cal. Sup. Ct, San Diego) ($1.65 million settlement w/ average class member
recovery of $5,500, attorney fees and cost awarded separately) and Neil Weinstein, et al.




                                         Page 31
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 154 of 181


v. MetLife, Inc., et al. – Case No. 3:06-cv-04444-SI (N.D. Cal) ($7.4 million settlement).
Ms. Manifold also served as co-lead counsel in the following derivative actions: In re
Atmel Corporation Derivative Litigation, Master File No. CV 06-4592-JF (N.D. Cal.) ($9.65
million payment to Atmel) and In re Silicon Storage Technology Inc. Derivative Litig., Case
No. C 06-04310 JF (N.D. Cal.) (cash payment and re-pricing of options with a total value
of $5.45 million). Ms. Manifold also worked as lead counsel on the following class
action: Lewis v. American Spectrum Realty, Case No. 01 CC 00394, Cal. Sup. Ct (Orange
County) ($6.5 million settlement).

BENJAMIN Y. KAUFMAN: admitted: New York. Education: Yeshiva University, B.A.;
Benjamin N. Cardozo School of Law, Yeshiva University, J.D. Mr. Kaufman focuses on
class actions on behalf of defrauded investors and consumers. Mr. Kaufman’s
successful securities litigations include In re Deutsche Telekom AG Securities Litigation,
No. 00-9475 (S.D.N.Y.), a complex international securities litigation requiring
evidentiary discovery in both the United States and Europe, which settled for $120
million. Mr. Kaufman was also part of the team that recovered $46 million for investors
in In re Asia Pulp & Paper Securities Litigation, No. 01-7351 (S.D.N.Y.); and $43.1 million,
with contributions of $20 million, $14.85 million and $8.25 million from Motorola, the
individual defendants, and defendant underwriters respectively, in Freeland v. Iridium
World Communications, Ltd.

Mr. Kaufman’s outstanding representative results in derivative and transactional
litigations include: In re Trump Hotels Shareholder Derivative Litigation (Trump personally
contributed some of his holdings; the company increased the number of directors on its
board, and certain future transactions had to be reviewed by a special committee);
Southwest Airlines Derivative Litigation (Carbon County Employee Retirement System v. Kelly
(Dist. Ct. Dallas Cnty., Tex.)) (a derivative matter that resulted in significant reforms to
the air carrier’s corporate governance and safety and maintenance practices and
procedures for the benefit of Southwest and its shareholders).

He argued the appeal in In re Comverse Technology, Inc. Derivative Litig., 56 A.D.3d 49 (1st
Dep’t 2008) which led to the seminal New York Appellate Division opinion which
clarified the standards of demand futility, and held that a board of directors loses the
protection of the business judgment rule where there is evidence of self-dealing and
poor judgment by the directors; and In re Topps Company, Inc. Shareholders Litigation
which resulted in a 2007 decision which vindicated the rights of shareholders under the
rules of comity and doctrine of forum non conveniens and to pursue claims in the most
relevant forum notwithstanding the fact that jurisdiction might exist as well in the state




                                          Page 32
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 155 of 181


of incorporation. Mr. Kaufman has also lectured and taught in the subjects of corporate
governance as well as transactional and derivative litigation.

In addition, Mr. Kaufman represents many corporate clients in complex commercial
matters, including Puckett v. Sony Music Entertainment, No. 108802/98 (Sup. Ct. N.Y.
Cnty. 2002) (a complex copyright royalty class action); Shropshire v. Sony Music
Entertainment, No. 06-3252 (S.D.N.Y.), and The Youngbloods v. BMG Music, No. 07-2394
(S.D.N.Y.); and Mich II Holdings LLC v. Schron, No. 600736/10 (Sup. Ct. N.Y. Cnty.)
(represented certain defendants in connection with real estate dispute and successfully
litigated motion to dismiss all claims against those defendants; he continues to
represent those clients’ interests in several related litigations in New York and
Delaware). Mr. Kaufman has also represented clients in arbitrations and litigation
involving oppressed minority shareholders in closely held corporations.

Prior to joining Wolf Haldenstein, and prior to joining Milberg in August of 1998, Mr.
Kaufman was a Court Attorney for the New York State Supreme Court, New York
County (1988-1990) and Principal Law Clerk to Justice Herman Cahn of the Commercial
Division of the New York State Supreme Court, New York County (1990-1998).

Mr. Kaufman is an active member of the Commercial and Federal Litigation Section of
the New York State Bar Association, the International Association of Jewish Lawyers
and Jurists and the Jewish Lawyers Guild. He has also lectured on corporate
governance issues to institutional investor conferences across the United States and
abroad. Mr. Kaufman is a member of the Board of Trustees of the Hebrew Academy of
the Five Towns and Rockaways.

THOMAS H. BURT: admitted: New York; U.S. District Courts for the Southern and
Eastern Districts of New York, Eastern District of Michigan. Education: American
University (B.A. 1993); New York University (J.D. 1997). Articles Editor with New York
University Review of Law and Social Change. Mr. Burt is a litigator with a practice
concentrated in securities class actions and complex commercial litigation. After
practicing criminal defense with noted defense lawyer Jack T. Litman for three years, he
joined Wolf Haldenstein, where he has worked on such notable cases as In re Initial
Public Offering Securities Litigation, No. 21 MC 92 (SAS) (S.D.N.Y.) (a novel and sweeping
amalgamation of over 300 class actions which resulted in a recovery of $586 million); In
re MicroStrategy Securities Litigation, No. 00-473-A (E.D. Va.) (recovery of $192 million);
In re DRAM Antitrust Litigation, No. 02-cv-1486 (PJH) (N.D. Cal.) (antitrust case
resulting in $315 million recovery); In re Computer Associates 2002 Class Action Securities




                                          Page 33
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 156 of 181


Litigation, No. 02-cv-1226 (TCP) (E.D.N.Y.)(settled, together with a related fraud case,
for over $133 million); K.J. Egleston L.P. v. Heartland Industrial Partners, et al., 2:06-13555
(E.D. Mich.) (recovery included personal assets from former Reagan Administration
budget director David A. Stockman); and Parker Friedland v. Iridium World
Communications, Ltd., 99-1002 (D.D.C.)(recovery of $43.1 million). Mr. Burt has spoken
on several occasions to investor and activist groups regarding the intersection of
litigation and corporate social responsibility. Mr. Burt writes and speaks on both
securities and antitrust litigation topics. He has served as a board member and officer
of the St. Andrew’s Society of the State of New York, New York’s oldest charity.

RACHELE R. BYRD: admitted: California; U.S. District Courts for the Southern,
Northern, Central and Eastern Districts of California; U.S. Court of Appeals for the
Ninth Circuit. Education: Point Loma Nazarene College (B.A., 1994); University of
California, Hastings College of the Law (J.D., 1997). Member: State Bar of California.
Former Deputy Alternate Public Defender for the County of San Diego. Ms. Byrd is
located in the firm’s San Diego office. She practices corporate derivative and class action
litigation including securities, consumer, antitrust, employment and general corporate
and business litigation. Ms. Byrd has played a significant role in litigating numerous
class and derivative actions, including In re Apple & AT&TM Antitrust Litigation, Master
File No. C 07-05152 JW (N.D. Cal.) (antitrust class action against Apple Inc. and AT&T
Mobility LLC regarding aftermarkets for iPhone wireless service and applications);
Ardon v. City of Los Angeles (2011) 52 Cal.4th 241 (challenging the City of Los Angeles’
telephone users tax on behalf of the City’s taxpayers); McWilliams v. City of Long Beach,
2013 Cal. LEXIS 3510, Cal. Supreme Ct. No. S202037 (April 25, 2013) (challenging the
City of Long Beach’s telephone users tax on behalf of the City’s taxpayers); DeFrees, et al.
v. Kirkland, et al., No. CV 11-04272 GAF(SPx) (C.D. Cal.) (shareholder derivative action);
Bamboo Partners LLC, et al. v. Robert Mondavi Corp., et al. (shareholder class action that
settled for $10.8 million in 2007); and Lewis, et al. v. American Spectrum Realty, Inc., et al.,
(shareholder class action that settled for $6.5 million in 2004).


MATTHEW M. GUINEY: admitted: New York; U.S. District Courts for the Southern and
Eastern District of New York. Education: The College of William & Mary (B.A. in
Government and Economics 1998); Georgetown University Law Center (J.D. 2002). Mr.
Guiney’s primary areas of practice are securities class actions under the Securities Act of
1933 and the Exchange Act of 1934, complex commercial litigation, Employee Retirement
Income Security Act (ERISA) actions on behalf of plan participants, Fair Labor Standards




                                            Page 34
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 157 of 181


Act of 1938 actions concerning overtime payment, and fiduciary duty actions under
various state laws. Mr. Guiney has helped recover hundreds of millions of dollars for
victims of corporate fraud and abuse in federal and state litigation across the country.
Some of Mr. Guiney’s notable results on behalf of investors include: Mallozzi v.
Industrial Enterprises of America, Inc. et al., 1:07-cv-10321-DLC (S.D.N.Y.) ($3.4 million
settlement on behalf of shareholders); In re Luxottica Group S.p.A. Securities Litigation,
No. CV 01-3285 (JBW) (MDG) (E.D.N.Y.) ($18.5 million settlement on behalf of
shareholders); In re MBNA Corp. ERISA Litigation, Master Docket No. 05-429 (GMS), (D.
Del) ($4.5 million settlement on behalf of plan participants). Recent publications
include: Citigroup and Judicial Immunity in ERISA: An Emerging Trend?, Compensation
and Benefits Review, Vol. 42, No. 3, 172-78 (May/June 2010) (with Mark C. Rifkin); Case
of the Moenchies: Moench Provision Expansion, Employment Law360/Securities Law360
Newswires, Guest Column (June 2, 2010) (with Mark C. Rifkin).

MALCOLM T. BROWN: admitted: United States District Courts for the Southern and
Eastern Districts of New York, District of New Jersey and Eastern District of
Pennsylvania; United States Court of Appeals for the Second Circuit. Education:
University of Pennsylvania (B.A., Political Science 1988) and Rutgers University School
of Law (J.D. 1994). Mr. Brown’s primary areas of practice are securities, derivative,
M&A litigation and consumer class actions. Recent notable decisions include: Johnson v.
Ford Motor Co., 309 F.R.D. 226 (S.D. W. Va. 2015); Thomas v. Ford Motor Co., 2014 U.S.
Dist. LEXIS 43268 (D.S.C. Mar. 31, 2014); In re Merkin Sec. Litig., 2015 U.S. Dist. LEXIS
178084 (S.D.N.Y. Aug. 24, 2015). Prior to joining Wolf Haldenstein, Mr. Brown was a
business litigation attorney who represented financial institutions, corporations and
partnerships and advised clients on business disputes, reorganizations, dissolutions and
insurance coverage matters. Notable decisions include: Garment v. Zoeller, 2001 U.S.
Dist. LEXIS 20736 (S.D.N.Y. June 19, 2001), aff’d 2002 U.S. App. LEXIS 9966 (2d Cir. May
24, 2002); Bainton v. Baran, 731 N.Y.S.2d 161 (1st Dep’t 2001).


                                  Special Counsel

JUSTICE HERMAN CAHN: admitted: New York. Education: Harvard Law School and a
B.A. from City College of the City University of New York. Justice Herman Cahn was
first elected as Judge of the Civil Court of the City of New York in 1976. He
subsequently served as an Acting Justice of the Supreme Court from 1980 until 1992,
when he was elected to the Supreme Court. Throughout his decades on the bench, he
principally handled civil cases, with the exception of 1981 until 1987, when he presided




                                         Page 35
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 158 of 181


over criminal matters. Justice Cahn was instrumental in the creation of, and a founding
Justice in, the Commercial Division within the New York State Supreme Court. He
served as a Justice of the Commercial Division from its inception in 1993.

Among his most notable recent cases are the consolidated cases stemming from the Bear
Stearns merger with JP Morgan (In re Bear Stearns Litigation); litigation regarding the
America’s Cup Yacht Race (Golden Gate Yacht Club v. Société Nautique de Genève);
litigation stemming from the attempt to enjoin the construction of the new Yankee
Stadium (Save Our Parks v. City of New York); and the consolidated state cases regarding
the rebuilding of the World Trade Center site (World Trade Center Properties v. Alliance
Insurance; Port Authority v. Alliance Insurance).

Justice Cahn is a member of the Council on Judicial Administration of the Association
of the Bar of the City of New York. He has also recently been appointed to the
Character and Fitness Committee of the Appellate Division, First Department. He is on
the Register of Mediators for the United States Bankruptcy Court, Southern and
Eastern Districts of New York.

Before ascending the bench, Justice Cahn practiced law in Manhattan. He was first
admitted to the New York bar in 1956. He is admitted to practice in numerous courts,
including the New York State courts, the Southern District of New York and the United
States Supreme Court.

ROBERT ALTCHILER: admitted: New York; Connecticut. Education: State University of
New York at Albany (B.S., 1985); George Washington University Law School (J.D.,
1988). Mr. Altchiler heads the firm’s White Collar and Investigations practice group.
 Robert’s practice focuses primarily in the areas of White Collar criminal investigations,
corporate investigations, litigation, tax and general corporate counseling. Robert has
successfully defended individuals and corporations in a wide array of multifaceted
investigations in areas such as mortgage fraud, securities fraud, tax fraud, prevailing
wage, money laundering, Bank Secrecy Act, embezzlement, bank and wire fraud, theft
of trade secrets, criminal copyright infringement, criminal anti-counterfeiting, Foreign
Corrupt Practices Act (FCPA), International Traffic In Arms Regulations (ITAR),
racketeering, continuing criminal enterprises, and circumvention of trade restrictions,
among many others. Robert also specializes in non-criminal investigations related to
various topics, including finding money allegedly being hidden by individuals,
ascertaining the identities of individuals actually involved in corporate matters (when a




                                         Page 36
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 159 of 181


client believes those identities are being concealed), and running undercover “sting”
operations as part of civil and commercial litigation support.

Robert conducts corporate investigations and, when appropriate, when the client
instructs, refers the results to law enforcement for prosecution. In one recent example, a
corporate CEO came to learn assets and materials were being diverted by employees,
and that the corporation was “bleeding” money as a result. The CEO needed assistance
in ascertaining the identities and extent of involvement of the wrongdoers, as well as
the level of theft involved. Robert directed a corporate investigation that revealed the
nature of the problem. He then referred the investigation to federal authorities, which
arrested the wrongdoers and prosecuted them. The wrongdoers were convicted. In
addition, the amount of the theft was included in a court ordered restitution judgment
and the corporation will be repaid in full.

In 1988, Robert started his legal career as a prosecutor in New York City. As a
prosecutor, in addition to trying several dozen serious cases, ranging from murder to
fraud to narcotics violations, he also ran wiretap and grand jury investigations
involving money laundering and other financial crimes, as well as a wiretap and
investigation concerning a plot to assassinate a prominent NYC judge.

In addition to his practice, Robert has been an adjunct law professor at Pace University
Law School since 1998, where he teaches trial advocacy. Robert has also been a featured
participant and lecturer at Cardozo Law School’s acclaimed Intensive Trial Advocacy
Program in New York City, and has also taught at Yale Law School. Robert’s trial
advocacy teaching requires him to constantly integrate new developments in
communication theory and trial techniques into his pedagogical methods. Given the
changing way students (and prospective jurors) communicate and digest information
(via Twitter, Instagram and Snapchat, for example) Robert is able to adapt his teaching
to the needs of his students. By actively participating in the mock trials and by
frequently demonstrating methods, he is able to continually adapt his own
communication skills and integrate cutting-edge developments into his own practice.

Robert graduated from the George Washington University Law School, and graduated
with honors from the Business School at the State University of New York at Albany in
1985. He is also a 1996 graduate of the National Criminal Defense College and a 1997
graduate of the National Institute for Trial Advocacy’s Harvard Teacher Training
Program. In 2014, Robert was asked to teach at the prestigious EATES Program at
Stetson University Law School, a program designed to teach trial advocacy professors




                                         Page 37
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 160 of 181


how to better teach their students. Robert has also made dozens of television
appearances on Fox, Court TV, and Tru TV, providing legal commentary on televised
trials, and participating in discussions related to pertinent issues.



                                     Of Counsel

DANIEL W. KRASNER: admitted: New York; Supreme Court of the United States; U.S.
Courts of Appeals for the Second, Third, Fourth, Sixth, Eighth, Ninth, Tenth, and
Eleventh Circuits; U.S. District Courts for the Southern and Eastern Districts of New
York, Central District of Illinois, and Northern District of Michigan. Education: Yale
Law School (LL.B., 1965); Yeshiva College (B.A., 1962). Mr. Krasner is of counsel at
Wolf Haldenstein. He began practicing law with Abraham L. Pomerantz, generally
credited as the "Dean of the Class Action Bar." He founded the Class Litigation Group
at Wolf Haldenstein in 1976.
Mr. Krasner received judicial praise for his class action acumen as early as 1978. See,
e.g., Shapiro v. Consolidated Edison Co., [1978 Transfer Binder] Fed. Sec. L. Rep. (CCH) &
96,364 at 93,252 (S.D.N.Y. 1978) (“in the Court’s opinion the reputation, skill and
expertise of . . . [Mr.] Krasner, considerably enhanced the probability of obtaining as
large a cash settlement as was obtained”); Steiner v. BOC Financial Corp., [1980 Transfer
Binder] Fed. Sec. L. Rep. (CCH) & 97,656, at 98,491.4, (S.D.N.Y. 1980) (“This Court has
previously recognized the high quality of work of plaintiffs’ lead counsel, Mr.
Krasner”). The New York Law Journal referred to Mr. Krasner as one of the “top rank
plaintiffs’ counsel” in the securities and class action fields. In connection with a failed
1989 management buyout of United Airlines, Mr. Krasner testified before Congress.

More recently, Mr. Krasner has been one of the lead attorneys for plaintiffs in some of
the leading Federal multidistrict cases in the United States, including the IPO Litigation
in the Southern District of New York, the Mutual Fund Market Timing Litigation in the
District of Maryland, and several Madoff-related litigations pending in the Southern
District of New York. Mr. Krasner has also been lead attorney in several precedent-
setting shareholder actions in Delaware Chancery Court and the New York Court of
Appeals, including American International Group, Inc. v. Greenberg, 965 A.2d 763 (Del. Ch.
2009) and the companion certified appeal, Kirschner v. KPMG LLP, Nos. 151, 152, 2010
N.Y. LEXIS 2959 (N.Y. Oct. 21, 2010); Teachers' Retirement System of Louisiana and City of
New Orleans Employees' Retirement System, derivatively on behalf of nominal defendant
American International Group, Inc., v. PricewaterhouseCoopers LLP, No. 152 (New York,




                                          Page 38
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 161 of 181


October 21, 2010); In re CNX Gas Corp. S'holders Litig., C.A. No. 5377-VCL, 2010 Del. Ch.
LEXIS 119 (Del. Ch., May 25, 2010); In re CNX Gas Corp. S'holders Litig., C.A. No. 5377-
VCL, 2010 Del. Ch. LEXIS 139, (Del. Ch. July 5, 2010), appeal refused, 2010 Del. LEXIS
324, 2010 WL 2690402 (Del. 2010).

Mr. Krasner has lectured at the Practicing Law Institute; Rutgers Graduate School of
Business; Federal Bar Council; Association of the Bar of the City of New York; Rockland
County, New York State, and American Bar Associations; Federal Bar Council, and
before numerous other bar, industry, and investor groups.

PETER C. HARRAR: admitted; New York; United States Court of Appeals for the
Fourth Circuit and the United States District Courts for the Southern and Eastern
Districts of New York. Education: Columbia Law School (J.D. 1984); Princeton
University, Phi Beta Kappa, magna cum laude. Mr. Harrar is of counsel at the firm and
has extensive experience in complex securities and commercial litigation on behalf of
individual and institutional clients.

He has represented investment funds, hedge funds, insurance companies and other
institutional investors in a variety of individual actions, class actions and disputes
involving mortgage-backed securities and derivative instruments. Examples include In
re EMAC Securities Litigation, a fraud case concerning private placements of securitized
loan pools, and Steed Finance LDC v. LASER Advisors, Inc., a hybrid individual and class
action concerning the mispricing of swaptions.

Over the years, Mr. Harrar has also served as lead or co-lead counsel in numerous
securities class and derivative actions throughout the country, recovering hundreds of
millions of dollars on behalf of aggrieved investors and corporations. Recent examples
are some of the largest recoveries achieved in resolution of derivative actions, including
American International Group Consolidated Derivative Litigation) ($90 million), and Bank of
America/Merrill Derivative Litigation ($62.5 million).

JEFFREY G. SMITH: admitted: New York; California; Supreme Court of the United
States; U.S. Courts of Appeals for the Second, Third, Fourth, Fifth, Sixth, Seventh,
Eighth and Ninth Circuits; U.S. Tax Court; U.S. District Courts for the Southern and
Eastern Districts of New York, Southern, Central and Northern Districts of California
and the Districts of Colorado and Nebraska. Education: Woodrow Wilson School of
Public and International Affairs, Princeton University (M.P.A., 1977); Yale Law School
(J.D., 1978); Vassar College (A.B., cum laude generali, 1974). At Yale Law School, Mr.
Smith was a teaching assistant for the Trial Practice course and a student supervisor in




                                          Page 39
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 162 of 181


the Legal Services Organization, a clinical program. Member: The Association of the
Bar of the City of New York; New York State and American (Section on Litigation) Bar
Associations; State Bar of California (Member: Litigation Section); American Association
for Justice. Mr. Smith has frequently lectured on corporate governance issues to
professional groups of Fund trustees and investment advisors as well as to graduate
and undergraduate business student groups, and has regularly served as a moot court
judge for the A.B.A. and at New York University Law School. Mr. Smith has substantial
experience in complex civil litigation, including class and derivative actions, tender
offer, merger, and takeover litigation. Mr. Smith is rated “AV” by Martindale Hubble
and, since its inception in 2006, has been selected as among the top 5% of attorneys in
the New York City metropolitan area chosen to be included in the Super Lawyers
Magazine.

ANITA B. KARTALOPOULOS: admitted: New York. Education: University of Toledo,
B.A.; Seton Hall University, (J.D., 1982). Ms. Kartalopoulos, a former member of
Milberg LLP, litigates claims in the areas of securities fraud, derivative litigation, and
mergers and acquisitions. She focuses her practice on lead plaintiff litigation, as well as
breach of fiduciary and transactional litigation. She works closely with the institutional
investor clients, including trustees of public and private funds, throughout the U.S.
providing counsel on asset recovery, fiduciary education, and risk management.

Ms. Kartalopoulos has extensive experience in litigating complex securities cases
including In re Sears, Roebuck & Co. Securities Litigation ($215 million settlement), In re
Chiron Corp. Securities Litigation ($30 million settlement), and others. Ms. Kartalopoulos
has also achieved noteworthy results including improved corporate governance and
disclosures as well as increased share value in recent litigations including in In re Topps
Co. Shareholder Litigation, In re Anheuser-Busch Cos. Shareholders Litigation, In re Net Logic,
In re Smith International, In re L-3 Communication Holdings, Inc., In re Republic Services,
Derivative Litigation, and many others.

Prior to entering private practice, Ms. Kartalopoulos served in senior regulatory
positions involving insurance and health in the State of New Jersey, including serving
as Deputy Commissioner of Insurance, for Life and Health; Director of Legal and
Regulatory Affairs (Department of Health); and Executive Director of the New Jersey
State Real Estate Commission. She managed the New Jersey Insurance Department's
Multi-State Task Force investigating the sales practices of the Prudential Insurance
Company, which resulted in a $50 million fine against Prudential and a $4 billion




                                           Page 40
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 163 of 181


recovery for policyholders. She also served on the Board of Directors of MBL Insurance
Company as a rehabilitator and managed litigation on behalf of the company.

Ms. Kartalopoulos is a regular speaker at numerous conferences focused on fiduciary
education, ethics, and U.S. securities litigation, including the Investment Education
Symposium, the Institutional Investor European Pensions Symposium, the Canadian
Hedge Funds Investment Roundtable, the New York Hedge Funds Roundtable, and the
AEDBF (Association Europeenne de Droit Bancaire et Financier), FPPTA Trustee School,
GAPPT, MATTER, LATEC. She also speaks regularly on the complex legal
environment that institutional investors face when addressing losses due to securities
fraud as well as their proactive and reactive alternatives.

Ms. Kartalopoulos has co-authored “Deterring Executive Compensation Excesses:
Regulatory Weaknesses, Litigation Strengths” (03/05, NY, NY), and “Vintage Wine in
New Bottles: The Curious Evolution of the Concept of Loss Causation” (11/05, NY, NY).

Ms. Kartalopoulos is admitted to the bar of the State of New Jersey, the U.S. Courts of
Appeals for the Federal and Third Circuits.

KATE MCGUIRE: admitted: New York; U.S. District Courts for the Southern and
Eastern Districts of New York. Education: University of California at Santa Cruz (B.A.
1995), Georgetown University Law Center (J.D., 1998); Member: Georgetown Immigration
Law Journal.

Ms. McGuire has extensive experience prosecuting complex litigation. Her work
encompasses consumer and data protection class actions, securities class and derivative
shareholder cases and nationwide antitrust suits.

She is a member of the Firm’s Consumer Protection practice group and, in that context,
has worked intensively to protect classes of consumers under a range of state and
federal laws. Recently, she served as a member of the co-lead counsel team in Simerlein
et al. v. Toyota Motor Corporation et al., 3:17-CV-01021-VAB (D. Conn.), representing more
than a million owners of Sienna minivans in litigation that settled for class-wide
benefits valued at between $30 and $40 million. Presently, she serves on a team
representing plaintiffs in multi-district litigation against Fisher-Price and Mattel,
relating to Rock ‘n Play infant sleepers which are alleged to be dangerous and
misleadingly marketed. She has also served as a member of the firm’s lead or co-
counsel teams in other consumer protection cases, including litigation based upon




                                         Page 41
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 164 of 181


allegations of misrepresentations and omissions concerning the purported safety of
electronic cigarettes.

Ms. McGuire has also represented plaintiffs with respect to the protection of their civil
rights. For example, she represented a blind plaintiff in a suit under the Americans
with Disability Act against a major trading online trading company, and represented a
group of minority business owners in federal civil rights litigation concerning disparate
treatment which settled for significant governance therapeutics.

GLORIA KUI MELWANI: admitted: New York, New Jersey, United States District
Courts for the Southern and Eastern Districts of New York, District of New Jersey.
Education: New York University (B.M., Piano Performance, 2000); Benjamin N. Cardozo
School of Law (J.D., 2005), where she served as a Notes Editor on the Cardozo Public
Law, Policy and Ethics Journal. Ms. Melwani’s primary areas of focus are securities,
stockholder derivative litigation, M&A litigation, and consumer litigation.

In 2018, Ms. Melwani represented the plaintiffs in We Shall Overcome Foundation, et al. v.
The Richmond Organization, Inc., et al., No. 16-cv-02725-DLC (S.D.N.Y.), which
successfully challenged the copyright to “We Shall Overcome,” called the “most
powerful song of the 20th century” by the Librarian of Congress.

LYDIA KEANEY REYNOLDS: admitted: New York, U.S. District Courts for the Southern
and Eastern Districts of New York and the Northern and Central Districts of Illinois.
Education: Temple University (B.A. magna cum laude, Phi Beta Kappa, English, 2004);
University of Pennsylvania Law School (J.D. 2007), where she was a Production Editor
of the University of Pennsylvania Journal of Constitutional Law. Prior to joining Wolf
Haldenstein, Ms. Reynolds was an associate at SNR Denton US LLP, n/k/a Dentons.

Ms. Reynolds has substantial experience litigating complex class actions in a variety of
practice areas, including consumer fraud and securities litigation.

Ms. Reynolds joined Wolf Haldenstein as an associate in 2011. In 2015, she left Wolf
Haldenstein to serve as an Assistant Attorney General in the Consumer Frauds and
Protection Bureau of the Office of the New York Attorney General, and returned to the
Firm in 2017. As an Assistant Attorney General, Ms. Reynolds investigated and
litigated actions against financial services corporations and manufacturers and retailers
who engaged in unfair or deceptive practices.




                                         Page 42
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 165 of 181


As an attorney at Wolf Haldenstein, Ms. Reynolds represented the plaintiffs in In re
Empire State Realty Trust, Inc. Investor Litig., No. 650607/2012 (N.Y. Sup. Ct.), arising out
of the historic IPO of the Empire State Building and other properties and resulting in a
$55 million recovery for the original investors. Ms. Reynolds also has significant
experience litigating consumer fraud actions, including Milman v. Thermos LLC, No.
1:13-cv-7750 (N.D. Ill.), a consumer fraud action alleging that Thermos bottles
advertised as leak-proof were not, resulting in a settlement of over $1 million in cash
and products for consumers.

CARL MALMSTROM: admitted: Illinois; Minnesota; United States Court of Appeals for
the Seventh Circuit; Northern and Southern Districts of Illinois; Northern District of
Indiana; District of Minnesota; Eastern District of Missouri; Western District of New
York. Education: University of Chicago (A.B., Biological Sciences, 1999; A.M., Social
Sciences, 2001); The University of Hawai’i at Manoa (M.A., Anthropology, 2004); Loyola
University Chicago School of Law (J.D., 2007). Prior to joining the firm, Mr. Malmstrom
worked for the City of Chicago Department of Law in the Municipal Prosecutions
Division; he is a member of the Chicago Bar Association. Mr. Malmstrom has
substantial experience litigating complex class actions in several practice areas,
including antitrust, consumer fraud, and data security. Representative cases in which
he has represented plaintiffs include Bokelman et al. v. FCH Enterprises, Inc., Case No.
1:18-cv-209 (D. Haw.), involving customers of Zippy’s Restaurants in Hawaii whose
personal data was stolen by hackers, In re: Experian Data Breach Litigation, Case No. 8:15-
cv-1592 (C.D. Cal.); Freeman-Hargis v. Taxi Affiliation Services, LLC, Case No. 2016-CH-
02519 (Cir. Ct. Cook Cty.), involving customers of several taxi services in Chicago who
were unlawfully charged fees for using credit cards in taxis.



                                       Associates

KEVIN COOPER: admitted: New York; New Jersey; U.S. District Courts for the Southern
District of New York and the District of New Jersey. Education: Fordham University
(B.A., Legal and Policy Studies, 2011); Brooklyn Law School (J.D., 2014), where he
served as an Associate Managing Editor on the Brooklyn Journal of Corporate, Financial
& Commercial Law and as a Barry L. Zaretsky Fellow in Commercial and Bankruptcy
Law. Mr. Cooper’s primary areas of focus are securities, derivative and M&A litigation.

BRITTANY N. DEJONG: admitted: California; U.S. District Courts for the Southern,
Northern, Central and Eastern Districts of California. Education: University of Phoenix




                                           Page 43
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 166 of 181


(B.S. 2005); Golden Gate University, School of Law (J.D. 2008), Graduated with Highest
Honors, Editor – Law Review, Merit Scholarship Recipient, Member: State Bar of
California. Prior to joining Wolf Haldenstein, Ms. DeJong was an associate at a boutique
trial firm in San Francisco where her practice focused on multiparty litigation involving
catastrophic property damage. Prior to entering private practice, Ms. DeJong worked as
a Research Attorney for the Honorable Peter Busch in the Law & Motion Department at
the San Francisco Superior Court. Additionally, while in law school, Ms. DeJong
externed for the Honorable Susan Illston of the Northern District of California and the
U.S. Securities and Exchange Commission.

PATRICK DONOVAN: admitted: New York; U.S. District Courts for the Southern and
Eastern Districts of New York; United States Court of Appeals for the Ninth Circuit.
Education: Iona College (B.A., Business Management, 2007); St. John's University School
of Law (J.D. 2011). Mr. Donovan’s primary areas of focus are securities, derivative and
M&A litigation.

MARISA LIVESAY: admitted: California; United States District Courts for the Southern,
Central and Northern District of California; Ninth Circuit. Education: University of
Arizona (B.A., History & Spanish, 1999); University California Los Angeles Law School
(J.D. 2002).



                              PARAPROFESSIONALS

GREGORY STONE: Education: University of Pennsylvania (B.S., Economics, 1979);
University of California, Los Angeles (MBA, 1983). Mr. Stone is the Firm’s Director of
Case and Financial Analysis. He assists partners and associates in identifying and
researching potential federal class action securities, derivative litigation and merger &
acquisition (M&A) litigation. Mr. Stone has worked with leading securities class action
firms in an analytical and investigative role for over 18 year throughout the United
States, and has an extensive professional background in the accounting and investment
professions. He plays a key role in new case development, including performing
investigations into potential securities fraud class actions, derivative and other
corporate governance related actions. By using a broad spectrum of financial news and
legal industry research tools, Mr. Stone analyzes information that helps identify and
support the theories behind the firm’s litigation efforts.




                                         Page 44
 Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 167 of 181


                            Non-Discrimination Policies

Wolf Haldenstein does not discriminate or tolerate harassment against any employee or
applicant because of race, creed, color, national origin, sex, age, disability, marital
status, sexual orientation, or alienage or citizenship status and designs its hiring
practices to ensure that minority group members and women are afforded equal
employment opportunities without discrimination. The Firm is in compliance with all
applicable Federal, State, County, and City equal employment opportunity laws.

Wolf Haldenstein is proud of its long history of support for the rights of, and
employment opportunities for, women, the disadvantaged, and minority group
persons, including the participation in civil rights and voter registration activities in the
South in the early 1960s by partners of the Firm; the part-time employment of
disadvantaged youth through various public school programs; the varied pro bono
activities performed by many of the Firm’s lawyers; the employment of many women
and minority group persons in various capacities at the Firm, including at the partner
level; the hiring of ex-offenders in supported job training programs; and the use of
minority and women-owned businesses to provide services and supplies to the Firm.




                                270 MADISON AVENUE
                                 NEW YORK, NY 10016
                               Telephone: 212-545-4600
                               Telecopier: 212-545-4653
                                   www.whafh.com



         SYMPHONY TOWERS                                 111 West Jackson
       750 B STREET, SUITE 1820                             SUITE 1700
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                                           Page 45
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 168 of 181




                             EXHIBIT G
          Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 169 of 181




                                       Jean C. Frizzell                                 “Jean’s litigation competence
                                       PARTNER                                          is extremely rare. It is a gift.
                                                                                        And he does it without a
                                                                                        scorched earth manner.”

                                                                                                               – William Mosley,
                                        jfrizzell@reynoldsfrizzell.com                                         General Counsel,
                                                                                                      Metro National Corporation
                                        713.485.7203
                                         vCard
                                        LinkedIn
                                        PDF Bio


Education                              Biography

 The University of Texas School of     Having tried numerous cases and arbitrations as lead trial counsel, Jean (John)
 Law                                   Frizzell is known for his courtroom skills. As one competitor described to
    J.D., with Honors, 1990            Benchmark Litigation, “Jean Frizzell is an amazing cross-examiner . . . . He is very,
    Texas Law Review                   very gifted.” Another peer commented to Law360, “Jean provides a great
                                       example of a lawyer that zealously represents his client while still
 Rice University
    B.A., Economics and                demonstrating the level of professionalism upon which the practice of law was
    Managerial Studies, 1987           founded.”
    Brown Engineering Award
                                       A Fellow in the American College of Trial Lawyers and a Member of the
                                       American Board of Trial Advocates, Jean represents both plaintiffs and
Honors & Awards                        defendants in state and federal court and arbitrations. His practice spans
                                       complex commercial litigation, with particular depth in securities matters,
 Fellow, American College of Trial     energy disputes, and contract and duciary duty claims. Jean has built a strong
 Lawyers                               track record of success in complicated disputes for clients such as Huntsman
 Member, American Board of Trial
                                       Chemical, the Hearst Corporation, Southern Copper Corporation’s Audit
 Advocates (ABOTA)
                                       Committee, the Dallas Police and Fire ghters Pension Fund, Energy Transfer
 Chambers USA:
    Spotlight Table – Texas,           Partners, Sterling Group, Metro National Corporation, OMNOVA Solutions,
    Litigation: Trial Lawyers, Since   Moody Realty National and Chevron Phillips Chemical Corp.
    2019
                                       Chambers USA (Band 1 – highest ranking) and Benchmark Litigation (National
    Leading Individual in
    Commercial Litigation, Since       Practice Star and Litigation Star) rank Jean among the best commercial
    2005                               litigators in the country. Best Lawyers has also recognized him as Securities
    Band 1 Ranking for Texas,          Lawyer of the Year. Jean graduated from The University of Texas School of Law
    Litigation: General                with Honors, before beginning his law career at Gibbs & Bruns LLP and
    Commercial (Highest Rating),       becoming partner there in 1995. In 2009, Jean co-founded Reynolds Frizzell
    Since 2014
                                       LLP, which has repeatedly been named a Top Ten Litigation Boutique in America
                                       by Benchmark Litigation.
           Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 170 of 181
  National Practice Star (2019 &
  2020) & Litigation Star (Since       Representative Matters
  2010), Benchmark Litigation
  Texas Super Lawyers, Thomson         Hearst Corporation
  Reuters, Since 2003
  Top 100 Super Lawyers – Houston      Lead Counsel for Hearst in complete defense verdict in jury trial during January
  Region, Thomson Reuters, 2012,       of 2018. Successfully tried case involving Hearst, Hines Development,
  2017-2018                            Enterprise and Linbeck Construction in January of 2018. After obtaining
  Best Lawyers®, Woodward White,       dismissal of Plaintiffs’ claims for fraud, statutory fraud and attorneys’ fees and
  Inc.                                 successfully objecting to Plaintiffs’ largest damage model pre-trial, Hearst
     Bet-the-Company Litigation        obtained a no liability nding from the jury at the conclusion of trial. Plaintiff
     “Lawyer of the Year” in           sued alleging that the defendants’ denial of access to the underground tunnel
     Houston, 2021
                                       system (via demolition of an existing building and other alleged conduct)
     Litigation – Securities “Lawyer
     of the Year” in Houston, 2017     prevented Plaintiff from progressing with its planned downtown of ce
     Commercial Litigation, Since      building. The rm was hired weeks before trial to serve as lead trial counsel for
     2008                              Hearst and was fully prepared to try the case within three weeks when the case
     Litigation – Securities, Since    was delayed several months due to the Court’s docket.
     2008
  World’s Leading Lawyers, Expert      Dallas Police and Fire ghter Pension System
  Guides/The Legal Media Group
                                       Lead Counsel for the Pension System in pursuing claims against its former
  Guides, Since 2010
                                       actuarial rm after the Pension System suffered billions in losses. Lawsuit was
                                       recently led in Dallas and case is underway.
Professional &
                                       Southern Copper Corporation’s Audit Committee and Sub-Committee on
Community
                                       Related Party Transactions
Involvement
                                       Lead Counsel retained initially to advise the Audit Committee of Southern
  American College of Trial            Copper Corporation regarding certain related party transactions from a trial
  Lawyers, Fellow                      lawyer’s perspective. Currently advises the Sub-Committee (of the Audit
  American Board of Trial              Committee) on Related Party Transactions.
  Advocates (ABOTA), Member
  American Bar Foundation, Fellow      Enterprise Texas Pipeline v. Energy Transfer Partners
  Houston Bar Association, Fellow
                                       Lead Counsel for Energy Transfer Partners in a suit and jury trial pursued by
  Texas Bar Foundation, Life Fellow
                                       Enterprise Texas Pipeline. Enterprise sued Energy Transfer for, among other
                                       things, allegedly breaching a pipeline agreement concerning Energy Transfer’s
Previous A        liations             operation of the 240-mile Old Ocean Pipeline. Enterprise sought from Energy
                                       Transfer damages of approximately $400 million. After a jury trial, Enterprise
  Gibbs & Bruns LLP, Partner           was awarded only $2.3 million in actual damages, amounting to approximately
                                       1/2 of 1% of Enterprise’s claimed actual damages in the case. Case was
                                       dismissed this year after the parties entered into another business arrangement.

                                       Penelope Loughhead v. 1717 Bissonnet, LLC, Cause No. 2013-26155

                                       Lead Counsel for Plaintiffs in a four-week jury trial involving the controversial
                                       Ashby High Rise Project. We obtained a unanimous jury verdict that the
                                       proposed high-rise project constitutes a nuisance-in-fact. The Court
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 171 of 181
                      determined that the high-rise project was a legal nuisance. However, the trial
                      court declined to enjoin construction. However, to date, construction of the
                      project has not commenced.

                      Ronald Edward Whitley vs. Cheryl Lea Whitley and Charles Schwab & Co., Inc.

                      Hired shortly before trial to serve as lead trial counsel for the executor of the
                      Whitley estate-the founder of Ranger Steel Services, LP-in litigation involving
                      numerous claims against the executor totaling approximately
                      $50,000,000.00. Also retained by the estate to af rmatively set aside a
                      designation of bene ciary obtained by one for the children on an account
                      valued in excess of $35,000,000.00. After several key depositions, successfully
                      resisted summary judgment on all of the claims alleged against client and
                      obtained a summary judgment knocking out one category of claims alleged
                      against client. After the key deposition and summary judgment rulings, achieved
                      a favorable settlement that was embodied in a dismissal with prejudice.

                      EnterSys Group, L.P., et al. v. Axon Solutions, Inc.

                      Lead Counsel for Plaintiffs in a lawsuit seeking payment of a substantial earn-
                      out and associated bonuses pursuant to an asset purchase agreement. Clients
                      formed EnterSys LP, a SAP consulting company, and after years of success, sold
                      substantially all of the assets to a UK SAP consulting company, for cash up front
                      and potential earn-out payments. The transaction also included employment
                      agreements for individual clients that allowed them to earn bonuses as certain
                      margin targets were achieved. The trial court issued an order in response to
                      Defendants’ Motion for Summary Judgment (the other side) holding that the
                      earn-out calculation provision unambiguously required Defendants to include
                      pharmaceutical related revenues in the calculation of the earn-out amount and
                      bonuses. The ruling effectively granted Plaintiffs a summary judgment on their
                      breach of contract claim. At that point, with only one claim left to be tried, the
                      case settled con dentially immediately before the trial.

                      Toby Shor and Seashore Investments v. PBF Investments, Ltd

                      Lead Counsel in a two-week arbitration which obtained an award in favor of
                      clients Toby Shor and the Seashore Investments Management Trust against PBF
                      Investments, Inc, Paul Black, and a number of related entities, in a dispute
                      involving jointly-owned oil and gas and real estate businesses. A panel of three
                      arbitrators awarded clients, who were defendants pursuing their rights through
                      counterclaims, more than $31 million against Mr. Black individually, and more
                      than $26 million against his af liated entities. The arbitrators ruled in client’s
                      favor on all claims, including claims for breach of contract, breach of duciary
                      duty, and fraud. In addition, the arbitrators found that the $64 million in claims
                      asserted against clients were without merit.
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 172 of 181
                      St. James Capital Partners, L.P., et al v. St. James Capital Corporation, et al.

                      Lead Counsel for corporate defendants in a partnership dispute in which
                      plaintiffs asserted claims of breach of duciary duty for 14 separate
                      transactions. Following six weeks of pretrial and eight weeks of actual trial, the
                      jury found no breach of duciary duty on all claims. The jury made a separate
                       nding that each of the transactions was ‘entirely fair’. Plaintiffs sought $47
                      million in alleged actual damages, approximately$50 million in disgorgement
                      and $60 million in punitive damages. Plaintiffs were poured out on all claims.
                      Defendants also prevailed entirely on their counterclaims, including ndings of
                      malice and punitive damages, and collected $11 million dollars as counter-
                      plaintiffs.

                      BMC Software, Inc. v. NetIQ Corp.

                      Lead Counsel in representing NetIQ in defense of an arbitration in which BMC
                      Software claimed that two of NetIQ’s major products infringed two patents
                      owned by BMC. BMC sought $150 million in lost pro ts and royalties before
                      trebling. NetIQ hired Reynolds Frizzell to take over the defense of the case six
                      months before trial, after the proceeding had been pending for more than
                      eighteen months. Within six months, the parties conducted almost the entire
                      fact discovery for the case, and produced all of the expert reports and discovery
                      relating to the validity of the patents, the claimed infringement and damages.
                      The case was resolved on satisfactory terms one week before the arbitration
                      hearing.

                      Green eld Energy, Inc. et. al v. EOG Resources, Inc. et. al.

                      Lead Counsel in international oil and gas contract dispute over Trinidadian oil
                      and gas eld for Canadian company against a group of Trinidadian companies
                      and a Houston oil and gas major, with damages estimated in the hundreds of
                      millions of dollars. Case settled favorably clients, who obtained a con dential
                      settlement from all defendants, including a handful of businesses that are
                      located and operate in Trinidad.

                      The Inter nancial Corp. v. Simon Jacobson, in his Capacity as Executor of the
                      Estate of Marcel Degraye, Deceased

                      Lead Counsel for defense representing executor of the estate in a suit alleging
                      breach of duciary duty, fraud and a request for an accounting by a company
                      against its deceased founder. Plaintiff originally demanded cash and securities
                      allegedly in excess of $100 million. By the time of trial, plaintiffs had dropped a
                      number of the claims. In December of 2007, received a directed verdict in our
                      favor at the close of plaintiff’s case.

                      Lone Peak Group, LLC, et al. v. MediGain, LLC, et al.
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 173 of 181
                      Lead Counsel for the plaintiffs who sold their medical billing business to
                      MediGain and had not received the remainder of the consideration for the
                      transaction. As required under the Asset Purchase Agreement, noti ed
                      MediGain of the dispute pursuant to the indemni cation procedures outlined in
                      the agreement. After several months of negotiation, ultimately led suit in
                      Dallas County, Texas on September 28, 2014, for breach of contract and fraud.
                      Within a week, MediGain capitulated, and settled the matter with clients for
                      several million dollars – signi cantly more than clients had offered in writing to
                      settle the dispute for before retaining Reynolds Frizzell.

                      Majority of the Compensation Committee of a Major International Drilling
                      Company

                      Lead Counsel in representing the majority of the compensation committee,
                      including the chairman of the audit committee, during an internal investigation
                      into allegations of options backdating at a major international drilling company.
                      Also represented the same directors in the class action led in federal court in
                      Houston, Texas involving the same allegations. The suit was quickly resolved on
                      very satisfactory terms involving no out of pocket payment from clients.

                      William A. Christian, et al. v. ICG Telecom Canada, Inc., et al.

                      Lead Counsel in representing ICG Telecom Canada Inc., ICG Telecom Group,
                      Inc., ICG Communications, Inc., and Zycom Network Services, Inc. in defense of
                      a combined shareholder class action and a derivative suit involving allegations
                      of improper accounting and nancial reporting, managed earning, self-dealing,
                      and minority shareholder oppression. Successfully prevented class certi cation,
                      both at the district court level and through appeal. The suit ultimately settled on
                      favorable terms with insurance proceeds.

                      In re Paracelsus Healthcare Corporation Securities Litigation

                      Lead counsel for Dr. Manfred Krukemeyer, formerly Chairman and bene cial
                      sole owner of Paracelsus Healthcare Corporation, in a series of shareholder
                      class actions and derivative suits involving allegations of improper accounting
                      and nancial reporting in connection with the merger of Paracelsus Healthcare
                      Corporation and Champion Healthcare Corporation. Subsequent to the merger,
                      Paracelsus Healthcare Corporation, the surviving entity, was forced to restate a
                      number of its nancial statements. Lawsuits were led in various jurisdictions,
                      and the shareholder suits were ultimately consolidated in Federal District
                      Court in Houston, Harris County. The derivative suit was also pending in the
                      same court. After protracted litigation, the rm obtained a favorable settlement
                      for Dr. Krukemeyer, including a buyout of his long-term employment
                      agreement.

                      Current and Former Directors of Crown Castle Corporation
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 174 of 181
                      Lead counsel for all of the current and former of cers and directors of Crown
                      Castle Corp in the internal investigation and subsequent defense of a derivative
                      suit led in Houston, Harris County involving allegations of options backdating.
                      Reynolds Frizzell, along with counsel for the Company, were successful in
                      having the trial court rule that the allegations regarding demand futility were
                      insuf cient to support a derivative suit. Additionally, the plaintiffs sought to
                      take discovery to nd support for their allegations regarding demand futility.
                      The Court of Appeals overturned the trial court’s order allowing such
                      discovery, and the Texas Supreme Court declined to take the issue.

                      In re Af liated Computer Services, Inc. Derivative Litigation

                      Represented Cerberus in connection with buy-out claims brought in
                      connection with Cerberus’ offer to participate in taking Af liated Computer
                      Services, Inc. private. Successfully obtained a dismissal for Cerberus from the
                      Dallas federal court case on the grounds that the claims were not ripe.

                      Neon Systems, Inc. v. New Era of Networks

                      Co-Lead Counsel with my partner Chris Reynolds for Plaintiff in a three-week
                      jury trial of a common-law trade name infringement claim in Fort Bend County,
                      Texas. David Beck represented the defendant. Achieved a substantial jury
                      verdict for client. After the trial, the judge entered judgment in the full amount
                      of the verdict and enjoined further use of the trade name “Neon.” Subsequent to
                      judgment, and prior to appeal, the case settled very favorably.

                      Pi Energy v King Ranch Energy

                      Lead counsel for plaintiffs in a suit involving a letter of intent to jointly develop
                      leases in the Red Fish Bay area. After numerous battles in both the trial court
                      and bankruptcy court, the case settled favorably for my client for eight gures
                      just before trial.

                      Union Oil Company of California v. Osprey Petroleum Company, Inc., et al.

                      Represented Unocal, as a mineral lease operator, against Osprey and Pintail
                      Petroleum, both of which were working interest owners in a series of oil and
                      gas wells drilled by Unocal in the Gulf of Mexico. Unocal sued Osprey and
                      Pintail to recover unpaid expenses incurred in drilling the wells. Osprey
                      counterclaimed against Unocal for fraud, breach of contract, gross negligence,
                      and products liability in connection with problems encountered during the well
                      drilling and sought damages in excess of $350 million. Pintail also brought
                      claims against Unocal under the operating agreement. Personally argued and
                      obtained the dismissal of all of Osprey’s claims against Unocal on summary
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 175 of 181
                      judgment a few weeks before trial. Obtained summary judgment against Pintail
                      on all of Pintail’s claims thereafter. The case thereafter was resolved favorably
                      and con dentially.

                      In re World Satellite Network, Inc. and WSNet Holdings, Inc.

                      Represented Cerberus and a number of individuals in a case brought by the
                      Chapter 11 Trustee for the bankruptcy estate of WSNet Holdings, Inc. alleging
                      claims of breach of duciary duty, equitable subordination and seeking in
                      excess of $100 million. Defended the claims on the merits as well as on the
                      grounds that the estate did not own the claims because they were derivative in
                      nature and actually belonged to a subsidiary that was also in bankruptcy. Parties
                      entered into a con dential settlement shortly thereafter.

                      Huntsman Corporation v. Credit Suisse Securities (USA)

                      Assisted in representation of Plaintiff Huntsman against Credit Suisse and
                      Deutsche Bank in connection with the failure to fund a $15 billion merger
                      between Huntsman and Hexion, of Columbus, Ohio. Personally responsible for
                      cross-examinations involving Deutsche Bank. Secured a $1.7 billion settlement
                      package for Huntsman during the trial, including $632 million in cash and $1.1
                      billion on nancing through issuances of notes and bonds on favorable terms.

                      Corenegry, LLC et al v. Devon Energy Production Company, L.P.

                      Lead counsel for Plaintiff Corenergy, LLC, a co-owner of an oil & gas prospect,
                      in the case against Devon Energy, the other co-owner, and operator of the
                      prospect, alleging claims of fraud and breach of contract in connection with the
                      handling of that prospect. Case settled favorably for the client a few days before
                      trial.

                      Beltway 8, No. 1, L.P. v. Metro National Corp.

                      Lead Counsel for Metro National Corporation, a real estate developer with
                      numerous properties in the Houston area, in a lawsuit related to a large parcel
                      of land in West Houston. Successfully defended Metro National in a temporary
                      injunction hearing. After the court set an expedited trial setting, engaged in
                      extensive discovery and took numerous depositions. The case was settled a
                      week before trial.
           Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 176 of 181




                                       Michael K. Oldham                               Named a Litigation Star by
                                       PARTNER                                         Benchmark Litigation since
                                                                                       2013



                                        oldham@reynoldsfrizzell.com
                                        713.485.7207
                                         vCard
                                        LinkedIn
                                        PDF Bio


Education                              Biography

  The University of Texas School of    Plaintiffs and defendants rely on Mike Oldham’s exceptional ability to explain
  Law                                  complicated issues and persuasively tell his clients’ stories to a jury. An industry
     J.D., with High Honors, 1996      generalist by choice, Mike has an impressive track record of successfully
     Vice-Chancellor (#2 in Class);    handling high stakes and contingency fee cases for companies, private equity
     Order of the Coif; Associate
                                       groups, and entrepreneurs. His clients have included Conoco Phillips, DCP
     Editor, Texas Law Review
                                       Midstream, ExxonMobil, Texas Children’s Hospital, Magellan, Bessemer Trust,
  Universidad de Belgrano              NewQuest Properties, and Avera Companies. Mike’s private equity clients have
    International Legal Studies,       included The Sterling Group, The Stephens Group, Luxor Capital, and portfolio
    1995                               companies of Quantum Energy Partners, One Stone Energy Partners, Clearlake
    Buenos Aires, Argentina            Capital Group, Riverstone, First Reserve and Cerberus.

  The University of Texas at Austin    Mike is known for his relentless determination and ability to get up to speed
     Plan II, with High Honors,        quickly. In one particularly noteworthy case, he was hired by a major energy
     1993
                                       company to try an oil and gas accounting case that had been pending for years.
     B.A., Honors Business
     Program, with Highest Honors      After trying the case to a jury, Mike won all the claims in the client’s favor and
     B.B.A., Finance, with Highest     so impressed both sides of the dispute that both the plaintiff and the defendant
     Honors                            hired Mike to represent them in other major disputes the following year.

                                       After graduating second in his class from The University of Texas School of Law,
Judicial Clerkships                    Mike clerked for Judge Jacques L. Wiener, Jr., on the U.S. Court of Appeals for
                                       the Fifth Circuit. Mike was a partner at Gibbs & Bruns LLP before co-founding
  Law Clerk, The Hon. Jacques L.       Reynolds Frizzell LLP, which has been recognized as a Top Ten Litigation
  Wiener, Jr., U.S. Court of Appeals   Boutique in America.
  for the Fifth Circuit
                                       A leader in the legal and civic community, Mike has been honored repeatedly by
                                       Benchmark Litigation, Best Lawyers in America, and Super Lawyers. He is a past
Honors & Awards
                                       recipient of the Houston Bar Association President’s Award for Outstanding
           Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 177 of 181
  Recognized Practitioner – Texas      Committee Chair. Mike is also a member of the University of Texas
  Litigation: General Commercial,      Development Board and an active member of the University of Texas School of
  Chambers USA, 2017
                                       Nursing Advisory Committee.
  Local Litigation Star, Benchmark
  Litigation, Since 2013
  Best Lawyers®, Woodward White,
                                       Representative Matters
  Inc., Commercial Litigation, Since
  2016                                 ENERGY & POWER
  Top 100 Super Lawyers – Houston
  Region, Thomson Reuters, 2014-       DCP Midstream/Anadarko
  2018
                                       Hired by plaintiff DCP to join long-pending case in Colorado state court
  Texas Super Lawyers, Thomson
                                       claiming more than $1 billion from Anadarko for violating 40 different gas
  Reuters, Since 2012
  Texas Rising Star, Thomson Reuters   processing contracts governing dedications from 6000 wells. Appeared
  Super Lawyers, 2005-2011             alongside existing counsel, engaged in intensive discovery, led new claims, and
  World’s Leading Lawyers, Expert      prevailed on key pre-trial motions. Case settled on con dential terms.
  Guides/The Legal Media Group
  Guides, Since 2014                   Arbitration Against Public Utility
  Top Lawyer for the People in         Won arbitration defense for power generation company against claim by
  Business Litigation, H Texas         Nevada Power Company for $360 million in refunds under the terms of a 30-
  Magazine, 2009                       year power purchase agreement. After nal arbitration hearings in Las Vegas
  Houston Top Lawyer, H Texas
                                       and San Francisco, obtained a complete victory.
  Magazine, 2007, Since 2009
  Houston Top Forty Under Forty        BlueCrest
  Lawyer, H Texas Magazine, 2004
                                       Arbitration for independent E&P company seeking more than $35 million from
  President’s Award for
  Outstanding Committee Chair,         major services contractor for damages caused by downhole tool failure in deep
  Houston Bar Association, 2007        horizontal well in Kenai, Alaska. Services contractor led rst, seeking unpaid
                                       invoices. We counterclaimed for gross negligence. Settled con dentially during
                                       week before nal arbitration hearing.
Professional &
Community                              Tsakos Energy Navigation
Involvement                            Defended Greek shipping company from LyondellBasell’s $100 million lawsuit
                                       alleging multi-year kickback scheme with plaintiff’s marine chartering manager.
  University of Texas Development      While contesting personal jurisdiction, prepared substantive defense to
  Board                                exonerate client and successfully mediated a quick resolution on agreeable
  Heroes for Children, Board           terms. Afterward, Lyondell approached client to discuss resuming business
  Member (2011-2017)                   relationship.
  University of Texas School of
  Nursing Advisory Council             Royalty Class Actions
  (Chairman, 2011-2019)                Helped Exxon Mobil Corporation defend against state and federal royalty class
  Texas Children’s Hospital Food
                                       actions in Kansas. Joined existing defense team after case had been pending for
  Allergy Council
  Madrugadores Breakfast Club          several years to tackle brie ng issues in trial court and interlocutory appeals.
  Texas Bar Foundation, Life Fellow    All litigation settled within the year.

                                       J.V. Industrial
          Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 178 of 181
Presentations &                      Obtained an af rmative settlement of $14.7 million in favor of defendant
Publications                         contractor against project owner that had initiated arbitration seeking $30
                                     million in delay damages and alleged cost overruns. Contractor had been hired

 “Trade Secrets Update: Federal      to repower and expand the Victoria Power Station. At the end of the project,
 Defend Trade Secrets Act of 2016    the owner withheld the nal payment and initiated arbitration. After intensive
 and Texas Uniform Trade Secrets     discovery to defend against owner’s claims and pursue counterclaim to enforce
 Act,” 40th Annual Page Keeton       contractor’s right to nal payment for work, obtained settlement and recovery
 Civil Litigation Conference,        for client shortly before nal hearing.
 October 2016
 “An Introductory Primer on          Wapiti
 Corporate Buyout Litigation (co-    Won arbitration award for Wapiti in dispute over nal “true up” repayments
 author),” 31st Annual Page Keeton
                                     owed to Wapiti after its purchase of oil and gas operating interests. Seller
 Civil Litigation Conference, 2007
                                     claimed that Wapiti should be required to pay additional $7 million for the
 “Case in Point” Hypothetical Case
 Study (co-author), Texas Lawyer,    purchase, but arbitrator ruled in Wapiti’s favor and awarded partial refund.
 Executive Legal Adviser,
                                     Florida Power
 September/October 2005
                                     Won plaintiff case on summary judgment for Florida electric utility and
                                     collected full damages and interest. Filed suit for $1 million after defendants
Previous A      liations             purchased fuel oil but refused to pay for it. Defendants counterclaimed for $7
                                     million, alleging contamination. After fact discovery, won pre-trial summary
 Gibbs & Bruns LLP, Partner          judgment establishing all claims against defendant purchaser and guarantor,
                                     rejecting all counterclaims with prejudice, and awarding $1.3 million.


                                     CONTRACT & PARTNERSHIP DISPUTES

                                     Private Equity Arbitration
                                     With Chris Reynolds, successfully arbitrated breakup of high-pro le private
                                     equity rm in 1-week arbitration hearing in Arkansas followed by signi cant
                                     post-hearing brie ng. Panel awarded client worth more than 5 times the
                                     amount offered by opponent in settlement discussions.

                                     Phoenix Services
                                     Represented Phoenix in lawsuit against co-founder who was dismissed for
                                     cause but still owned large ownership interest. Defendant challenged venue
                                     and asserted many counterclaims under employment agreement and LLC
                                     operating agreement. After discovery and shortly before summary judgment
                                     hearing, case settled favorably and defendant relinquished his ownership
                                     interest.

                                     Mr. Las Vegas
                                     Represented entertainer Wayne Newton in litigation over invoices for
                                     inspection and repair of twin Rolls Royce jet engines for his custom Fokker
                                     jetliner. Matter settled favorably for both sides after an exuberant (and very
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 179 of 181
                      wealthy) fan paid the difference between the parties’ positions so that Mr.
                      Newton would not miss any upcoming performances by sitting in a courtroom
                      with me.


                      TRADE SECRETS AND NON-COMPETITION AGREEMENTS

                      Network Oil
                      Won trial to enforce worldwide noncompetition agreement on behalf of online
                      auction house after rival company hired away chief software architect.
                      Achieved expedited trial within 2 months of ling lawsuit and won worldwide
                      injunction against the defendant.

                      Camin Cargo Control
                      Defended Camin Cargo from competitor’s claim that Camin wrongly hired
                      away sales representatives, stole trade secrets and knowingly violated the terms
                      of plaintiff’s employee con dentiality and nonsolicitation agreements.
                      Obtained a favorable settlement that permitted all employees to continue
                      working for Camin Cargo.

                      Dison/Bomasada
                      Hired to Defend former employee against apartment developer’s claims for
                      trade secrets theft and breach of noncompetition agreement. We pursued a
                      counterclaim that developer fraudulently induced employment by promising
                      ownership interest in company. On the eve of trial, Plaintiff agreed to dismiss
                      all its claims with prejudice—leaving only the counterclaim—in exchange for
                      agreed continuance of trial date. Matter settled favorably for client soon
                      thereafter.


                      SECURITIES LITIGATION

                      First National Bank
                      Obtained favorable nancial settlement for investors in failed bank after it was
                      closed by OCC and placed under FDIC receivership. We led suit in state
                      district court in South Texas, claiming the bank’s of cers and directors made
                      material false statements and omissions in offering statements and violated
                      state securities statutes and common law. After signi cant discovery, case
                      settled favorably before trial.

                      In re Friede Goldman Halter, Inc.
                      Served on team defending former directors of Halter Marine Group in
                      securities litigation seeking personal liability in excess of $100 million. The case
                      was resolved favorably.

                      Waste Resources, Inc.
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 180 of 181
                      Hired as substitute counsel after jury found defendant corporation guilty of
                      defrauding an investor and awarded $1.5 million in damages. Successfully
                      prepared and argued post-verdict motions for defendant and won judgment
                      notwithstanding the verdict of no liability and dismissal of all claims.
                      Successfully defended the favorable judgment on appeal.


                      DIRECTOR & OFFICER / FIDUCIARY LITIGATION

                      Defense of Enron’s Outside Directors
                      After demise of Enron, one of the largest bankruptcies in history, served on
                      team defending Enron’s former outside directors against securities and ERISA
                      class actions and other related litigation. Litigation against other defendants
                      lasted more than 10 years, but we successfully employed strategies that
                      achieved settlements for our clients in relatively short time, along with bar
                      orders from the Federal District Court preventing any further litigation claims
                      against them.

                      Casswell / Northern O shore
                      Represented CEO red “for cause” after challenging new Board’s failure to
                      honor employee commitments following merger into entity owned by People’s
                      Republic of China. Filed suit for severance pay and bene ts to which CEO was
                      rightly entitled under employment agreement for dismissal “without cause.”
                      NOF counterclaimed that CEO breached duciary duties and committed fraud.
                      Successfully defended counterclaims and obtained favorable settlement before
                      trial.


                      REAL ESTATE

                      NewQuest
                      Hired by NewQuest after TRO entered to halt construction of its large
                      commercial real estate development in New Braunfels, Texas. Conducted
                      expedited discovery, evidentiary hearings, and negotiations with
                      representatives of the City, TxDOT, and other neighboring landowners, resulting
                      in favorable settlement that permitted NewQuest to complete its project on
                      schedule and on budget.

                      Bluebonnet Drive
                      Won jury verdict for plaintiff on its claim that defendants CenterPoint and
                      Sprint had no right to place cellular transmission equipment atop a power pole
                      on client’s commercial property. Hired after close of discovery and only two
                      weeks before trial, tried case to successful verdict and obtained injunction
                      ordering defendants to remove the equipment.

                      Sherwood Forest Neighborhood
Case 4:20-cv-02539 Document 21-1 Filed on 09/16/20 in TXSD Page 181 of 181
                      Won jury verdict in defense of high-end residential neighborhood against
                      townhome developer’s litigation pressure tactics to invalidate deed
                      restrictions. Developer commenced suit against HOA, then tried to pressure
                      individual homeowners with separate lawsuits claiming deed restriction
                      violations. Substituted in as Co-Lead Trial Counsel for individuals and won jury
                      verdict rejecting developer’s claims and nding developer’s property was a
                      nuisance. After Court entered permanent injunction ordering developer to
                      maintain its property in accordance with deed restrictions, developer agreed to
                      dismiss all lawsuits and reimburse individuals’ defense costs.


                      ACCOUNTING DISPUTES

                      ExxonMobil
                      Won take-nothing jury verdict rejecting claim by plaintiff Duke Energy (now
                      DCP Midstream) that Exxon Mobil’s accounting errors and re-allocations as
                      operator of Conroe Field Unit wrongfully caused more than $4 million dollars
                      of overpayments to other working interest owners. Hired as substitute trial
                      counsel for Exxon Mobil after close of discovery.

                      DCP Midstream/EOG
                      Hired by former adversary DCP to defend arbitration led by EOG Resources
                      seeking $70 million for allegedly faulty settlement accounting under a gas
                      purchase contract. Dispute settled on the verge of the nal arbitration hearing.

                      DCP Midstream/Approach
                      Defended DCP Midstream in state district court in Fort Worth, Texas against a
                      producer’s claims for breach of contract and accounting. Plaintiff sought to
                      recover $12 million in past damages and declaratory judgment governing future
                      payments. Won partial summary judgment against plaintiff’s claims and
                      defeated plaintiff’s competing af rmative motion for partial summary
                      judgment. Dispute settled favorably shortly before trial of remaining claims.
